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1
2       UNITED STATES DISTRICT COURT
3       SOUTHERN DISTRICT OF NEW YORK
4       - - - - - - - - - - - - - - - - - - - x
5       GEORGE PACKARD, et al,
6                                       Plaintiffs,
7
8                   -against-                       CASE No.: 15-CV-7130
9                                                               (AT)(SDA)
10
11      THE CITY OF NEW YORK, et al,
12                                      Defendants.
13      - - - - - - - - - - - - - - - - - - - x
14                                            Date: July 12, 2018
15                                            Time: 10:10 a.m.
16
17
18             DEPOSITION of ANTHONY J. RAGANELLA, held at
19      217 Centre Street, New York, New York, pursuant
20      to Notice, taken before Judeen M. Denniston, a
21      reporter and Notary Public within and for the
22      State of New York.
23
24
25

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1
2       A p p e a r a n c e s:
3       On behalf of Plaintiff:
4               WYLIE STECKLOW, PLLC
5               217 Centre Street, 6th Floor
6               New York, New York 10013
7               BY: WYLIE STECKLOW, ESQ.
8                    wylie@wylielaw.com
9
10      On behalf of Defendant:
11              NEW YORK LAW DEPARTMENT
12              CORPORATION COUNSEL
13              100 Church Street
14              New York, New York 10007
15              BY: ALISON MITCHELL, ESQ.
16                   amitchel@law.nyc.gov
17
18      ALSO PRESENT:
19      JONI FORSTER-GALVIN, ESQ.
20      JOE STARKEY
21
22
23
24                                     *    *    *       *   *
25

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1
2                           S T I P U L A T I O N S
3
4                    IT IS HEREBY STIPULATED AND AGREED by
5              and between the attorneys for the respective
6              parties herein, that filing, sealing and
7              certification be and the same are hereby
8              waived.
9
10                   IT IS FURTHER STIPULATED AND AGREED that
11             all objections, except as to the form of the
12             question shall be reserved to the time of
13             the trial.
14
15                   IT IS FURTHER STIPULATED AND AGREED that
16             the within deposition may be signed and
17             sworn to before any officer authorized to
18             administer an oath, with the same force and
19             effect as if signed and sworn to before the
20             Court.
21
22
23
24                                 *   *   *    *   *
25

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1
2                                      MR. STECKLOW:         The time
3                             is now 10:10 AM. We are going
4                             on the record in the deposition
5                             of Inspector Anthony Raganella
6                             both as a fact witness and a
7                             30(B)(6) witness on behalf of
8                             the City of New York, pursuant
9                             to a deposition notice, dated
10                            March 6, 2017, somehow.
11                                   Can you now swear in the
12                            witness?
13                                   I'm sorry, before you
14                            start, we're here today in my
15                            office at 217 Center Street.
16                            We're with the court reporter
17                            whose name is?
18                                   COURT REPORTER:           Judeen
19                            Denniston.
20                                   MR. STECKLOW:          Judeen
21                            Denniston, and with the witness
22                            Mr. Raganella, with counsel
23                            Alison Mitchell, with counsel
24                            from the Police Department.
25                                   MS. FORSTER-GALVIN:             Joni

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1                       A. RAGANELLA
2                             Forster Galvin.
3                                    MR. STECKLOW:          Joni
4                             Forster-Gallagher.
5                                    MS. FORSTER-GALVIN:
6                             Galvin.
7                                    ME. STECKLOW:          Galvin, and
8                             with an assistant of mine, Joe
9                             Sharkey.
10                                   Please swear in the
11                            witness.
12                                   COURT REPORTER:
13                            Inspector, please raise your
14                            right hand.
15                                   Do you promise the
16                            testimony you're about to give
17                            this morning is the whole
18                            truth, nothing but the truth,
19                            subject to the penalties of
20                            perjury?
21                                   THE WITNESS:         I do.
22      A N T H O N Y         J.    R A G A N E L L A, the
23                  witness herein, having first been
24                  duly sworn by a Notary Public of the
25                  State of New York, was examined and

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1                       A. RAGANELLA
2                   testified as follows:
3                                    COURT REPORTER:           State
4                             your name for the record,
5                             please.
6                                    THE WITNESS:         Anthony J.
7                             Raganella.
8                                    COURT REPORTER:           Spell
9                             your last name for the record.
10                                   THE WITNESS:         R-A-G-A-N-E-
11                            L-L-A.
12                                   COURT REPORTER:           State
13                            your address for the record,
14                            please.
15                                   THE WITNESS:         Home
16                            address?       Work address?
17                                   MS. MITCHELL:          Yes.
18                                   THE WITNESS:         Current
19                            command is 179 Wilson Avenue,
20                            Brooklyn, New York.
21                                   COURT REPORTER:           Thank
22                            you.
23                                   First two questions are on
24                            the record.
25                                   MR. STECKLOW:          Thank you.

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1                     A. RAGANELLA
2       CROSS-EXAMINATION
3       BY MR. STECKLOW:
4               Q.   What precinct is that address from?
5       179 Wilson.
6               A.   Patrol Borough Brooklyn North.
7               Q.   What is your current position
8       there?
9               A.   Deputy Inspector in the Patrol
10      Borough, as a Duty Inspector.
11              Q.   Where does that put you in the
12      hierarchy in the Patrol Borough of Brooklyn
13      North?
14              A.   Above Captains and below Chiefs.
15              Q.   How many Chiefs are assigned to the
16      PBBN?
17              A.   Three.
18              Q.   Who are they?
19              A.   That would be Chief Madry
20      [phonetic] Chief Macavoy [phonetic] and
21      Chief Trabitz [phonetic]
22              Q.   How many other Deputy ... I'm
23      sorry. Are there any Inspectors there?
24              A.   There are, I don't recall how many
25      though.

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1                     A. RAGANELLA
2               Q.   How many DIs are there?
3               A.   Myself and one other.
4               Q.   Who's the other?
5               A.   The other one is Deputy Inspector
6       Carrie Owen.
7               Q.   I want to go through a history that
8       I believe is somewhat accurate of your time
9       at the Police Department, to see if we can
10      get through that quickly. I believe you
11      joined the Police Academy in June of '95,
12      is that accurate?
13              A.   Correct.
14              Q.   Your first assignment after the
15      Academy was at the 75?
16              A.   Correct.
17              Q.   You were in there from March '96 to
18      June '97?
19              A.   That sounds right.
20              Q.   Then you were assigned, at that
21      point, to your current command, although
22      you didn't stay consistently there, to the
23      Patrol Borough of Brooklyn North?
24              A.   Yeah, it was the Taskforce.
25              Q.   It was the Patrol Borough ...

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1                     A. RAGANELLA
2               A.   Patrol Borough Brooklyn North
3       Taskforce.
4               Q.   Taskforce, okay. You were there
5       until 2000, when you were promoted to
6       Sergeant and moved to the 111?
7               A.   Correct.
8               Q.   Then from 2000 to 2003, you were
9       then at the 111 as a Taskforce Sergeant, is
10      that right?
11              A.   I left the 111 and went to Patrol
12      Borough Queens North Taskforce.
13              Q.   Okay. You were there until you were
14      promoted to Lieutenant in 2003?
15              A.   Correct.
16              Q.   At that point, you were moved to
17      the 81?
18              A.   Correct.
19              Q.   You were there until you were
20      promoted to ... I'm sorry. You were there
21      until you were moved to the 79th in 2005?
22              A.   Correct.
23              Q.   Then you were there until you moved
24      to the Brooklyn North Taskforce again, in
25      2007?

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1                      A. RAGANELLA
2               A.   As a Lieutenant, yes.
3               Q.   You're promoted to Lieutenant and
4       moved there. Then you stayed there until
5       you made Captain, July 2, 2010, and moved
6       to DCU?
7               A.   Correct.
8               Q.   You stayed there until December 23,
9       2013, when you became a Deputy Inspector?
10              A.   I continued there. I was promoted
11      within the assignment.
12              Q.   When did you leave to go back to
13      Patrol Borough Brooklyn North?
14              A.   February of this year.
15              Q.   From July 2010 til February 2018,
16      you were at DCU?
17              A.   Correct.
18              Q.   You were promoted from Captain to
19      DI on December 23, 2013?
20              A.   That's correct.
21              Q.   Thank you. During your career, have
22      you received any commendations?
23              A.   Yes.
24              Q.   Can you tell me about them?
25              A.   I believe I was awarded three

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1                      A. RAGANELLA
2       meritorious accommodations, and I believe
3       approximately 26 excellent police duties.
4               Q.    Since there's so many excellents,
5       let's stick with the meritorious. Can you
6       tell me about those? When was the first one
7       you received?
8               A.    I don't recall.
9               Q.    Do you recall any of them?
10              A.    No.
11              Q.    You recall the number, but you
12      don't recall what they were for?
13              A.    I would only be speculating if I
14      told you what they were for, unless I had
15      something that showed me what they were
16      exactly for. I wouldn't be able to tell you
17      with any certainty.
18              Q.    Sure. Of the 29 commendations you
19      received, do you remember what any of them
20      were for?
21              A.    Sure.
22              Q.    Why don't you tell us what you
23      remember?
24              A.    Gun arrest, VTL violations over a
25      period of time, kidnapping arrest, those

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1                      A. RAGANELLA
2       are the ones that jump off my mind at me.
3               Q.   Were these commendations, when you
4       receive them, do you receive them in a
5       ceremony? Do you receive them just in the
6       mail? How are they given?
7               A.   The supervisor does a written
8       request for them, through a process, and
9       then it goes before a committee, to decide
10      whether you're awarded them or not.
11              Q.   When you are awarded them, is it
12      done in a ceremony or is it done where you
13      just receive it in the mail?
14              A.   Not for those particular awards.
15      For higher awards in the Department, there
16      is a ceremony, but not for those.
17              Q.   Have you ever been nominated for
18      one of the higher awards?
19              A.   No.
20              Q.   During your time at DCU, can you
21      give me your general responsibilities?
22              A.   General responsibilities, I was the
23      commanding officer of the unit, both as a
24      Captain and a Deputy Inspector. My
25      responsibilities were to oversee the day to

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1                      A. RAGANELLA
2       day operations of the unit,
3       administratively and operationally, for
4       what goes on at the unit, policy procedure,
5       operations, and supervise the staff that's
6       there.
7               Q.   How big is the staff that's there?
8               A.   It varied over the seven plus years
9       that I was there. It went anywhere from
10      approximately four members of the service
11      up to 20 plus, before I had left.
12              Q.   Was it four at the beginning and 20
13      when you left?
14              A.   Correct.
15              Q.   When you were there, it was a
16      smaller entity?
17              A.   Correct.
18              Q.   You helped build it up into a much
19      bigger entity?
20              A.   I like to think so, yes.
21              Q.   When you arrived, Lieutenant Shwock
22      [phonetic] if that's correct, was the
23      interim CO?
24              A.   He was not there when I got there.
25      He had already retired.

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1                      A. RAGANELLA
2               Q.    Prior to Lieutenant Shwock it was
3       Inspector Graham who was in charge of DCU?
4               A.    Chief Graham.
5               Q.    Chief Graham was in charge of DCU?
6               A.    Yes, he was the commanding officer
7       prior to me, and then Lieutenant Shwock was
8       more or less an acting commanding officer
9       as a Lieutenant there in the interim.
10              Q.    In between Lieutenant Shwock's
11      retirement and your appointment to DCU, do
12      you know who was running things there?
13              A.    I don't understand the question.
14              Q.    You had said previously that
15      Lieutenant Shwock retired before you went
16      to DCU, correct?
17              A.    Correct.
18              Q.    I'm asking you who was in charge
19      when he retired, before you got there?
20              A.    It was a short amount of time, but
21      for the amount of time that it was, it was
22      Sergeant Jose Vega.
23              Q.    Who stayed on with you when you
24      came in?
25              A.    Correct.

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1                      A. RAGANELLA
2               Q.   Was he your second in command
3       during your time at DCU?
4               A.   I wouldn't say second. Well, when I
5       first got there, yes, because there were no
6       Lieutenants there, so he was the Sergeant.
7               Q.   Did he stay with you during your
8       entire tenure there?
9               A.   Yes, he did.
10              Q.   Is he still at the DCU?
11              A.   He is.
12              Q.   What is his current title, his
13      current rank?
14              A.   Sergeant Special Assignment.
15              Q.   What does that mean, Sergeant
16      Special Assignment?
17              A.   That he was promoted within the
18      rank of Sergeant, to a Special Assignment
19      designation.
20              Q.   I understand that you're here for
21      a, in response to both a 30(B)(6) notice
22      and a fact notice, is that correct?
23              A.   Correct.
24              Q.   And that your 30(B)(6) is
25      specifically for the timeframe of 2011,

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1                      A. RAGANELLA
2       January 1, 2011 til September 17, 2012, is
3       that correct?
4               A.    Yes.
5                              MS. MITCHELL:               It's August.
6                      August of 2010.
7                              THE WITNESS:               That's when I
8                      became the commanding officer of
9                      DCU.
10              Q.    The timeframe is limited to August
11      2010 until September 17, 2012.
12              A.    '12.
13              Q.    Your 30(B)(6) knowledge is limited
14      to Disorder Control Unit only, correct?
15              A.    Correct.
16              Q.    When we're looking at the position
17      notice, and we're going to look at certain
18      topics, it's understood between counsel
19      that you're going to be limited in your
20      answers, and that there's going to be other
21      witnesses produced, both for the timeframes
22      that aren't being covered here, that the
23      court has said can be covered, which I
24      think are both before this date and after
25      this date. I think it's also going to be

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1                      A. RAGANELLA
2       for a wider swath of knowledge for more of
3       the city municipality going ons.
4                      Is that your understanding as well?
5               A.   Yes.
6               Q.   Because you're both a fact witness
7       and a 30(B)(6) witness, there's going to be
8       times where the answer is going to bind the
9       city, and there's going to be times where
10      the answer only binds you, is that
11      understood?
12              A.   Yes.
13              Q.   I think that because this is going
14      to overlap sometimes, we should at
15      different times make sure that we're on the
16      same page, as to what you're answering as.
17      If at any point you think there's a
18      distinction that needs to be made, I'd ask
19      that you say that.
20              A.   Got it.
21              Q.   You've been deposed, I believe at
22      least two other times, correct?
23              A.   Correct.
24              Q.   Is it more than two or is it just
25      those two that I know about?

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1                      A. RAGANELLA
2               A.   Just those two.
3               Q.   You've been told that, people ask
4       you are you ready to be deposed? Is there
5       anything that is going to impact your
6       ability to testify truthfully and honestly?
7       Have you taken any drugs? Have you not
8       taken something you're supposed to take? Is
9       there a prescription medication you haven't
10      taken? You know all of those questions,
11      correct?
12              A.   Yes.
13              Q.   Is there anything that you believe
14      has happened in the last 24 to 48 hours
15      that would impact your ability to testify
16      truthfully or honestly here today?
17              A.   No.
18              Q.   Let me first start with, when did
19      you first meet with any attorney in the
20      City Law Department about today's
21      deposition?
22              A.   I don't recall.
23              Q.   When was the last time you met with
24      somebody about today's deposition?
25              A.   About a half hour ago.

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1                      A. RAGANELLA
2               Q.   Before today, when was the last
3       time you met with somebody about today's
4       deposition?
5               A.   Tuesday.
6               Q.   Before Tuesday?
7               A.   Monday.
8               Q.   Before Monday?
9               A.   Don't recall.
10              Q.   Was there a time before Monday?
11              A.   I don't recall.
12              Q.   Is there anything that would
13      refresh your recollection?
14              A.   Not that I can think of.
15              Q.   Who was it that you met with on
16      Monday?
17              A.   Alison Mitchell.
18              Q.   Who was it you met with on Tuesday?
19              A.   Alison Mitchell.
20              Q.   Alison Mitchell is the attorney
21      sitting to your left, correct?
22              A.   Correct.
23              Q.   That's also the attorney you met
24      with earlier today, correct?
25              A.   Correct.

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1                     A. RAGANELLA
2               Q.   You see there's another attorney
3       sitting next to Ms. Mitchell, correct?
4               A.   Yes.
5               Q.   Have you met with that attorney
6       before today?
7               A.   She was present for a short amount
8       of time on Monday, with myself and Alison.
9               Q.   Prior to Monday, had you met with
10      her any other time?
11              A.   Not that I recall.
12              Q.   Were there any other attorneys that
13      you met with, other than the two in this
14      room?
15              A.   Concerning this case?
16              Q.   Yes.
17              A.   Not that I recall, no.
18              Q.   Are there any other attorneys that
19      you spoke with, if you didn't meet with
20      them, about this case?
21              A.   No.
22              Q.   Do you recall the first time you
23      spoke to anybody about this case?
24              A.   No.
25                                    (Document marked Exhibit 1

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1                      A. RAGANELLA
2                              for identification as of this
3                              date by the reporter.)
4               Q.   We're going to watch a little
5       video, and then we're going to talk about
6       the video. What I'm going to do is mark ...
7       This thumb drive has all the same videos as
8       the ones that we're going to watch. I'm
9       going to mark it as number I, and I'll move
10      it here. Can you come closer, and then your
11      attorney ...
12                                     MS. MITCHELL:          Yeah, I'll
13                             move.
14              Q.   It's a somewhat long video, so
15      we'll just let it watch all the way
16      through.
17              A.   Okay.
18                                     (Whereupon, the witness
19                             was shown a video.)
20                                     (Back on the record.)
21              Q.   The video cuts to when people are
22      being released from the precinct.
23                     Inspector, were you able to watch
24      and observe that entire video?
25              A.   Yes.

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1                      A. RAGANELLA
2               Q.   Have you seen that video before?
3               A.   No.
4               Q.   Are you aware of that incident?
5               A.   No.
6               Q.   Do you have an opinion on what you
7       saw?
8                                      MS. MITCHELL:          Objection.
9                                      You can answer.
10              A.   No.
11              Q.   Did what you see comport with the
12      policies and practices of the City of New
13      York, in relation to crowd control?
14              A.   In what regard?
15              Q.   Did that comport with the City of
16      New York's policies and practices in
17      relation to crowd control? Did you see any
18      crowd control necessary there?
19              A.   From the small snippet of video
20      that I saw, at the exact moment that I was
21      watching it, no, but I don't know what
22      happened prior to that.
23              Q.   Did that comport with the policies
24      and practices of the City of New York on
25      the management of pedestrian traffic?

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1                      A. RAGANELLA
2               A.   I wasn't there, so I can't speak
3       for what that Captain, what he was doing. I
4       don't know what he saw and observed prior
5       to the video starting.
6               Q.   Only from what you could observe on
7       this video, did you believe that the
8       Captain there and the way he handled it
9       comported with the policies and practices
10      of the City of New York in the management
11      of pedestrian traffic?
12                                     MS. MITCHELL:          Objection.
13                                     You can answer.
14              A.   From the parts of the video that I
15      saw, I did not see a need for moving
16      pedestrian traffic.
17              Q.   From the part that you saw, do you
18      believe that the police conduct that day
19      comported with the City's policies and
20      practice concerning First Amendment rights
21      to speech and assembly?
22                                     MS. MITCHELL:          Objection.
23                                     You can answer.
24              A.   In what regard?
25              Q.   Were they honoring people's rights

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1                      A. RAGANELLA
2       to free speech and assembly, or violating
3       people's rights to free speech and
4       assembly?
5                                      MS. MITCHELL:          Objection.
6                                      You can answer.
7               A.   I don't know what they were
8       speaking about, and I don't know what
9       happened during that whole time that, that
10      video was playing.
11              Q.   You can see in that video, an
12      individual stated that they were there as
13      part of an Occupy the Bronx, to do a
14      general assembly. I think we can agree
15      that, that type of conduct is free speech,
16      protected by the First Amendment, correct?
17                                     MS. MITCHELL:          Objection.
18                                     You can answer.
19              A.   I can't answer that.
20              Q.   Why can't you answer that?
21              A.   Because I wasn't there. I didn't
22      see what they were speaking of or how it
23      was actually occurring.
24              Q.   Okay. I'm saying that we didn't see
25      it, because it didn't occur, because the

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1                      A. RAGANELLA
2       police frustrated it before it could occur.
3       I'm asking you if individuals were seeking
4       to have a general assembly in that area, on
5       the sidewalk, in front of the community
6       garden, would that be an exercise of free
7       speech rights, protected by the First
8       Amendment?
9                                      MS. MITCHELL:          Objection.
10                                     You can answer.
11              A.   As long as they weren't committing
12      any offenses, yes.
13              Q.   Did you see them committing any
14      offenses in the video that you observed
15      just now?
16              A.   No.
17              Q.   If they didn't commit any offenses
18      ... Withdrawn.
19                     In the video that you saw, did the
20      police honor the First Amendment rights of
21      these individuals, or did they violate
22      them?
23                                     MS. MITCHELL:          Objection.
24                                     You can answer.
25              A.   From the small amount of video that

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1                      A. RAGANELLA
2       I saw during that time, and again, I didn't
3       see what happened before or after the video
4       stopped, I did not see any need for that.
5               Q.   You believe from what you saw, they
6       violated these people's First Amendment
7       rights, is that correct?
8                                      MS. MITCHELL:          Objection.
9                                      You can answer.
10              A.   I can't answer that.
11              Q.   Why can't you answer that?
12              A.   Because, again, I wasn't there, so
13      I don't know exactly what went on.
14              Q.   I'm asking you from what you
15      observed in this video. From what you just
16      testified to, they violated these people's
17      First Amendment rights to free speech,
18      isn't that correct?
19                                     MS. MITCHELL:          Objection.
20                                     You can answer.
21              A.   From what I saw on the video, there
22      was no need to move those people under the
23      circumstances of the few minutes that I saw
24      there.
25              Q.   Did that conduct of the police

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1                      A. RAGANELLA
2       comport with the training that you give at
3       Disorder Control?
4                                      MS. MITCHELL:          Objection.
5                                      You can answer.
6               A.   From what I saw on the video, no,
7       it does not comport with the training.
8               Q.   Did you observe the moments when an
9       individual police officer, who seemed to be
10      a Community Affairs Officer, because I
11      think he was wearing a light blue jacket,
12      started to speak to the news reporter?
13              A.   Yes, I saw that part.
14              Q.   Did that conduct comport with the
15      training of Disorder Control?
16                                     MS. MITCHELL:          Objection.
17                                     You can answer.
18              A.   We don't train on matters of media.
19              Q.   You would agree that free press is
20      part of the First Amendment, correct?
21              A.   Absolutely.
22              Q.   That officer seemed to interrupt
23      the press while they were working to ask
24      questions, correct?
25              A.   I don't know if it was an

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1                      A. RAGANELLA
2       interruption, but he did speak to her, yes.
3               Q.   She was interviewing somebody at
4       the time that he started to speak to her,
5       correct?
6               A.   Okay.
7               Q.   That's her job, correct?
8               A.   Yes.
9               Q.   He started asking her questions
10      while she was doing her job, and asking her
11      about a press pass, correct?
12              A.   Correct.
13              Q.   Does that comport with the training
14      at Disorder Control?
15                                     MS. MITCHELL:          Objection.
16                                     You can answer.
17              A.   There are times where members of
18      the service are required to ask for press
19      credentials, yes.
20              Q.   Did this moment in time that you
21      could observe in the video comport with the
22      times when you believe somebody from the
23      Police are supposed to ask for a press
24      pass?
25                                     MS. MITCHELL:          Objection.

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1                      A. RAGANELLA
2                                      You can answer.
3               A.   From what I saw in that small
4       window of time, no.
5               Q.   Are you aware that at least two
6       elected officials complained about this
7       incident and brought it to the attention of
8       the Commissioner of the NYPD?
9                                      MS. MITCHELL:          Objection.
10                                     You can answer.
11              A.   I'm unaware of that.
12              Q.   During the time that we're here
13      for, which I believe is August 2010 til
14      September 17, 2012, you were solely in
15      charge of Disorder Control and the training
16      that Disorder Control gave, correct?
17              A.   Correct.
18              Q.   If an update to training was
19      needed, you would either tell somebody you
20      believed that was so, or somebody would
21      come to you and say an update was needed,
22      correct?
23              A.   Correct.
24              Q.   During that time period, was any
25      update to the training needed?

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1                      A. RAGANELLA
2               A.   In regard to what specifically?
3       There's always updates that are done and
4       revisions to lesson plans, yes.
5               Q.   Sure. Do you recall any specific
6       updates to training between August 2010 and
7       September 17th of 2012?
8               A.   No.
9               Q.   Do you recall any updates to
10      training regarding assembly or free speech
11      rights in that timeframe?
12              A.   No.
13              Q.   Having seen this video, if that in
14      fact showed the full conduct and the full
15      scope of what was going on, would you
16      believe that an update to training would be
17      required for those individual police
18      officers?
19                                     MS. MITCHELL:          Objection.
20                                     You can answer.
21              A.   Yes, to those specific members.
22              Q.   If somebody had brought this video
23      to your attention during the timeframe
24      we're talking about, would you have
25      suggested to anybody that perhaps an update

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1                     A. RAGANELLA
2       to training, regarding free speech rights,
3       is necessary?
4                                     MS. MITCHELL:         Objection.
5               A.   Not generally, no. To those
6       particular officers, possibly re-
7       instruction.
8               Q.   Okay.
9                                     MS. FORSTER-GALVIN:            Can
10                            we just have a moment?
11                                    MR. STECKLOW:         Sure.
12                                    (Whereupon, a short recess
13                            was taken.)
14                                    (Back on the record.)
15      BY MR. STECKLOW:
16              Q.   Just to be clear, you're not here
17      to talk about any Academy training,
18      correct?
19              A.   Correct.
20              Q.   You're not here to talk about any
21      leadership training, correct?
22              A.   Correct.
23              Q.   You're only here to talk about
24      Disorder Control training, correct?
25              A.   Correct.

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1                      A. RAGANELLA
2               Q.   I think this may be redundant, but
3       I'm going to ask it again, just so I have
4       it properly asked. Were the arrests that
5       ... Withdrawn.
6                      Within that video, we saw a couple
7       of arrests being made, correct?
8               A.   Yes.
9               Q.   Were those arrests consistent with
10      the Disorder Control training?
11                                     MS. MITCHELL:          Objection.
12                                     You can answer.
13              A.   I don't understand what you mean.
14              Q.   From what you could observe in the
15      video, were those arrests consistent with
16      the training that you gave at Disorder
17      Control?
18              A.   I still don't understand. I don't
19      understand what you mean.
20              Q.   Do you believe there was probable
21      cause to effectuate those arrests?
22              A.   I wasn't there, so it's impossible
23      for me to answer that question.
24              Q.   Did you see probable cause in the
25      video that we just watched for the arrests

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1                      A. RAGANELLA
2       that were made in that video?
3                                      MS. MITCHELL:          Objection.
4                                      You can answer.
5               A.   No.
6               Q.   Those arrests were not consistent
7       with the training you give at Disorder
8       Control, about when it's appropriate to
9       make an arrest in that situation, for the
10      video you saw, correct?
11                                     MS. MITCHELL:          Objection.
12                                     You can answer.
13              A.   Our training dictates that we make
14      arrests when there's probable cause.
15              Q.   You just testified there was not
16      probable cause, from what you could see in
17      that video, correct?
18              A.   From what I could see.
19              Q.   Those arrests did not comport with
20      the training you give regarding probable
21      cause, correct?
22              A.   Again, I wasn't there to see if
23      there was probable cause.
24              Q.   From what you could see on the
25      video, those arrests did not comport with

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1                      A. RAGANELLA
2       the training Disorder Control gives about
3       probable cause, correct?
4                                      MS. MITCHELL:          Objection.
5                                      You can answer.
6               A.   I can't answer that.
7               Q.   For the video that you could watch,
8       those arrests did not comport with the
9       training you give at Disorder Control
10      regarding probable cause, correct?
11                                     MS. MITCHELL:          Objection.
12                                     You can answer.
13              A.   The training we give at Disorder
14      Control Unit, again, is based on probable
15      cause. I can't testify or answer as to what
16      those officers saw, as far as probable
17      cause.
18              Q.   I'm asking you for what you could
19      observe of this video. You've already
20      testified that you didn't observe any
21      probable cause in the video for the arrest,
22      correct?
23              A.   From the part of the video that I
24      saw, I did not see probable cause.
25              Q.   I'm asking you, does that mean that

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1                      A. RAGANELLA
2       these arrests for the conduct that you
3       could observe in the video, these arrests
4       did not comport with the training you gave
5       at Disorder Control, regarding proper
6       arrest and probable cause, correct?
7                                      MS. MITCHELL:          Objection.
8                                      You can answer.
9               A.   Again, I did not see probable cause
10      on the video. I can't testify as to what
11      the officers saw.
12              Q.   I'm not asking you to.
13              A.   Okay.
14              Q.   I'm asking you to testify as to
15      what you could observe in the video and
16      whether those arrests comported with the
17      training you give at Disorder Control for
18      probable cause?
19                                     MS. MITCHELL:          Objection.
20                                     You can answer.
21              A.   I did not see probable cause.
22              Q.   Did it comport with the training
23      you give at Disorder Control?
24                                     MS. MITCHELL:          Objection.
25                                     You can answer.

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1                      A. RAGANELLA
2               A.   I don't train on probable cause.
3       That's not part of our training.
4               Q.   Disorder Control does not do any
5       training on probable cause for arrest?
6               A.   That's done at the Police Academy
7       during recruit training.
8               Q.   In that video that we watched, did
9       you see any riotous conduct?
10                                     MS. MITCHELL:          Objection.
11                                     You can answer.
12              A.   From the portion of the video that
13      I saw, I did not see riotous behavior or
14      conduct.
15              Q.   Did you see any clear and present
16      danger of public disorder?
17                                     MS. MITCHELL:          Objection.
18                                     You can answer.
19              Q.   In the video we just watched.
20              A.   I did not, no.
21              Q.   In that video that we observed,
22      could pedestrians pass without significant
23      inconvenience?
24                                     MS. MITCHELL:          Objection.
25                                     You can answer.

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1                      A. RAGANELLA
2               A.    From what I saw, it seemed that
3       pedestrians could pass.
4               Q.    Does Disorder Control train on
5       substantial impedance of the public, in
6       regard to sidewalk?
7               A.    I don't understand the question.
8               Q.    I'm trying to understand, you just
9       decided that you didn't see people blocking
10      the sidewalk, that pedestrians could walk,
11      correct?
12              A.    Correct.
13              Q.    I think that there's a standard
14      that mere inconvenience is not sufficient,
15      it has to be some substantial impedance, in
16      order for a protest to crossover from legal
17      to illegal, correct?
18              A.    Correct.
19              Q.    I'm asking if that training occurs
20      at Disorder Control, about where that
21      crossover occurs, between merely
22      inconveniencing a pedestrian and
23      substantially impeding a pedestrian?
24              A.    It's impossible to train on that.
25              Q.    Why is that?

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1                      A. RAGANELLA
2               A.   There's so many different varied
3       circumstances and dynamics. One situation
4       doesn't apply to another situation.
5               Q.   How are officers trained to make
6       these decisions when they're out in the
7       field?
8               A.   At a demonstration or a protest, or
9       on normal patrol?
10              Q.   Demonstration or protest.
11              A.   At a demonstration or a protest,
12      they're going to use either their
13      discretion, along with their supervisor, or
14      a member of our legal bureau would be there
15      to guide them.
16              Q.   The Disorder Control training is
17      both for the rank and file officers, as
18      well as people above the police officer
19      rank, correct?
20              A.   Correct.
21              Q.   You just talked about how a
22      supervisor would be somebody who might give
23      guidance. How are the supervisors trained
24      in where that distinction comes between
25      merely inconvenienced and substantially

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1                      A. RAGANELLA
2       impeding?
3               A.    That would be the same answer as I
4       gave before.
5               Q.    Can you give it again? I'm asking
6       specifically about the supervisors. You
7       said the supervisors would be on scene to
8       help the POs make these decisions.
9               A.    Correct.
10              Q.    How is it the supervisors are
11      trained in that knowledge?
12              A.    The supervisors, when we're doing
13      Disorder Control work or crowd management
14      and crowd control, there's a team led
15      concept that goes into that, where police
16      officers will act as a team, and not
17      necessarily take action, unless directed by
18      a supervisor. If a supervisor believes that
19      there's a substantial disruption, they can
20      instruct the officers to make the arrests.
21              Q.    How are those supervisors trained
22      to understand when there's substantial
23      disruption compared to merely
24      inconveniencing?
25              A.    That's something they would get

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1                      A. RAGANELLA
2       through training at the Police Academy,
3       when they learn about disorderly conduct
4       and probable cause.
5               Q.   That training takes place during
6       the cadet period, not later on, correct?
7               A.   Recruit period, yes.
8               Q.   Recruit period, like you said.
9               A.   Right.
10              Q.   That's not training supervisors get
11      as they rise through the ranks. That's
12      something done at the Academy during their
13      recruit time, correct?
14              A.   Again, I can't, as far as training
15      is concerned, there's no cookie cutter
16      approach to being able to dictate what
17      probable cause means for disorderly
18      conduct, when it comes to blocking
19      vehicular or pedestrian traffic. There's no
20      defined term on that, as far as when you
21      have probable cause.
22              Q.   It's your belief that, that
23      training doesn't take place because it is
24      impossible to take place?
25                                     MS. MITCHELL:          Objection.

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1                      A. RAGANELLA
2               You can answer.
3               A.    We can give examples of how it
4       happens and how it occurs, and we do, but I
5       can't stand in front of a classroom and
6       tell officers, "This is in fact when you
7       have probable cause for disorderly
8       conduct," unless I'm giving them an example
9       of what it looks like and how it takes
10      place.
11              Q.    Is that training you give? Those
12      examples?
13              A.    There are examples that are given,
14      yes.
15              Q.    Is that training that Disorder
16      Control gives?
17              A.    Yes.
18              Q.    In which documents are those
19      examples found?
20              A.    That would be something that my
21      instructors would discuss with them.
22              Q.    It's not something that's in a
23      writing, it's something that's part of a
24      discussion?
25              A.    Correct.

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1                      A. RAGANELLA
2               Q.   In which component of Disorder
3       Control training does that discussion take
4       place?
5               A.   During mass arrest techniques.
6               Q.   The mass arrest techniques, is that
7       a classroom setting or is that part of a
8       mobile exercise setting outside the
9       classroom?
10              A.   It could be both.
11              Q.   For the time period between August
12      2010 and September 17th of 2012, which one
13      was it?
14              A.   Both.
15              Q.   Is that documented somewhere, about
16      whether or not it's a classroom or it's a
17      mobile exercise outside of the classroom?
18              A.   Not that I'm aware of.
19              Q.   When the mobile exercises took
20      place on Randall's Island, are there
21      classrooms on Randall's Island for these
22      instructions to take place in a classroom
23      setting?
24              A.   No.
25              Q.   For sure, any of the mobile

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1                      A. RAGANELLA
2       exercises that occurred on Randall's
3       Island, this stuff wasn't taught in a
4       classroom setting or discussed, correct?
5               A.   I didn't say that. It was
6       discussed, not in a classroom setting
7       though
8               Q.   Even when it's not in a classroom
9       setting, it's still discussed?
10              A.   Yes.
11              Q.   Were you aware that the New York
12      Civil Liberties Union also sent a letter to
13      Commissioner Kelly, raising concerns about
14      the police aggressively dispersing people
15      standing lawfully on city sidewalks, and
16      urging the NYPD to do a better job of
17      writing warnings to Occupy Wall Street
18      protestors... unlawfully parading in
19      streets or blocking sidewalks?
20                                     MS. MITCHELL:          Objection.
21                                     You can answer.
22              A.   No, I was not aware of that.
23              Q.   Okay. I'm going to mark this as,
24      I'm going to put these together since
25      they're similar, and make it II. Exhibit II

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1                     A. RAGANELLA
2       is Bates stamped D14888 through 14896, as
3       well as D15187 through 15195.
4                                     (Document marked Exhibit 2
5                             for identification as of this
6                             date by the reporter.)
7               Q.   I'd ask you to look at that and
8       tell me if you've seen it before. The top
9       ones are documents related to a complaint
10      by City Council Member Jessica Lappin,
11      considering the video we just saw. The
12      second set of pages is the complaint by
13      State Senator Liz Krueger, about the same
14      video of the incident in the Bronx.
15              A.   Thank you. (Witness perusing
16      document.)
17                                    MR. STECKLOW:         While you
18                            are doing that, I have a
19                            question for counsel on the
20                            record, which is these
21                            documents indicate that there
22                            was an Internal Affairs
23                            investigation opened, and I
24                            don't believe we received any
25                            Internal Affairs records

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1                     A. RAGANELLA
2                             concerning this complaint.
3                             Obviously, that would be
4                             responsive to our request. My
5                             belief is there are no
6                             documents, and I just want to
7                             make sure that, that's an
8                             accurate belief.
9                                     MS. MITCHELL:         Regarding
10                            this specific investigation?
11                                    MR. STECKLOW:         Both
12                            letters complain about this
13                            incident in the Bronx that we
14                            just watched the video of. Both
15                            responses by Commissioner Kelly
16                            state that this has been
17                            referred to Internal Affairs
18                            and there's an investigation.
19                            We've never received any of
20                            those documents. We've asked
21                            for them. My belief is it
22                            doesn't exist, but before I
23                            rely upon that belief, I'd like
24                            to be sure about it.
25                                    MS. MITCHELL:         I don't

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1                     A. RAGANELLA
2                             believe that you made a
3                             specific request for Internal
4                             Affairs investigations. We can
5                             have a discovery dispute on the
6                             record, but I don't think that,
7                             that would be a beneficial use
8                             of your time.
9                                     MR. STECKLOW:         That's at
10                            least clearing it up for me,
11                            that you don't believe that
12                            this has been requested. It's
13                            not that it doesn't exist, it
14                            hasn't been ...
15                                    MS. MITCHELL:         Well, let
16                            me cache that with there are
17                            five sets of documents demands
18                            in this case, and I don't have
19                            all of them in front of me or
20                            my notes in front of me.
21                                    MR. STECKLOW:         Okay.
22                                    MS. MITCHELL:         I would not
23                            be prepared to answer that
24                            question off the cuff.
25                                    MR. STECKLOW:         Fair

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1                     A. RAGANELLA
2                             enough. That's why I wanted to
3                             ask the question, because I
4                             wanted to understand whether
5                             it's been sought and hasn't
6                             been found, or hasn't been
7                             sought, and it seems like we're
8                             not sure. You and I will
9                             discuss this off the record.
10                                    MS. MITCHELL:         I would say
11                            if you'd like to have a
12                            discovery discussion related to
13                            that specific request, we could
14                            do that at a later date and
15                            time. I'm perfectly happy to do
16                            that. I'm not prepared to have
17                            that discussion right now.
18                                    MR. STECKLOW:         Great.
19                                    (Whereupon, a short recess
20                            was taken.)
21                                    (Back on the record.)
22              Q.   Have you ever seen these documents
23      before?
24              A.   I have not.
25              Q.   You haven't been aware of these

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1                     A. RAGANELLA
2       complaints before?
3               A.   I was not.
4               Q.   To your knowledge is disorder
5       control training updated based on these
6       complaints?
7                                     MS. MITCHELL:         Objection.
8                                     You can answer.
9               A.   I don't understand your question.
10              Q.   Was disorder control training
11      updated based on the complaints that you
12      just reviewed?
13              A.   No.
14              Q.   Those complaints concerned the
15      conduct of the video that we just observed,
16      correct?
17              A.   I believe so, yeah.
18                                    (Document marked Exhibit 3
19                            for identification as of this
20                            date by the reporter.)
21              Q.   So, I'm going to show you what's
22      marked as, I think, it's exhibit three, and
23      ask you to review that.
24              A.   (Witness perusing document.)
25              Q.   Let me know after you've had a

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1                      A. RAGANELLA
2       chance to see it. Do you recognize that
3       document?
4               A.   Yes.
5               Q.   Is it from disorder control
6       training?
7               A.   Yes.
8               Q.   Is it a document ... Is the
9       information onto something that you
10      created?
11              A.   Not myself personally, my staff.
12              Q.   But under your instruction?
13              A.   It's possible that this was a pre-
14      existing lesson plan prior to my arrival,
15      but it was something that I reviewed.
16              Q.   It was something that you continued
17      to utilize, correct?
18              A.   Correct.
19              Q.   It gives a definition of what a
20      riots situation is, correct?
21              A.   I don't understand your question.
22              Q.   This is a PowerPoint screen,
23      correct?
24              A.   Correct.
25              Q.   This is utilizing in some classroom

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1                      A. RAGANELLA
2       setting of disorder control training,
3       correct?
4               A.   Correct.
5               Q.   In the mass arrest component that
6       we discussed previously, correct?
7               A.   Correct.
8               Q.   In this PowerPoint, it says, "Riots
9       situation - violent civil disorder." So,
10      it's defining what a riots situation is,
11      correct?
12              A.   It's giving an example of a riots
13      situation, yes.
14              Q.   Okay. And it's giving us an example
15      because it's trying to help members of the
16      service distinguish what a mass arrest is
17      concern to what a riots situation is,
18      correct?
19              A.   That's correct.
20              Q.   So, mass arrest is the situation
21      where demonstrators wish to be arrested and
22      are being passive, correct?
23              A.   Correct.
24              Q.   So, that's not when people don't
25      wish to be arrested, and they're not

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1                      A. RAGANELLA
2       engaging in civil disobedience. Is it your
3       words here mass arrest means people intend
4       to be arrested?
5                                      MS. MITCHELL:          Objection.
6                                      You can answer.
7               A.   No, there are a lot of times where
8       we make multiple arrest for people not
9       wanting to be arrested.
10              Q.   Okay. When it says, "A mass arrest
11      is a situation where demonstrators wish to
12      be arrested," you're saying this is just an
13      example of it? It's not definition of it?
14              A.   That's correct.
15              Q.   Okay. So, there are other examples
16      of mass arrest?
17              A.   I don't understand your question.
18              Q.   Are there other examples of mass
19      arrest, other than what you've defined on
20      this PowerPoint?
21              A.   I don't have a definition of it,
22      no.
23              Q.   Okay. Are there other examples of
24      riots situation, other than what's
25      identified here?

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1                      A. RAGANELLA
2               A.   It could be.
3               Q.   Do you train on other examples?
4               A.   Possibly using different words, but
5       that's a synopsis of what we use.
6               Q.   So, disorder control training, in
7       the most basic way, states that a riots
8       situation is a violent civil disorder,
9       correct?
10              A.   That's an example. It's not a
11      definition.
12              Q.   Okay. So, what are other examples
13      of riots situation that are not violent
14      civil disorder?
15              A.   A riot, by definition, is a
16      statutorily defined event consisting of a
17      certain number or people engaging in
18      certain behavior. So, this is just an
19      example of a riots situation to let the
20      students know this is different than this
21      example of a mass arrest.
22              Q.   You said that a riots situation is
23      defined by the number of people and their
24      conduct? Is that right?
25              A.   Correct.

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1                      A. RAGANELLA
2               Q.   So, what kind of conduct can be a
3       riots situation that's distinguish from a
4       violent civil disorder?
5                                      MS. MITCHELL:          Objection.
6                                      You can answer.
7               A.   People engaging in property damage,
8       or multiple people engaging in assaults to
9       other people.
10              Q.   Assault to other people would still
11      be violent, correct?
12              A.   Could be.
13              Q.   It can be nonviolent assaults?
14              A.   I don't know. I would have to think
15      about it.
16              Q.   But to a riots situation, this term
17      violent civil disorder is a fairly good
18      general idea of what it is, correct?
19              A.   Absolutely.
20              Q.   And that's why you're training the
21      uniform member service on that, correct?
22              A.   Correct.
23              Q.   We're going to watch another video
24      now. I'd like you to watch it to the end,
25      and then we'll discuss it.

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1                     A. RAGANELLA
2                                     MS. MITCHELL:         This is
3                             plaintiff one?
4                                     MR. STECKLOW:         This is all
5                             plaintiff one, yes.
6                                     (Whereupon, the witness
7                             was shown a video.)
8                                     (Back on the record.)
9               Q.   Inspector Raganella, have you ever
10      seen that video before?
11              A.   No.
12              Q.   Did you recognize the area?
13              A.   Yes.
14              Q.   Where was that?
15              A.   It appeared to be the perimeter of
16      Zuccotti Park in lower Manhattan.
17              Q.   How many arrests were you able to
18      observe in that video?
19              A.   I saw two.
20              Q.   How many pedestrians did you
21      observe in that video that were not part of
22      the police or the group of protestors?
23                                            MS. MITCHELL:
24                                    Objection.
25                                            You can answer.

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1                      A. RAGANELLA
2               A.   There's no way for me to know that.
3               Q.   Did you see any pedestrians walking
4       by?
5                                              MS. MITCHELL:
6                                      Objection.
7                                              You can answer.
8               A.   Not that I recall.
9               Q.   Did the two arrests that you
10      observe comport with the training of
11      disorderly control, from what you can see
12      on the video?
13                                     MS. MITCHELL:          Objection.
14                                     You can answer.
15              A.   In what regard?
16              Q.   We've already established that you
17      don't train on probable cause. I can't ask
18      about that, correct?
19                                     MS. MITCHELL:          Objection.
20                                     You can answer.
21              A.   You can ask about it. I just don't
22      know that ... I can't tell you what their
23      probable cause was. I can't testify as to
24      what that officer saw.
25              Q.   Okay. From what you could observed,

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1                      A. RAGANELLA
2       did you see probable cause for an arrest?
3                                      MS. MITCHELL:          Objection.
4                                      You can answer.
5               A.   During that time period of the
6       video that I saw, I did not see probable
7       cause.
8               Q.   Did you see any clear and present
9       danger of public disorder?
10                                     MS. MITCHELL:          Objection.
11                                     You can answer.
12              A.   During the period that I saw the
13      video, no.
14              Q.   Do you train on clear and present
15      danger?
16              A.   Yes.
17              Q.   Disorder control training. That
18      training is part of when an arrest can be
19      made, or when a protest can be moved on the
20      sidewalk and pushed somewhere else? Is that
21      correct?
22              A.   That's part of it, yes.
23              Q.   Did the arrest and the conduct from
24      what you could see in this video comport
25      with the training of the clear and present

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1                      A. RAGANELLA
2       danger of when an arrest can be made for
3       sidewalk protest?
4                                      MS. MITCHELL:          Objection.
5                                      You can answer.
6               A.   From the part of the video that I
7       saw, no.
8               Q.   Did you hear a couple of warnings
9       of clear the sidewalk?
10              A.   Yes.
11              Q.   Do you train in disorder control
12      training on when it's appropriate to clear
13      a sidewalk?
14                                     MS. MITCHELL:          Objection.
15                                     You can answer.
16              A.   Not when it's appropriate to do it,
17      but how to do it is more of what we train
18      on.
19              Q.   Where does the training take place
20      on when an officer is authorized to clear a
21      sidewalk?
22              A.   That would be a discretionary
23      matter up to the incident commander on
24      scene.
25              Q.   Do you know where the incident is

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1                      A. RAGANELLA
2       trained on that issue?
3                                      MS. MITCHELL:          Objection.
4                                      You can answer.
5               A.   Again, just discretion probable
6       cause is all the matters that are taught at
7       the police academy.
8               Q.   During the recruit training,
9       correct?
10              A.   Correct.
11              Q.   Did you see any substantial
12      impedance of any pedestrians in the video
13      you just watched?
14                                     MS. MITCHELL:          Objection.
15                                     You can answer.
16              A.   The portion that I saw, no I did
17      not.
18              Q.   So, in the training that you give
19      as part of your mass arrest about
20      substantial impedance, would that be an
21      example of when an arrest could be made or
22      could not be made?
23              A.   If I were to use that as an example
24      on that clip of timeframe that I saw, that
25      would not be an arrest situation.

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1                      A. RAGANELLA
2               Q.   If this video had been brought to
3       your attention, would you have updated the
4       disorder control training concerning these
5       issues?
6               A.   No.
7               Q.   Why is that?
8               A.   I'm very happy with the way our
9       training and policy is on mass arrest.
10              Q.   Okay. Now, I'm talking specifically
11      about sidewalk and substantial impedance
12      and clear and present danger, of which
13      we've discussed that what we saw in the
14      video, the officers did not act within line
15      of the training that you give, correct?
16              A.   Based on what I saw, no.
17              Q.   Okay. I'm asking you if you believe
18      the training need to be updated, and you
19      say it does not, correct?
20              A.   That is correct.
21              Q.   Do you believe these officers would
22      need an update of refresher course in the
23      training?
24              A.   Without speaking to them, I
25      wouldn't be able to answer that.

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1                      A. RAGANELLA
2               Q.   Based on what you could observe in
3       the video.
4                                      MS. MITCHELL:          Objection.
5                                      You can answer.
6               A.   Based solely on what I saw in the
7       video without speaking to them, or knowing
8       the background of the situation prior to
9       what I saw on the video, I would say no.
10              Q.   You saw that last individual who
11      seemed to have a hoodie on being pulled out
12      of the back and being arrested?
13              A.   Yes.
14              Q.   Do you believe that there was
15      anything that you could see in the video
16      that gave cause for that arrest?
17                                     MS. MITCHELL:          Objection.
18                                     You can answer.
19              A.   From what I saw on the video, using
20      that solely, no.
21              Q.   So, do you believe the officers
22      there were following the training they had
23      been given by disorder control in making
24      those arrest?
25                                     MS. MITCHELL:          Objection.

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1                      A. RAGANELLA
2                                      You can answer.
3               A.   The way that they affected the
4       arrest seem to comport with our procedures.
5               Q.   You're talking about specifically
6       the way they handled the body once the
7       arrest decision had been made?
8               A.   Which is what we train on, yes.
9               Q.   I'm asking about the decisions to
10      make the arrest, and handling the sidewalk
11      protest, did the officers follow the
12      training of DCU in regards to those topics.
13                                     MS. MITCHELL:          Objection.
14                                     You can answer.
15              A.   We don't give training on those
16      topics. That's under the preview of an
17      incident commander's discretion.
18              Q.   That training, again, takes place
19      at the academy during their recruit time,
20      correct?
21              A.   There's also training that happens
22      in service with incident commanders during
23      tabletop exercises and such, where that may
24      become a topic of conversation, but it's
25      not something that I can specifically point

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1                     A. RAGANELLA
2       to to say that that particular incident
3       commander received that type of training.
4                                     (Document marked Exhibit 4
5                             for identification as of this
6                             date by the reporter.)
7               Q.   Okay. Now, I'm going to mark as
8       exhibit four, some images. I'm going to ask
9       you to look at this and let me know when
10      you've had a chance to do so.
11              A.   (Witness perusing document.)
12              Q.   Have you ever seen these images
13      before?
14              A.   Not that I recall.
15              Q.   Do you recognize anybody?
16              A.   I do not.
17              Q.   Do you recognize the white shirt?
18              A.   I do not.
19              Q.   Do you know who Edward Winski
20      [phonetic] is?
21              A.   Yes.
22              Q.   Okay. Having been told that's
23      Edward Winski, does that refresh your
24      memory as who it is? Pull it up on the
25      screen please.

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1                      A. RAGANELLA
2               A.   It's hard from the photos to say
3       that that's [crosstalk]...
4               Q.   ... on the computer for you. I'm
5       sorry for over-speaking. I have him on the
6       computer, so I'll make it easier.
7               A.   Thanks.
8               Q.   All right. We're now looking at the
9       second of the third image. Does that make
10      it easier for you to see who it is?
11              A.   Yes.
12              Q.   Do you recognize him? Is it?
13              A.   That appears to be Edward Winski,
14      yes.
15              Q.   Okay. Do you recognize the
16      location?
17              A.   No.
18              Q.   Do you see barriers set up in these
19      images?
20              A.   I do.
21              Q.   In the third image, do you see two
22      barriers set up?
23              A.   I do.
24              Q.   One seems to be against the
25      building, and the other one seems to be a

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1                      A. RAGANELLA
2       portion on the sidewalk.
3               A.   Yes, sir.
4               Q.   Does that comport with the training
5       of DCU to set up barriers to give the
6       protestors a place to march?
7               A.   Yes, sir.
8               Q.   And not block the entire sidewalk?
9               A.   Yes.
10              Q.   Do you see where the police are
11      standing in the photos?
12                                     MS. MITCHELL:          Objection.
13                                     You can answer.
14              A.   Are we speaking about police
15      officers uniformed or plain clothes?
16              Q.   All.
17              A.   Yes, I see where they're standing.
18              Q.   Okay. Is that in the street?
19              A.   It appears to be on the ... Well,
20      depending on which photo we're looking at.
21              Q.   Let's look at the middle one.
22              A.   It appears that they are in the
23      street if that is a street.
24              Q.   So, why did the police create a
25      narrow passageway for a large group of

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1                      A. RAGANELLA
2       people while occupying a larger passageway
3       that seems to be unused by vehicles.
4                                      MS. MITCHELL:          Objection.
5                                      You can answer.
6               A.   There's multiple reasons why that
7       may happen.
8               Q.   Okay. So, let's go through those.
9               A.   Okay. When we set up barriers ...
10      From what I'm seeing in the third photo, it
11      seems that there's a barrier up against the
12      building one, and another barrier on what
13      appears to be the sidewalk. Those two
14      barrier lines, I should say, are
15      adjustable, meaning at a moments notice
16      with the amount of officers needed, those
17      barrier lines could be moved and adjusted
18      to allow for more restricted flow or
19      increase flow of pedestrians within the
20      barrier line.
21                     Based on what I'm seeing here, I
22      don't know if that's a public roadway or
23      not, if vehicles travel up and down that
24      roadway. It appears to be like Belgium
25      block roadway. So, I don't know. I see a

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1                      A. RAGANELLA
2       line. In the first photo and the second
3       photo actually, I see what appears to be a
4       black iron gate on the other side. That
5       doesn't look like something that the police
6       department would put up [crosstalk]...
7               Q.    The black iron gate looks to be in
8       the middle of the roadway, correct?
9               A.    Right, which is why I
10      [crosstalk]...
11              Q.    ... are parallel with the roadway,
12      correct?
13              A.    Correct, which is why I suggest or
14      inquire as to whether this is a publicly
15      accessible roadway or not for vehicles to
16      travel down.
17              Q.    If it's not a publicly accessible
18      roadway, is there a reason why the police
19      would put the protestors in such a narrow
20      passageway while keeping such a large
21      passageway for themselves to stand in?
22              A.    Yes.
23              Q.    What is that?
24              A.    It's depending upon the number of
25      protestors or demonstrators that are

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1                      A. RAGANELLA
2       present. The incident commander will make a
3       determination as of what size or width of
4       barriers are needed to accommodate the
5       number of people that are there, while also
6       on the opposite side where the police are
7       standing, allow free passage for officers
8       and other uninvolved pedestrians to move up
9       and down. If it is a roadway where vehicles
10      can get through, we need to allow enough
11      room for public safety vehicles or just
12      regular vehicles to get through.
13              Q.   Okay. If we ... I want you to
14      understand this individual was eventually
15      arrested, and I'd like for you to accept
16      the fact he was charged with disorderly
17      conduct of blocking pedestrian traffic.
18                                     MS. MITCHELL:          Objection.
19              A.   Okay.
20              Q.   Can you, by looking at these three
21      images, understand how he could possibly be
22      blocking pedestrian traffic?
23                                     MS. MITCHELL:          Objection.
24                                     You can answer.
25              A.   Just based on what I'm seeing in

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1                      A. RAGANELLA
2       the photos?
3               Q.   Yes.
4               A.   I don't see him ... Based on three
5       snaps of a photo, I don't see him blocking
6       pedestrian or vehicular traffic.
7               Q.   Okay. Do you have an understanding
8       of what Ed Winski's role at Occupy Wall
9       Street or withdrawn.
10                   Do you have an understanding of the
11      role Inspector Winski played in policing
12      Occupy Wall Street?
13              A.   No.
14              Q.   Do you know where his commander was
15      during the time of Occupy Wall Street?
16              A.   I do not.
17              Q.   You don't know that he was the
18      commanding officer of the first precinct at
19      that time period?
20              A.   I recall him being commanding
21      officer of the first precinct. I'm not sure
22      as to the timeframe of when that occurred,
23      if that was during that time of those
24      photos, or even during the time of Occupy
25      Wall Street.

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1                      A. RAGANELLA
2               Q.   Are you aware of where Occupy Wall
3       Street occurred?
4               A.   Yes.
5               Q.   Was it generally within the
6       confines of the first precinct
7       jurisdiction?
8               A.   Occupy Wall Street occurred
9       worldwide.
10              Q.   I'm talking about New York City's
11      Occupy Wall Street and when it occurred
12      here. Did it generally occur within the
13      confines of the first precinct?
14              A.   The focal point, as we call it, for
15      Occupy Wall Street in New York City was
16      Zuccotti Park.
17              Q.   As well as marches from Zuccotti
18      that would go downtown into the financial
19      district, correct?
20              A.   That's correct.
21              Q.   And those were all within the
22      confines of the first precinct, correct?
23              A.   Wall Street, yes. I'm not sure
24      about the jurisdiction of Zuccotti Park.
25      That might be the first precinct also.

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1                      A. RAGANELLA
2               Q.   Did DCU conduct any specific
3       training for the first precinct officers
4       that would be assigned to Occupy Wall
5       Street?
6               A.   I'm not sure of what you're asking.
7               Q.   Was there specific training for the
8       officers of the first precinct that were
9       assigned to Occupy Wall Street?
10              A.   Specific to Occupy Wall Street or
11      trained in general? I don't understand the
12      question.
13              Q.   Specific to the first precinct
14      officers being trained because they were
15      going to be policing constitutional
16      activity at Occupy Wall Street.
17              A.   We did training for officers in
18      regard to demonstrations and protest. I
19      can't say that it was specific to Occupy
20      Wall Street.
21              Q.   In the trainings you did, were
22      there mobile exercises?
23              A.   That was one training that we did,
24      yes.
25              Q.   What are the other trainings that

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1                     A. RAGANELLA
2       you did for these officers in
3       demonstrations?
4               A.   Mobilization exercises. We also did
5       training for impact officers. We also did
6       training for officers that were assigned to
7       CRV. We also did tabletop exercises. We did
8       functional exercises. There's a multitude
9       of different types of training that the
10      Disorder Control Unit conducts.
11                                    (Document marked Exhibit 5
12                            for identification as of this
13                            date by the reporter.)
14              Q.   I'm going to mark as exhibit five,
15      demonstration lesson plan. I'm going to ask
16      you to review that and let me know when you
17      get a chance to do so.
18                                    MS. MITCHELL:         Objection.
19                                    You can answer.
20              A.   (Witness perusing document.) Now.
21              Q.   Is this something planned from the
22      academy?
23              A.   It appears to be.
24              Q.   So, there's nothing in here that
25      would be utilized as disorder control?

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1                      A. RAGANELLA
2               A.   I don't understand your question
3       when you say utilize.
4               Q.   Well, I'm being told by your
5       counsel it's beyond the scope because this
6       doesn't have to do with the timing or for
7       disorder control. If disorder control
8       utilizes this lesson plan, or the
9       information in it, then it's not beyond the
10      scope. So, I'm asking if disorder control
11      utilizes this lesson plan or the
12      information in it in its training?
13              A.   No, it did not.
14              Q.   I'd like to ask you to look at page
15      one. It's been marked as what is number one
16      at the bottom. Page one. They list five
17      performance objectives. The second one
18      states that the primary police role at
19      demonstrations is to maintain order and
20      prevent delays to non-demonstrators. Is
21      that a performance objective that was
22      taught at disorder control?
23                                     MS. MITCHELL:          Objection.
24                                     You can answer.
25              A.   That is one of the objectives that

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1                      A. RAGANELLA
2       we teach, yes.
3               Q.   And you teach that the primary
4       police role at demonstrations is to
5       maintain order and prevent delays to non-
6       demonstrators.
7               A.   That is not what we teach.
8               Q.   What do you teach?
9               A.   The primary role at any police
10      event is to protect life.
11              Q.   Okay. So, do you agree or disagree
12      that the primary police role at
13      demonstrations is to maintain order and
14      prevent delays to non-demonstrators?
15              A.   I would disagree with that.
16              Q.   Okay. If we remove the concept of
17      protecting life, and say that's always the
18      first thought for police, outside of that,
19      would you agree or disagree that the
20      primary police role in a demonstration is
21      to maintain order and prevent delays of
22      non-demonstrators?
23                                     MS. MITCHELL:          Objection.
24                                     You can answer.
25              A.   No.

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1                      A. RAGANELLA
2               Q.   No, you would agree or no you
3       would ...
4               A.   I would disagree that that's the
5       primary role.
6               Q.   What is the primary role outside of
7       protecting life at demonstrations?
8               A.   Protecting locations.
9               Q.   And does that mean protecting
10      property?
11              A.   Protecting property.
12              Q.   Okay. So, protecting life,
13      protecting property. Would you then agree
14      that the next primary goal is as stated
15      here is to maintain order and prevent
16      delays to non-demonstrators?
17              A.   After protecting life and after
18      protecting property, I would say that next
19      role that is important would be protecting
20      the rights of both the demonstrators and
21      the non-involved citizens.
22              Q.   Okay. So, the way it's stated here,
23      it does say protecting the demonstrators,
24      right? It only says maintain order and
25      prevent delays to non-demonstrators.

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1                     A. RAGANELLA
2               A.   You believe that's an incorrect
3       performance objective?
4                                     MS. MITCHELL:         I'm going
5                             to object to why you're
6                             questioning this. This is an
7                             academy training document, and
8                             he's here to testify about DCU
9                             training from August 2010 to
10                            September 2012. He has told you
11                            that this is not a document
12                            that DCU gives.
13                                    MR. STECKLOW:         Okay. I'm
14                            just trying to understand DCU's
15                            view of a specific line in this
16                            item.
17              Q.   So, you can answer the question.
18              A.   Repeat the question.
19              Q.   You disagree that one of the
20      polices primary role of the demonstrations
21      is to solely maintain order and prevent
22      delays to non-demonstrators. Do you believe
23      that it has to be balanced with honoring
24      the demonstration in some fashion?
25              A.   I do.

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1                     A. RAGANELLA
2                                             MS. MITCHELL:         Can we
3                                     take a quick bathroom
4                                     break?
5                                             MR. STECKLOW:         Sure.
6                                     The time is now 11:37, and
7                                     we're going to take a
8                                     quick break.
9                                             (Whereupon, a short
10                                    recess was taken.)
11                                            (Back on the record.)
12                                            MR. STECKLOW:         The
13                                    time is now 11:42.
14                                            We're still in my
15                                    office at 273 Center
16                                    Street. We are with each
17                                    of the same individuals we
18                                    identified earlier, and we
19                                    are back on the record.
20              Q.   Inspector Raganella, are orders to
21      disperse written down?
22              A.   They could be.
23              Q.   Are they handed out prior to days
24      of large protests?
25              A.   Sometimes.

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1                      A. RAGANELLA
2               Q.   Are there different types of orders
3       to disperse?
4               A.   Yes.
5               Q.   Do some of them provide an
6       alternative place to protest?
7               A.   I don't understand the question.
8               Q.   Do some orders to disperse provide
9       an alternative place that people can go to
10      protest?
11              A.   They could.
12              Q.   Okay. When in a sidewalk protest
13      would such an order be necessary?
14                                     MS. MITCHELL:          Objection.
15                                     You can answer.
16              A.   I don't understand the question.
17              Q.   You said that an order to disperse
18      can contain a separate location to continue
19      to protest, correct?
20              A.   Correct.
21              Q.   So, in a sidewalk protest, when
22      would such an order be necessary?
23              A.   If it was a substantial disruption
24      on the sidewalk, and demonstrators needed
25      to be moved, they would be given an order

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1                     A. RAGANELLA
2       to disperse, or to move to another location
3       if an accommodation was made for them.
4               Q.   So, that's my question. When is
5       that accommodation being made? Withdrawn.
6                     Is that something that disorder
7       control trains on?
8               A.   No, it is not.
9               Q.   So, they don't train on the
10      distinction between when an order to
11      disperse should contain an alternative
12      location to protest and when it does not to
13      contain such an alternative location to
14      protest, correct?
15              A.   That is correct.
16              Q.   Do you know where that training
17      does take place, if at all?
18              A.   I do not know where that takes
19      place.
20                                    (Document marked Exhibit 6
21                            for identification as of this
22                            date by the reporter.)
23              Q.   Okay. You see what I've marked as
24      plaintiff exhibit six, which are the RMC
25      legal guidelines Bates stamped 15270 to

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1                      A. RAGANELLA
2       15304.
3               A.   (Witness perusing document.)
4               Q.   I understand that these are prior
5       to the dates that we're discussing here, so
6       I'm not going to ask you about the RMC. I
7       am going to ask you about specific papers
8       from them. I would like you to look at page
9       15284. Before we get to that, do you know
10      whether or not there was any legal
11      guidelines for Occupy Wall Street created
12      by the NYPD?
13              A.   Not that I'm aware of.
14              Q.   The document you're looking at, are
15      the legal guidelines created for the
16      Republican National Convention in 2004 in
17      New York City, correct?
18              A.   Correct.
19              Q.   Do you have any idea why the police
20      did not create legal guidelines to police
21      Occupy Wall Street?
22              A.   I do not know why.
23              Q.   Is it your understanding that the
24      Republican National Convention lasted three
25      or four days.

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1                      A. RAGANELLA
2               A.    Correct.
3               Q.    Occupy Wall Street lasted in
4       Zuccotti Park almost 60 days, and in New
5       York City probably close to a year. Is that
6       accurate?
7               A.    Seems reasonable, yeah.
8               Q.    But then NYPD did not create real
9       guidelines for the Occupy Wall Street?
10              A.    Not that I'm aware of.
11              Q.    Now looking at page 15284 of the
12      RMC legal guidelines, there is at the top,
13      sub A is masks. This is on their chapter
14      two demonstrator tactics specific types of
15      conflict, correct?
16              A.    Correct.
17              Q.    In that under-subdivision A mask,
18      it talks about how the police can make an
19      arrest because there's a recent case that
20      says that's still constitutional to arrest
21      people if more than two of them are wearing
22      masks in public, correct?
23              A.    This is under A, correct?
24              Q.    Yes.
25              A.    Okay. Yes.

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1                     A. RAGANELLA
2               Q.   Okay. So, this is the NYPD
3       instructing its officers that they can make
4       an arrest for two people wearing masks, and
5       that federal courts have recently upheld
6       these arrests as constitutionally
7       compliant, correct?
8               A.   That's not the way I read that.
9               Q.   How do you read that?
10              A.   To me, it says when persons
11      congregate in a public place with at least
12      two other similarly disguised or masked.
13      So, to me that means three.
14              Q.   Okay. So, it's updating in telling
15      officers they can make arrests if three
16      people are masked in public, even at a
17      protest, correct?
18              A.   Correct.
19                                    (Document marked Exhibit 7
20                            for identification as of this
21                            date by the reporter.)
22              Q.   I'm now going to show you what's
23      going to be marked as plaintiff seven,
24      which is Bates stamped D14658 through
25      14660. This I call the Jones Memo.

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1                      A. RAGANELLA
2               A.   (Witness perusing document.)
3               Q.   This document is dated December
4       2007, correct?
5               A.   Yes.
6               Q.   It concerns an update to penal law
7       24020 Sub-5, correct?
8               A.   Yes.
9               Q.   In the RMC guidelines, what we just
10      looked at, was an update to penal law 24034
11      Sub-4, correct?
12              A.   24035 Sub-5, correct.
13              Q.   Do you know if an update concerning
14      24020 Sub-5 of the case law that is
15      contained in plaintiff exhibit seven made
16      its way into any legal guideline for the
17      police department as related to Occupy Wall
18      Street?
19              A.   I do not know that.
20              Q.   Did it make its way into any
21      training for disorder control during Occupy
22      Wall Street?
23              A.   We received copies of this material
24      in the disorder control unit. What is your
25      question?

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1                      A. RAGANELLA
2               Q.   So, you've seen this document
3       before?
4               A.   I'm sure I have.
5               Q.   Okay. Did you incorporate this
6       document into disorder control training?
7               A.   I don't know.
8               Q.   What could you do to find out?
9               A.   I would have to review lesson plans
10      to see if this particular topic is even
11      mentioned in the training.
12              Q.   Which lesson plan would you review?
13              A.   Most likely either our legalities
14      at demonstrations or protesting, or mass
15      arrest lesson plan.
16              Q.   I'd like to look at 15310.
17              A.   153...
18              Q.   310.
19              A.   310.
20              Q.   I want to ask you this question.
21      Remind me if that you've not answered the
22      prior question. Does disorder control train
23      about arrest warnings?
24              A.   Yes.
25              Q.   Does disorder control train about

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1                      A. RAGANELLA
2       dispersal orders?
3               A.    Yes.
4               Q.    Does disorder control train about
5       dispersal orders that contain an
6       alternative location to protest?
7               A.    Not specifically, no.
8               Q.    Looking at 15310, are these
9       warnings that are trained at disorder
10      control?
11              A.    I don't know that this specific
12      warning is trained or used by disorder
13      control.
14              Q.    There's two warnings there,
15      correct?
16              A.    I don't understand the question.
17              Q.    There are two specific warnings or
18      there. Are they not?
19              A.    There's multiple warnings here.
20              Q.    Okay.
21              A.    There's more than two.
22              Q.    On that page there's three?
23              A.    On 15310, I see the second half of
24      a warning from the previous page, and one
25      warning regarding disorder conduct.

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1                      A. RAGANELLA
2               Q.   Okay. So, there's two warnings
3       there.
4               A.   No, there's one and a half.
5               Q.   There's one and a half warnings
6       there. Does this disorder control thing
7       [crosstalk]... Looking at the page report
8       as well, does disorder control train on
9       both of those?
10              A.   I don't understand your question.
11              Q.   I'm asking if you trained on these
12      specific warnings at disorder control?
13                                     MS. MITCHELL:          You think
14                             you could identify which part
15                             of the page you're asking him
16                             about?
17              Q.   So, there's two warnings if you
18      look at the prior page and this page,
19      correct?
20              A.   Yes.
21              Q.   Okay. Do you train on the first
22      one?
23              A.   In what regard?
24              Q.   Do you train those warnings at
25      disorder control?

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1                     A. RAGANELLA
2               A.   We disseminate warnings at disorder
3       control. We don't write them specifically,
4       but we disseminate them, and they are
5       discussed during training.
6                                     (Document marked Exhibit 8
7                             for identification as of this
8                             date by the reporter.)
9               Q.   Thank you.
10              I'm now going to hand you what has been
11      marked as plaintiff's eight.
12              A.   (Witness perusing document.)
13              Q.   I'm going to ask you if this is the
14      lesson plan that you discussed earlier
15      about possibly containing the information
16      from the Jones Memo called Legalities of
17      Protest and Demonstrations.
18              A.   Yeah.
19              Q.   Is this the one that was in effect
20      during the relevant time period that we're
21      discussing today?
22              A.   No.
23              Q.   Is that because it seems like it
24      was updated most recently in June of 2014?
25              A.   Correct.

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1                      A. RAGANELLA
2               Q.    If the Jones Memo was updated into
3       the lesson plan, it would still be in this
4       document, correct?
5               A.    Could be.
6               Q.    Do you see it in here?
7               A.    From my first review of this, I do
8       not see anything regarding disorderly
9       conduct in here specifically.
10              Q.    There is something in there about
11      case law or decisions effecting how a
12      person and their rights, and policing a
13      person and their rights occur, correct?
14              A.    Correct.
15              Q.    But there's no specific case cited
16      at all in that, correct?
17              A.    Correct.
18              Q.    Okay. Going back to plaintiff's
19      seven, the Jones Memo, do you know how this
20      is issued...
21              A.    Yes.
22              Q.    How is that?
23              A.    Through what we called command
24      level training in the individual commands
25      and units of the department.

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1                      A. RAGANELLA
2               Q.   Can you explain to me what that
3       means?
4               A.   Sure. So, the police academy will
5       issue a training memo. Usually, I believe,
6       they come out monthly on different topics,
7       and then it is disseminated through what we
8       call training sergeants in the individual
9       units and commands who will go to the
10      police academy, pick up the training
11      material, be taught on it, and then
12      translate those lessons to the members of
13      the service.
14              Q.   Those lessons are taught at the
15      command level during roll call?
16              A.   Usually, yes.
17              Q.   How much time is usually focused on
18      it during roll call?
19              A.   It varies. 15 minutes to a half
20      hour, 45 minutes possibly.
21              Q.   But if there's multiple trainings
22      or other things going on, it's a shorter
23      amount of time? It's not an hour of class.
24      It's not focused attention. It's at the
25      command level. During roll call, a training

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1                     A. RAGANELLA
2       sergeant will review something, correct?
3                                     MS. MITCHELL:         Objection.
4                                     You can answer.
5               A.   There's no way of me knowing that.
6               Q.   Okay. Is there any other way that
7       this was disseminated to the members of the
8       service, holding up the Jones Memo? We're
9       talking about plaintiff's seven.
10              A.   I'm unaware of ... Not saying that
11      there aren't other ways that it could've
12      been, not that I'm aware of. I wouldn't
13      know. Can we take a two-minute break?
14              Q.   Absolutely.
15              A.   Because mother nature decided to
16      call at a different time than everybody
17      else.
18                                    MR. STECKLOW:         It's 11:58.
19                            We're going to take a short
20                            break.
21                                    (Whereupon, a short recess
22                            was taken.)
23                                    (Back on the record.)
24                                    MR. STECKLOW:         All right
25                            Alison, it's 12:00. Should we

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1                     A. RAGANELLA
2                             continue?
3                                     MS. MITCHELL:         Yes.
4                                     MR. STECKLOW:         Do you want
5                             to stop for lunch soon? I mean
6                             this is obviously going the
7                             full seven hours. What do you
8                             guys prefer?
9                                     MS. MITCHELL:         I really
10                            leave it up to you two. I feel
11                            like the burden is really on
12                            the reporter and the witness
13                            answering the questions. When
14                            would you like to take a lunch?
15                            Do you want to keep going?
16                                    THE WITNESS:         I'm not
17                            starving yet.
18                                    MS. MITCHELL:         You want to
19                            go for like another hour, so
20                            maybe around 1:00?
21                                    THE WITNESS:         Let's check
22                            again around 1:00.
23                                    MS. MITCHELL:         Okay, all
24                            right. Let's do that.
25                                    MR. STECKLOW:         Okay.

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1                     A. RAGANELLA
2                                     MS. MITCHELL:         This is a
3                             side note. Are these videos
4                             that plaintiffs have produced?
5                                     MR. STECKLOW:         All of them
6                             have either been produced or
7                             available publicly. So far, the
8                             ones we've seen have been
9                             produced.
10                                    MS. MITCHELL:         Okay.
11                                    MR. STECKLOW:         Right,
12                            because the Gothamist one, I
13                            think I pointed it out to you
14                            guys, and it was part of that
15                            list of cases.
16                                    I want to watch the full
17                            one first and then go into the
18                            other one.           From this list,
19                            this one is, where are we? This
20                            is the Bronx one we saw. These
21                            are the photos that we just
22                            saw, with Winski in it. This is
23                            the video we saw of the
24                            sidewalk in front of the...
25                                    MS. MITCHELL:         Okay.

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1                     A. RAGANELLA
2                                     MR. STECKLOW:         Now we're
3                             going to watch something from
4                             this date. We'll get to the
5                             time that I want it to start.
6                                     MS. MITCHELL:         Sure.
7       BY MR. STECKLOW:
8               Q.   I'm going to have you watch a video
9       now, we're going to watch a bit of it, then
10      I'll stop it and then ask you some
11      questions about it, as I ask it. Sorry, one
12      second.
13                                    MR. STECKLOW:         The time is
14                            now 12:05. We have all the same
15                            individuals in my office at 217
16                            Center Street, along with
17                            Inspector Raganella. We're
18                            about to watch another video
19                            from Plaintiff's Exhibit I.
20              Q.   Inspector Raganella, I would like
21      you to watch this video. We're going to
22      watch a portion of it, and then at the end,
23      we're then going to ask some questions, and
24      we'll go from there.
25              Okay, start the video.

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1                     A. RAGANELLA
2                                     (Whereupon, the witness
3                             was shown a video.)
4                                     MR. STECKLOW:         We're
5                             stopping the video at 12:49.
6               Q.   Inspector, were you able to observe
7       that video?
8               A.   Yes.
9               Q.   Are you familiar with that
10      incident?
11              A.   I do not have a recollection of it.
12                                    (Document marked Exhibit 9
13                            for identification as of this
14                            date by the reporter.)
15              Q.   I'm going to mark as the next
16      exhibit, a document that is Bates stamped
17      starting at D13492. We're now on, I
18      believe, Exhibit IX. I believe this is
19      called an unusual incident report. It
20      relates to the incident we were just
21      observing.
22                   Review that and let me know if
23      you've ever seen it before.
24              A.   (Witness perusing document.) Do you
25      need me to review it or are you just asking

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1                      A. RAGANELLA
2       if I've ever seen it before?
3               Q.   I'm asking if you've ever seen it
4       before.
5               A.   No.
6               Q.   In relation to this incident, did
7       the NYPD update any of its training at
8       Disorder Control?
9               A.   Not that I'm aware of.
10              Q.   From the video you could see, was
11      their substantial impedance of pedestrians
12      prior to the police and the protestors
13      stopping at the corner, towards the end of
14      the video?
15                                     MS. MITCHELL:          Objection.
16                                     You can answer.
17              A.   From what I've seen during the time
18      period on that video, prior to that point,
19      it did not appear to be substantial
20      disruption.
21              Q.   Did you see any clear and present
22      danger present in any of this video?
23                                     MS. MITCHELL:          Objection.
24                                     You can answer.
25              A.   Based solely on the view from the

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1                      A. RAGANELLA
2       camera, no.
3               Q.   From the view that you could see on
4       this video, did the NYPD prevent and forbid
5       one or more protestors, who were not at
6       that point under arrest and who requested
7       to leave the protest ... Withdrawn.
8                      From what you could observe in the
9       video, did the NYPD prevent any of these
10      protestors who are not yet under arrest and
11      who had asked to leave from leaving?
12              A.   I did not witness that, no.
13              Q.   Did you witness any of the
14      protestors who were asking to leave being
15      allowed to leave?
16              A.   Yes.
17              Q.   Were you able to observe any of
18      them actually leaving?
19              A.   Yes.
20              Q.   Who was that? Which ones were they?
21              A.   Which ones what?
22              Q.   Were able to leave.
23              A.   It appeared to me that all of them
24      were given an egress to what would be their
25      left.

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1                      A. RAGANELLA
2               Q.   I agree that the officer said to
3       leave in that direction. They were not
4       allowed to leave in that direction. It may
5       not be obvious from the video.
6               A.   It's not.
7               Q.   Why don't we play the other one, of
8       Sarah showing that? I'm going to show you
9       another video that's taken at the same
10      time, of a legal observer who went to each
11      spot, asking officers if she was able to
12      leave. I'm going to ask you to accept that,
13      that is temporally the same time, and then
14      I'll ask you questions on that.
15                                     MS. MITCHELL:          Objection.
16              Q.   Is it starting?
17                                     (Whereupon, the witness
18                             was shown a video.)
19                                     MR. STECKLOW:          Stopping
20                             the video at 1:32.
21              Q.   You can see from this video, I
22      believe that was within the same timeframe,
23      because you saw some of the same people.
24      You saw that one individual who was the
25      first male arrested, was not yet arrested,

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1                      A. RAGANELLA
2       but was subsequently taken by the police in
3       this video, correct?
4                                      MS. MITCHELL:          Objection.
5               A.   It's hard for me to tell if that's
6       the same location.
7               Q.   You didn't see the same players in
8       this? The same individuals?
9               A.   I saw some of the same individuals,
10      yes, and some of the same police officers,
11      yes.
12              Q.   With that, we can, I hope, take the
13      understanding that even if you can't know
14      for sure, I'm going to say for purposes of
15      these questions, please understand that
16      this is the same location, the same time.
17                                     MS. MITCHELL:          Objection.
18              Q.   Did this video indicate that even
19      though they were being given a path of
20      egress, they were being told ... Withdrawn.
21                     Did this video explain that even
22      though they were being instructed to a path
23      of egress to your left, as you stated
24      earlier, they weren't being allowed that
25      path of egress?

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1                      A. RAGANELLA
2                                      MS. MITCHELL:          Objection.
3                                      You can answer.
4               A.   That's not what I saw.
5               Q.   Can you look and see the two framed
6       images up on the wall?
7                                      MS. MITCHELL:          Objection.
8               Q.   I'm asking if you can see those
9       from here.
10              A.   Yes, I can see them.
11              Q.   Those are settlements for these
12      arrests. The largest settlement for Occupy
13      Wall Street was based on this conduct of
14      the police.
15                                     MS. MITCHELL:          Objection.
16              Q.   Because these individuals were not
17      allowed to leave. They weren't given a path
18      of egress, even they were told to. I'd like
19      you to accept that as a fact for these
20      questions, even if you can't see it from
21      the video.
22              A.   Sir, you're asking me to accept
23      something that I don't see.
24              Q.   Yes, I am.
25              A.   You can't do that.

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1                      A. RAGANELLA
2               Q.   I'm asking you for the questions
3       we're about to ask, you to accept the fact
4       that the police did not give these people a
5       path of egress.
6                                      MS. MITCHELL:          Objection.
7                                      You can answer.
8               Q.   There's an objection, but you can
9       still answer the questions.
10                     Do you train, at Disorder Control,
11      on giving proper orders to disperse,
12      including a path of egress?
13              A.   Yes.
14              Q.   If a path of egress is not given,
15      as I indicated it was not in this video,
16      would that be against the training of
17      Disorder Control?
18              A.   I thought we just agreed that they
19      were given a path of egress. They were
20      instructed to exit to the left. I heard one
21      of the demonstrators say, "Exit to the
22      left."
23              Q.   Yes, everyone said that. What I'm
24      saying is that was verbal, it wasn't
25      physical. Physically, they were not given

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1                      A. RAGANELLA
2       the path to exit. They were told there's a
3       path to exit. When they went there, the
4       officers would not let them. That's why one
5       of the protestors said, "This officer right
6       here told us we could exit this way." The
7       officers were not letting them out. I'm
8       asking you just to accept that as part of
9       this question. If that is true, does that
10      comport with Disorder Control training?
11                                     MS. MITCHELL:          Objection.
12                                     You can answer.
13              A.    If that is true, which I'm not
14      saying that it is, no, that would not
15      comport.
16              Q.    Because under the order to
17      disperse, has to be a clear path and time
18      to exit, correct?
19              A.    No.
20              Q.    Why would that not comport if that
21      is true?
22              A.    Because there are times that we can
23      instruct crowds to disperse, but not
24      necessarily point them in a direction to
25      disperse. It depends on the environment

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1                      A. RAGANELLA
2       that we're in.
3               Q.    In this type of environment, where
4       you had police officers at one end of the
5       block, you had scooters at the other end of
6       the block, you had a wall on one side, and
7       you also had scooters and police on the
8       fourth side, on the street side. In that
9       setting, in order to give people a place to
10      disperse and a proper order to disperse,
11      they would need to give a direction,
12      correct?
13                                     MS. MITCHELL:          Objection.
14                                     You can answer.
15              A.    No.
16              Q.    What should the police have done in
17      that setting? What would be within the
18      training of Disorder Control?
19                                     MS. MITCHELL:          Objection,
20                             calls for speculation.
21                                     You can answer.
22              A.    From what I've seen on the video, I
23      think that the police officers that were
24      there on scene did what they were trained
25      to do.

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1                      A. RAGANELLA
2               Q.    The police stopped the protestors
3       as they were marching on the street,
4       correct? On the sidewalk ... Withdrawn.
5                      The police stopped the protestors
6       as they were marching on the sidewalk,
7       correct?
8               A.    Correct.
9               Q.    Was that comporting within the
10      training of Disorder Control?
11              A.    Yes.
12              Q.    Why is that?
13              A.    Because there are times where we
14      have to redirect or reroute crowds.
15              Q.    What was going on in this incident,
16      that you could see in the video, that made
17      it appropriate to redirect that group of
18      protestors?
19              A.    I do not know.
20              Q.    If there was no reason for it ...
21      Withdrawn.
22                    Give me some examples of why it
23      would be appropriate to redirect.
24              A.    There may be instances where we
25      have to redirect crowds away from a public

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1                      A. RAGANELLA
2       safety issue, away from a crime scene, away
3       from something, a vulnerable or critical
4       location that we don't want tumultuous
5       crowds going to. That's a possibility of
6       why we may redirect crowds.
7               Q.    Was this a violent crowd from what
8       you could see in this video?
9                                      MS. MITCHELL:          Objection.
10                                     You can answer.
11              A.    From the clip that I saw, they did
12      not appear to be violent at that point.
13              Q.    Was it a riotous crowd from the
14      video you could see?
15                                     MS. MITCHELL:          Objection.
16                                     You can answer.
17              A.    No.
18              Q.    Are there any instances, other than
19      what you've explained already, where a non-
20      riotous, non-violent crowd, needs to be
21      redirected, if there's not a safety issue?
22              A.    If there's not a safety issue, if
23      we need to prevent them from going onto
24      private property, that could be another
25      reason.

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1                      A. RAGANELLA
2               Q.    Did it seem in this video that they
3       are marching onto private property?
4                                      MS. MITCHELL:          Objection.
5                                      You can answer.
6               A.    I don't know what was behind or on
7       the other side of that police line, so I
8       can't answer that.
9               Q.    That was the intersection of Second
10      Avenue and 13th Street. They were marching
11      north on Second Avenue, on the East side,
12      on the sidewalk.
13                                     MS. MITCHELL:          Objection.
14                                     You can answer.
15              Q.    Was there anything in the video you
16      could see that would give the police the
17      authorization to stop that march?
18              A.    Based solely on what I saw on the
19      video, I did not see anything, no.
20              Q.    Did you hear the dispersal order
21      being given by the officer, at the
22      beginning of the police interaction with
23      the individuals?
24              A.    Yes.
25              Q.    Did the officer tell people they

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1                      A. RAGANELLA
2       were blocking pedestrian traffic?
3               A.    I recall him saying that, yes.
4               Q.    From your view of the video, were
5       the pedestrian protestors blocking
6       pedestrian traffic?
7                                      MS. MITCHELL:          Objection.
8                                      You can answer.
9               A.    At the point that they were bunched
10      up and not egressing to the left, yes, they
11      were blocking pedestrian traffic.
12              Q.    His order came prior to that
13      moment, correct?
14              A.    Which order?
15              Q.    Withdrawn.
16                     You saw these individuals marching
17      on the sidewalk, correct?
18              A.    Correct.
19              Q.    You saw them prior to the time the
20      police stopped them on the corner, correct?
21              A.    Correct.
22              Q.    Prior to that moment, were they
23      blocking pedestrian traffic when they were
24      marching on the sidewalk?
25              A.    They didn't appear to be, no.

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1                      A. RAGANELLA
2               Q.    Their blockage only occurred once
3       the police stopped them, correct?
4               A.    That's not what I said.
5               Q.    They were marching, they were not
6       impeding pedestrian traffic, correct?
7               A.    Correct.
8               Q.    You said that the blockage occurred
9       once the announcement was given, and they
10      were all bunched up where the police were,
11      correct?
12              A.    That's not what I said.
13              Q.    Tell me where the blockage occurs.
14              A.    The blockage occurs when the police
15      form a line to stop the crowd from getting
16      to a certain point, and we reroute them.
17      Once they bunch up and we redirect the
18      crowd, that egress is to the left, and they
19      refuse to move, at that point they're
20      blocking pedestrian traffic.
21              Q.    It's only if they refuse to move
22      and exit to the left would they be blocking
23      pedestrian traffic.
24              A.    Correct.
25              Q.    How much time should they be given

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1                       A. RAGANELLA
2       to exit?
3               A.    That's discretionary, up to the
4       incident commander on the scene.
5               Q.    Is that trained at Disorder
6       Control?
7               A.    No.
8               Q.    Prior to Occupy Wall Street, the
9       NYPD was aware that it was going to occur
10      downtown in September of 2011, correct?
11              A.    Restate the question.
12              Q.    Prior to September 17, 2011, when
13      Occupy Wall Street began in the financial
14      center, the NYPD was aware that there was
15      organizing efforts for that protest
16      movement, correct?
17              A.    I believe so, yes.
18              Q.    You were specifically aware of it,
19      correct?
20              A.    Yes.
21              Q.    In fact, you had received emails
22      from other people about it, and you had
23      been communicating with other members of
24      the NYPD about it, correct?
25              A.    Yes.

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1                      A. RAGANELLA
2               Q.    How much before September 17, 2012,
3       did you become aware of these efforts to
4       organize Occupy Wall Street?
5               A.    I don't know.
6               Q.    Do you think it was a day? A month?
7       A year? How best can you describe it?
8               A.    You're asking me to approximate.
9               Q.    Yes.
10              A.    Weeks.
11                                     (Document marked Exhibit
12                             10 for identification as of
13                             this date by the reporter.)
14              Q.    Thank you. Now I'm going to show
15      you what's being marked as Exhibit X.
16              A.    Do you need this back?
17              Q.    Exhibit X, which is Bates stamped
18      19460 through 19462. I'll ask you to look
19      at that and let me know if you've seen it
20      before.
21              A.    (Witness perusing document.)
22              Q.    By the name of John Rogers, on
23      September 12, 2011, correct?
24              A.    Correct.
25              Q.    Who's John Rogers?

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1                      A. RAGANELLA
2               A.    John Rogers was a Lieutenant, and I
3       don't recall where he was assigned.
4               Q.    Okay. In this, he was trying to
5       give you a heads up that Occupy Wall Street
6       was coming, correct?
7               A.    Information on it, yes.
8               Q.    Had you spoken to him in any
9       fashion, communicated with him in any way
10      about it, prior to this email?
11              A.    I do not recall.
12              Q.    In this email, you tell him that
13      you already knew about this, and to quote
14      it, "10 of these idiots did a test run a
15      couple weeks ago and they all got collared
16      within five minutes," correct?
17              A.    That's what it states, yes.
18              Q.    Those are your words, correct?
19              A.    Correct.
20              Q.    When you say they did a test run a
21      couple weeks ago, what did you mean by
22      that?
23              A.    I don't recall.
24              Q.    Do you recall people being arrested
25      a few weeks prior to September 12, 2011,

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1                      A. RAGANELLA
2       protesting in the financial center?
3               A.    I do, but I don't recall the
4       location or what they were arrested for. I
5       do know that it came to my attention that
6       people were arrested prior to this.
7               Q.    How was it brought to your
8       attention?
9               A.    I don't recall how.
10              Q.    Did this knowledge that Occupy Wall
11      Street was coming, not necessarily what's
12      in this particular email, but your general
13      knowledge it was coming, did that elicit
14      any specific update to Disorder Control
15      training?
16              A.    No.
17              Q.    Did that create any specific
18      Disorder Control training that wasn't
19      previously scheduled?
20              A.    At this time, no.
21              Q.    Did it change any training that was
22      previously scheduled?
23              A.    No.
24              Q.    You just, in your prior answer,
25      modified it to say not at this time,

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1                      A. RAGANELLA
2       meaning September 12, 2011, correct?
3               A.    Correct.
4               Q.    Did there come a time when Occupy
5       Wall Street and the existence of it did
6       create an update to Disorder Control
7       training?
8               A.    Not specifically the quality or
9       method of training, but the quantity of
10      training did increase, yes.
11              Q.    We're talking about, I think, the
12      mobile exercises?
13              A.    Yes, but we had increased it at the
14      Disorder Control Unit when I took command
15      back in 2010. There was an immediate
16      increase, which was long before Occupy Wall
17      Street started, there was an immediate
18      increase in the amount of mobilization
19      exercises and training that we were doing,
20      which was part of my vision for the
21      Disorder Control Unit. It wasn't
22      specifically related to Occupy Wall Street,
23      that the increase in training was taking
24      place. That was already being done prior to
25      this.

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1                      A. RAGANELLA
2               Q.    Why did you think it was necessary
3       to increase the amount of training, the
4       volume of training at Disorder Control?
5               A.    I have a training background. From
6       my perspective, you can never train enough.
7       Any moment that we're not actually doing
8       police work is an opportunity to train and
9       practice, to continually make ourselves
10      more effective and efficient at what we're
11      doing.
12              Q.    Is it your belief that the training
13      that's done at the recruit level isn't
14      sufficient and that additional training is
15      required thereafter?
16              A.    As I stated, you can never train
17      enough.
18              Q.    Is part of the reason that over the
19      course of time, people's memories fade, and
20      refresher courses are needed in order to
21      refresh people as to the training that
22      they've already had.
23                                     MS. MITCHELL:          Objection.
24                                     You can answer.
25              A.    Yes.

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1                      A. RAGANELLA
2               Q.    Is it also because things change,
3       laws change, tactics change, and therefore
4       updates to training need to be taught as
5       well?
6               A.    That's possible, yes.
7               Q.    Now you said that once Occupy came,
8       at some point, you increased the volume of
9       mobile X training, correct?
10              A.    Mobex.
11              Q.    Mobex training, which I believe
12      stands for mobilization exercises?
13              A.    Exercises, correct.
14              Q.    If I mangle those words, please
15      correct me. You stated that the volume of
16      Mobex training increased because Occupy
17      Wall Street came to be, is that correct?
18              A.    No.
19              Q.    Tell me what you meant by that?
20              A.    The volume of Mobex's increased
21      from the moment that I took over the
22      Disorder Control Unit in 2010.
23              Q.    I asked you before if the training
24      changed at all ... Withdrawn.
25                    I asked you before if the training

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1                      A. RAGANELLA
2       had been updated at all, because of Occupy
3       Wall Street, you said no. I asked you if it
4       had been increased or changed in any
5       fashion because of Occupy, you said not at
6       this time, and we agreed that was because
7       the date on that was September 12, 2011.
8       Then you said later on, because of Occupy,
9       the number of mobile Mobex trainings
10      increased, is that accurate or no?
11              A.    I clarified it by saying that it
12      started immediately upon me taking over
13      command of Disorder Control Unit, that
14      those training exercises increased in
15      quantity.
16              Q.    Right, but that was from 2010,
17      correct? You took over in 2010?
18              A.    Correct.
19              Q.    We're now talking about September
20      2011. During September 2011 and September
21      2012, did the volume of Mobex trainings
22      increase?
23              A.    Yes.
24              Q.    Was that in part due to Occupy Wall
25      Street?

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1                      A. RAGANELLA
2               A.    Because of the movement that was
3       going on, I'm sure that had some bearing on
4       the need to make time for training, yes.
5               Q.    Was there another reason why the
6       volume of training increased between
7       September 2011 and September 2012?
8               A.    Yes.
9               Q.    What were the other reasons?
10              A.    Because that's what I wanted.
11              Q.    This is based on your request?
12              A.    That the training increased in
13      cooperation with the Chief of Patrol and
14      the Chief of Department, yes.
15              Q.    Who was the Chief of Patrol at the
16      time?
17              A.    Chief Paul.
18              Q.    Who was the Chief of Department at
19      the time?
20              A.    Chief Esposito, which is the reason
21      why I was brought into the Disorder Control
22      Unit, is to increase the amount of training
23      and the quality of training.
24                                     MS. MITCHELL:          Do you
25                             mean... I think you said Wool.

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1                      A. RAGANELLA
2                                      THE WITNESS:        Huh?
3                                      MS. MITCHELL:         Did you
4                              mean Wool or White being ...
5                                      THE WITNESS:        No.
6                                      MS. MITCHELL:         Okay,
7                              sorry.
8                                      THE WITNESS:        No, no.
9                                      MR. STECKLOW:         He said
10                             Paul.
11                                     MS. MITCHELL:         Paul, okay.
12                             I'm sorry, I thought I heard
13                             you say Wool.
14                                     THE WITNESS:        No, no, no,
15                             no. Paul, Paul, Paul.
16                                     MS. MITCHELL:         Sorry.
17                                     (Document marked Exhibit
18                             11 for identification as of
19                             this date by the reporter.)
20              Q.   Let's see about this. I'm going to
21      mark as 11, Plaintiff's 11, a document that
22      is Bates stamped D14368.
23              A.   Do you need this back? Okay.
24              Q.   You’ve seen that document before?
25              A.   Yes.

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1                      A. RAGANELLA
2               Q.    It's in fact a memo that you
3       created, correct?
4               A.    Correct.
5               Q.    This memo is a document explaining
6       that you're going to do a training ...
7       Withdrawn.
8                      This memo is a document creating a
9       command training, based on explosives
10      concealed in a Thermos, correct?
11              A.    Restate the question, the beginning
12      of it.
13              Q.    Withdrawn.
14                     Can you explain to me what this
15              document is?
16              A.    Yes. This is a response to a
17      communication from my overhead command,
18      which was Special Operations Division. We
19      were directed, or we were given a tactical
20      brief, regarding explosives concealed in
21      Thermos's. It had to be disseminated at
22      five consecutive roll calls, to the members
23      under my command. This is a communication
24      going back to the Chief of Special
25      Operations, confirming that, that directive

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1                       A. RAGANELLA
2       was complied with.
3               Q.    There's an underlying training
4       document that is referenced in here,
5       correct?
6               A.    I don't know that it's a training
7       document. It's a tactical brief.
8               Q.    Okay. When we looked at the Jones
9       memo, that was not a tactical brief, that
10      was a training memo, correct?
11              A.    That's correct.
12              Q.    What this is, is different than
13      that, correct?
14              A.    Could be.
15              Q.    You created this tactical brief?
16              A.    I did not.
17              Q.    You just passed it along and made
18      sure it was disseminated at command
19      trainings?
20              A.    I ensured that it was disseminated
21      to the members in my command.
22              Q.    This was not to all the roll calls
23      throughout NYPD, this is solely for the
24      Disorder Control roll calls?
25              A.    I don't know.

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1                      A. RAGANELLA
2               Q.    What is this memo telling us?
3               A.    This memo is telling us that the
4       members of, those members listed, with the
5       exception of Sergeant Phil McCabe, were in
6       receipt of the tactical brief, regarding
7       explosives concealed in Thermos's.
8               Q.    You were never given an order to
9       disseminate any sort of tactical brief or
10      memo on the Jones' items, correct?
11              A.    I don't recall.
12              Q.    I'm sorry. Do you know if there's
13      ever been a Thermos that exploded in the
14      City of New York in the timeframe we're
15      talking about, August 2010 to September
16      2012?
17              A.    I don't recall that happening.
18              Q.    Do you know what the cause was for
19      putting this tactical brief together and
20      making sure you were trained on it?
21              A.    I don't recall, no.
22                                     (Document marked Exhibit
23                             12 for identification as of
24                             this date by the reporter.)
25              Q.    I'd like to mark some Mobile X

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1                      A. RAGANELLA
2       memos. Let's start with this one. I'm going
3       to mark this as 12. I'm going to ask you to
4       look at it.
5               A.    (Witness perusing document.)
6               Q.    Let me know once you've had a
7       chance to do so.
8               A.    Okay.
9               Q.    Does this document ... Withdrawn.
10                     Did Disorder Control train
11      specifically for Occupy Wall Street?
12              A.    I don't understand what your
13      question is.
14              Q.    I asked before whether or not there
15      was an increase in the training relating to
16      Occupy, you said it was mostly because it's
17      what you had planned to do anyway. I'm
18      asking you specifically, did Disorder
19      Control conduct training for MOS in
20      relation to Occupy Wall Street?
21              A.    What we taught, or what we
22      instructed and trained on was not modified
23      in any way because of Occupy Wall Street.
24      These officers that were trained, in regard
25      to Occupy Wall Street, was because of

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1                      A. RAGANELLA
2       Occupy Wall Street, if that's what you're
3       asking.
4               Q.    The training wasn't updated, wasn't
5       modified, wasn't changed, but this is a
6       list of the number of officers trained
7       during this specific timeframe, and it was
8       in relation to Occupy Wall Street, correct?
9               A.    I'm confused as to what you're
10      asking.
11              Q.    We'll start with this first. You
12      said that the training was neither updated
13      nor modified because of Occupy Wall Street,
14      correct?
15              A.    Correct.
16              Q.    And that this document that we're
17      looking at now, which is Plaintiff's 11,
18      sorry, Plaintiff's 12?
19                                     MS. MITCHELL:          12.
20              A.    12.
21              Q.    Plaintiff's 12, does not indicate
22      that there was a specific training related
23      to Occupy Wall Street, but more talks about
24      just the people who happen to attend this
25      specific training that occurred in this

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1                      A. RAGANELLA
2       timeframe, is that right?
3               A.    Correct.
4               Q.    In this Mobex training, that was
5       from November 7, 2011 through December 9,
6       2011, it does indicate in the memo that
7       this training is done to be better prepared
8       regarding Occupy Wall Street, correct?
9               A.    Correct.
10              Q.    And that there were three designs
11      in this training that were included,
12      correct?
13              A.    Yes.
14              Q.    Those were those military
15      formations, correct?
16                                     MS. MITCHELL:          Objection.
17                                     You can answer.
18              A.    I don't understand what you mean by
19      military formations.
20              Q.    Didn't you previously testify that,
21      that's what you guys train on, these line
22      wedges, these are military formations that
23      you're training on?
24                                     MS. MITCHELL:          Objection.
25                                     You can answer.

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1                      A. RAGANELLA
2               A.    They're used by police departments.
3       We're not the military.
4               Q.    I know you're not the military.
5               A.    I don't understand.
6               Q.    The Police Department, NYPD, is
7       operated as a military type organization,
8       with rank and hierarchy, and these wedges
9       and other formations are military type
10      formations, are they not?
11                                     MS. MITCHELL:          Objection.
12                                     You can answer.
13              A.    The Police Department operates as a
14      paramilitary organization, and some of
15      these techniques that we use for crowd
16      control have been adopted and modified from
17      some military maneuvers.
18                                     (Document marked Exhibit
19                             13 for identification as of
20                             this date by the reporter.)
21              Q.    I'm going to mark this as 13. I'll
22      quickly ask the questions on this.
23              A.    (Witness perusing document.)
24              Q.    Please look at this and let me know
25      once you've had a chance to read it.

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1                      A. RAGANELLA
2               A.    Okay.
3               Q.    Is this from a Disorder Control
4       training?
5               A.    Yes.
6               Q.    Does it describe the police to act
7       in a military manner?
8               A.    Restate the question.
9               Q.    Is the heading on this document,
10      Military Manner?
11              A.    It says, "Military Manner," yes.
12              Q.    Then the subheadings are, "Require
13      strict command and control. Must extricate
14      people carefully. Is essential to correctly
15      perform the various type of carries,"
16      correct?
17              A.    Correct.
18              Q.    Does this document, this is used in
19      training at Disorder Control, correct?
20              A.    Correct.
21              Q.    It's to give the MOS the
22      understanding that they're to act in a
23      military manner, correct?
24              A.    When performing these techniques,
25      yes.

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1                       A. RAGANELLA
2               Q.    Okay, thank you. You were
3       previously deposed, we already discussed
4       that, correct?
5               A.    Yes.
6               Q.    In one of those depositions ...
7       Withdrawn.
8                       You were deposed twice. I believe
9       we discussed once was on May 14, 2014 in
10      the matter of Joshua Wiles [phonetic]
11      against the City of New York, correct?
12              A.    Correct.
13              Q.    Is there anything that you stated
14      within that deposition that you know now to
15      be incorrect or false?
16              A.    I don't know.
17              Q.    Is it possible that there are
18      statements you testified to previously that
19      are no longer accurate?
20              A.    I'm sure there's that possibility.
21              Q.    Do you know of anything that's no
22      longer accurate?
23              A.    Not that strikes me, no.
24              Q.    Are you provided with a copy of
25      that transcript?

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1                      A. RAGANELLA
2               A.    Yes.
3               Q.    Did you make any changes to the
4       transcript after you were provided it?
5               A.    Not that I recall.
6               Q.    You were also deposed on December
7       14, 2017 and April 27, 2018, that
8       deposition continued, correct? In the
9       matter of Benjamin Case et al v. the City
10      of New York?
11              A.    Yes.
12              Q.    Is there anything within that
13      testimony that you believe currently to be
14      inaccurate or to have changed?
15              A.    Not that I recall.
16              Q.    Were you provided a copy of that
17      transcript?
18              A.    I don't recall if I received a copy
19      of that. I believe I did.
20              Q.    Do you recall being asked the
21      following question in the Wiles deposition
22      and giving the following answer, "A large
23      part of the contents of the documents seem
24      to relate to formations of officers, lines,
25      wedges, and things of that nature. Other

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1                      A. RAGANELLA
2       than training and formations, is there
3       other training that officers receive in
4       Disorder Control?" Answer, "There's many
5       different types of training that we do. Not
6       all necessarily relate to forming. You
7       know, military formations of lines and
8       wedges."
9                      Do you remember giving that answer
10      to that question?
11              A.    Yes.
12              Q.    That's the only thing I was asking
13      you, was are these military type
14      formations?
15              A.    Okay.
16              Q.    Would you like to change the answer
17      you gave to that question?
18              A.    No.
19              Q.    These are military type formations.
20              A.    Sir, you're trying to insinuate
21      that we're the military. We're a
22      paramilitary organization, and some of the
23      training and maneuvers that we use are
24      based on military maneuvers that the armed
25      services use. That's my answer.

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1                      A. RAGANELLA
2               Q.    I'm not trying to insinuate that. I
3       don't believe you're the military. I think
4       paramilitary is the right answer.
5               A.    Thank you.
6               Q.    I do think that these formations
7       are military style formations, that's what
8       I was asking.
9               A.    Military style?
10              Q.    Military style formations, yes. I
11      think we can agree on that.
12              A.    The style, yes.
13              Q.    I'm going back to ... In the
14      training that's referenced in Plaintiff's
15      12, it covers three things. The lines,
16      wedges, and other Disorder Control
17      formations, what I will be just ...
18      Withdrawn.
19                     It covers those lines, wedges, and
20      other Disorder Control formations that are
21      military style formations, correct?
22              A.    Yes.
23              Q.    It covers mass arrest techniques,
24      correct?
25              A.    Yes.

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1                      A. RAGANELLA
2               Q.    It covers protective shields and
3       mash barrier equipment review, correct?
4               A.    That's a typo, it should say mesh
5       barrier.
6               Q.    Thank you.
7               A.    Sorry.
8               Q.    No problem. There's oftentimes a
9       fourth component of Disorder Control
10      training that's not included in this one,
11      correct?
12              A.    There's many components that aren't
13      included here.
14              Q.    Correct, but oftentimes, I believe
15      you testified to this in the Case
16      deposition, there are four common designs,
17      the lines, wedges, and military formations,
18      the mass arrest techniques, the protective
19      shields, and the high-profile car ...
20              A.    High profile vehicle rescue.
21              Q.    Right.
22              A.    Correct.
23              Q.    Those are the four standard ones
24      that are trained on, correct?
25              A.    Generally.

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1                       A. RAGANELLA
2               Q.    Was there ... Withdrawn.
3                       We've already agreed that there's
4       been no update or modification of the mass
5       arrest training received by these
6       individuals, correct?
7               A.    Correct.
8               Q.    This indicates that in that 32 or
9       33-day period, 1,412 members of the service
10      received this training, correct?
11              A.    Of these particular units, yes.
12              Q.    It's possible that there were more
13      people who received training in that
14      timeframe?
15              A.    Significantly more.
16              Q.    How come they're not indicated in
17      this document?
18              A.    Because this is specifically
19      related to these particular units. This was
20      a communication outlining that small window
21      of time, which was just slightly over one
22      month. Units outside the Patrol Borough
23      Taskforces that were trained.
24              Q.    Within that timeframe of that one
25      month, there were more than 1,400 officers

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1                       A. RAGANELLA
2       trained? You said many more.
3               A.    Absolutely.
4               Q.    Would you be able to give an
5       estimate of how many?
6               A.    I could tell you that from
7       September 17, 2011 through September 17,
8       2012, the Disorder Control Unit trained in
9       excess of 12,000 members of the service
10      from 29 different boroughs, units, and
11      divisions.
12              Q.    In that training, the Disorder
13      Control did not update the training on
14      sidewalk protests, correct?
15              A.    I don't have any lesson plan
16      dedicated to sidewalk protests
17      specifically.
18              Q.    Whatever topic that would cover
19      sidewalk protests ... Withdrawn.
20                      Was there any topic that covered
21      sidewalk protests in those trainings for
22      those officers?
23              A.    Not that I could think of
24      specifically related to that.
25              Q.    Was there any training for those

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1                      A. RAGANELLA
2       officers in that timeframe for the
3       standards of clear and present danger?
4               A.    Repeat the question.
5               Q.    We're talking about, I think you
6       said around 12,000, I'm sorry, was it a
7       bigger number than that?
8               A.    In excess of 12,000.
9               Q.    In excess of 12,000 in that one-
10      year timeframe.
11              A.    Yeah.
12              Q.    Between September 2011 and the
13      date, we're here about, which is around
14      September 15th to the 17th of 2012,
15      Disorder Control trained in excess of
16      12,000 members of the NYPD, correct?
17              A.    Yes, sir.
18              Q.    We agree that they did not train at
19      all in sidewalk protests, correct?
20              A.    I didn't say we didn't train at
21      all. It could have been incorporated into
22      lectures by my instructors as examples to
23      what they were teaching. I don't know that.
24              Q.    You don't know if that happened or
25      did not happen?

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1                      A. RAGANELLA
2               A.   Correct.
3               Q.   You know there's no lesson plan
4       focused on that, correct?
5               A.   I don't have a lesson plan
6       dedicated to sidewalk protests, no.
7               Q.   Those 12,000, in excess of 12,000
8       members, did not receive a specific lesson
9       plan related to sidewalk protests, correct?
10              A.   Specifically related to that, no,
11      they did not.
12              Q.   Those 12,000 members didn't receive
13      a specific lesson plan about impeding
14      pedestrian traffic on sidewalks, correct?
15              A.   Correct.
16              Q.   They didn't receive a lesson plan
17      about clear and present danger and how that
18      impacts First Amendment rights to protest,
19      correct?
20                                    MS. MITCHELL:          Objection.
21                                    You can answer.
22              A.   There is a lesson plan based on
23                     that.
24                                   (Document marked Exhibit 14
25                             for identification as of this

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1                      A. RAGANELLA
2                             date by the reporter.)
3               Q.    I'm going to mark now as
4       Plaintiff's 14, hopefully what you meant by
5       there's a lesson plan on that.
6               A.    (Witness perusing document.)
7               Q.    Is this the lesson plan you just
8       referenced?
9               A.    Yes.
10              Q.    This is the training that was given
11      to those 12,000 or more officers during
12      that time period?
13              A.    It may have been.
14              Q.    You're unsure if this was given?
15              A.    It may have been incorporated into
16      the lecture portion of the mass arrest
17      techniques.
18              Q.    But you're not sure if it was?
19              A.    I am not.
20              Q.    It may have been, it may not have
21      been?
22              A.    Correct.
23                                     (Document marked Exhibit
24                             15 for identification as of
25                             this date by the reporter.)

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1                      A. RAGANELLA
2               Q.    Then I'll mark as 15, what's been
3       previously identified as D4344, and ask you
4       to review that.
5               A.    (Witness perusing document.)
6               Q.    Is this a Disorder Control training
7       document?
8               A.    Yes.
9               Q.    Is this the only document in
10      Disorder Control that deals with time,
11      place, and manner?
12              A.    No.
13              Q.    What else does?
14              A.    The corresponding lesson plans with
15      the PowerPoint.
16              Q.    Is the corresponding lesson plan,
17      is that something that's handed out, or is
18      that something the instructor uses to teach
19      this?
20              A.    Something the instructor would use
21      to teach.
22              Q.    This slide plus whatever the
23      instructor tells them is the extent of what
24      those 12,000 plus officers would receive,
25      as far as training, concerning time, place,

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1                      A. RAGANELLA
2       and manner, correct?
3               A.    I believe so. From the Disorder
4       Control Unit.
5               Q.    Do you know if anybody else trains
6       on these things?
7               A.    I'm relatively certain that the
8       Police Academy, during recruit training,
9       goes deeply into legalities.
10              Q.    To your knowledge, there's no
11      refresher course on it once people leave
12      the recruit Academy training?
13              A.    There is refresher training?
14              Q.    When is that?
15              A.    I don't know, but that is part of
16      what we looked at before with command level
17      training. The Police Academy may or may not
18      issue command level training memos related
19      to specific topics, and this very well
20      could have been one of those topics. I
21      don't know.
22                                     (Document marked Exhibit
23                             16 for identification as of
24                             this date by the reporter.)
25              Q.    Let's mark this as 16. I'll ask you

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1                       A. RAGANELLA
2       to look at that.
3               A.    (Witness perusing document.)
4               Q.    Is that part of Disorder Control
5       training?
6               A.    Yes.
7               Q.    Is this a slide that those 12,000
8       plus officers who received training in that
9       timeframe would have seen?
10              A.    I don't know if they would have
11      specifically seen the slide itself, but the
12      information in the slide may have been
13      relayed to the officers that were trained.
14              Q.    Is one of the instructions in this
15      slide to intimidate a crowd?
16              A.    It specifically states, "Team
17      approach intimidates a crowd and reduces
18      need for force."
19              Q.    The team approach is something you
20      train at Disorder Control, correct?
21              A.    In certain circumstances, yes.
22              Q.    Is policing First Amendment
23      activity, street ... Withdrawn.
24                      Is policing sidewalk protests
25      something you train the team approach for?

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1                      A. RAGANELLA
2               A.    It could be.
3               Q.    Is it that at sidewalk protests, it
4       could be that the first thing a police
5       presence is supposed to do is to intimidate
6       the crowd?
7               A.    Depending upon what the crowd is
8       doing, it could be.
9               Q.    Now I'm going to mark as 17, or was
10      that ...
11                                     COURT REPORTER:           17.
12                                     (Document marked Exhibit
13                             17 for identification as of
14                             this date by the reporter.)
15              Q.    17, another slide.
16              A.    (Witness perusing document.)
17              Q.    Is this a document that is used for
18      training?
19              A.    Yes.
20              Q.    It's used at Disorder Control?
21              A.    Yes.
22              Q.    Is this for protests specifically?
23              A.    Restate the question, rephrase
24      that. I don't understand what you mean.
25              Q.    What is this document utilized for?

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1                      A. RAGANELLA
2               A.    I believe that this is part of the
3       mass arrest.
4               Q.    Does it say at the top, "Protestor
5       (Sit in type arrest)"
6               A.    Yes, sir.
7               Q.    Does it indicate that this lesson
8       is about the police conduct at protests?
9               A.    This particular slide does, yes.
10              Q.    The first item there, it says,
11      "Supervisor is team leader," correct?
12              A.    Correct.
13              Q.    At protests is a team that would be
14      identified, correct?
15              A.    When arrests need to be made, yes.
16              Q.    It also says that, "Arresting
17      officers are to give clear, audible
18      warnings," correct?
19              A.    Yes.
20              Q.    And that, "An additional officer
21      should be stationed at the rear of the
22      group, to ensure that a warning is heard,"
23      correct?
24              A.    Correct.
25              Q.    That's part of Disorder Control

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1                      A. RAGANELLA
2       training, correct?
3               A.    Correct. You need this also?
4               Q.    You can hold that. I'm going to
5       mark this as 17.
6                                      MS. MITCHELL:          That's not
7                              18?
8                                      MR. STECKLOW:          18, what
9                              are we on?
10                                     COURT REPORTER:           It's 18.
11                                     (Document marked Exhibit
12                             18 for identification as of
13                             this date by the reporter.)
14              Q.    18.
15              A.    18. (Witness perusing document.)
16              Q.    Yeah, I thought it was wrong.
17              A.    Mother nature's calling again, so
18      make it snappy.
19              Q.    I'll be quick.
20              A.    I'm teasing. I'm teasing about make
21      it snappy, I'm not teasing about mother
22      nature's calling again.
23                                     MS. MITCHELL:          Wylie can
24                             take a joke.
25                                     MR. STECKLOW:          Thank you,

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1                      A. RAGANELLA
2                              I appreciate that. Okay, we're
3                              on the record.
4                                     It's 1:15, we're about to
5                              take a lunch break to the
6                              deposition.
7                                     Can we be back at 2:00?
8                                     MS. MITCHELL:          Yeah.
9                                     MR. STECKLOW:          Okay, so
10                             we'll be back in 45 minutes to
11                             continue at 217 Center Street.
12                                    (Whereupon, a          luncheon
13                             recess was taken.)
14                                    (Back on the record.)
15                                    MR. STECKLOW:          The time is
16                             now 2:17, and we're back on the
17                             record.
18                                    We're at my office at 217
19                             Center Street for the continued
20                             deposition of fact witness
21                             inspector Anthony Raganella. As
22                             well as 30(B)(6) witness,
23                             identified by state of New York
24                             Inspector Anthony Raganella. We
25                             have the same parties that were

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1                      A. RAGANELLA
2                              here this morning, nothing has
3                              changed, and we're going to
4                              continue the deposition.
5                                     I believe the last exhibit
6                              we marked was number 19, so
7                              we're going to start on 20.
8                                     (Document marked Exhibit
9                              19 and 20 for identification as
10                             of this date by the reporter.)
11      BY MR. STECKLOW:
12              Q.   I'm going to ask you to review what
13      I've marked as exhibit 20. And please let
14      me know after you've had a chance to do so.
15              A.   (Witness perusing document.)
16              Q.   For the record, this starts with
17      Bates stamped D14538, it continues until
18      D14549.
19              A.   Okay.
20              Q.   Are you familiar with this
21      document?
22              A.   Yes.
23              Q.   Did you create it?
24              A.   No.
25              Q.   What does CRV stand for?

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1                       A. RAGANELLA
2               A.    Critical response vehicle.
3               Q.    So, is that the high value vehicle
4       that we've discussed before as one of the
5       four main modules of disorder control
6       training?
7               A.    No, critical response vehicle was
8       kind of like, it was a deployment that was
9       done by the counter-terrorism bureau. Where
10      they would take patrol officers from each
11      of the, at the time 76 precinct, bring them
12      together into a location, usually in
13      Manhattan. And then deploy them for high
14      visibility, counter terrorism deployments.
15              Q.    Okay. So, what does this document
16      represent?
17              A.    So, this is a running total of the
18      training that we did with the patrol bureau
19      task forces in conjunction with we would go
20      to CRV deployments. Prior to the officers
21      being turned out by the counter-terrorism
22      bureau, we were allotted time upfront to do
23      training with patrol services bureau,
24      members of the service that were there in
25      crowd management and crowd control.

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1                      A. RAGANELLA
2               Q.    And does this indicate the total
3       number of members of the service who
4       received level one and level two
5       mobilization and CRV training from April
6       21st, 2010 through August 23rd, 2011?
7               A.    It should, yes.
8               Q.    It indicates approximately 3,700
9       received taskforce only training, and
10      another 6,200 received CSV training. Is
11      that correct?
12              A.    Task force only ... 37, yes
13      correct.
14              Q.    Did this include the training that
15      was part of 19, plaintiff's 19?
16              A.    No, it did not.
17              Q.    Okay. So, what was the date for the
18      training?
19              A.    Actually, withdrawn it might have.
20      Just give me one second.
21              Q.    The document we're looking at does
22      not have an August 12th date, does it?
23              A.    No.
24              Q.    So, it doesn't include that?
25              A.    No, it doesn't.

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1                      A. RAGANELLA
2               Q.    Okay. Do these numbers reflect the
3       same numbers you were discussing before
4       when you said that the DCU did training in
5       the time frame of occupy in excess of
6       12,000 MOS?
7               A.    Restate the question.
8               Q.    The 12,000, in excess of 12,000,
9       you discussed earlier about the number of
10      officers DCU trained during Occupy Wall
11      Street. These trainings, even though it's
12      reflected in 20 included in that number, or
13      is this in addition to that number?
14              A.    They're included.
15              Q.    Okay. So, would they be included,
16      some of this is 2010, correct?
17              A.    Yes.
18              Q.    And your answer that in excess of
19      12,000 was 2011 to 2012, August to
20      September.
21              A.    Correct.
22              Q.    I'll withdraw.
23                     Your answer in excess of 12,000 was
24      in relation to trainings from August 2011
25      through September 2012?

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1                      A. RAGANELLA
2               A.    No.
3               Q.    Okay. What was your number in
4       excess of 12,000 in relation to?
5               A.    September of 2011 through September
6       of 2012.
7               Q.    Okay. And this doesn't include
8       September. Document 20 does not include
9       September of 2011 at all. Correct?
10              A.    It doesn't appear to.
11              Q.    So, this would be in addition,
12      these 6,000 plus would be in addition to
13      the 12,000 we've already discussed.
14      Correct?
15              A.    Yes, this ends prior to that.
16              Q.    So, it would be in addition to the
17      12,000 we've already discussed, the numbers
18      contained in number 20.
19              A.    Yes.
20              Q.    Thank you.
21                     Was there any other unit, other
22      than disorder control, that was tasked with
23      doing mass training during Occupy Wall
24      Street?
25                                     MS. MITCHELL:          Objection.

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1                      A. RAGANELLA
2                                      You can answer, if you
3                              know.
4               A.    There's many units in the
5       department that do training.
6               Q.    My question is about mass training.
7               A.    I don't know what you mean by mass
8       training.
9               Q.    Well we just went over that
10      disorder control did trainings for over
11      12,000 people, 12,000 members of the
12      service in September 2011 to September
13      2012, right?
14              A.    Correct.
15              Q.    And they did apparently somewhere
16      around 8,000 or 9,000 in the year before,
17      in April 2010 through August 2011. Correct?
18              A.    Correct.
19              Q.    And so, my question is, was
20      disorder control the group the unit tasked
21      with doing these mass trainings, or were
22      there other groups? Is there another
23      training organization similar to disorder
24      control within the NYPD, outside the
25      academy, that exists for training purposes?

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1                      A. RAGANELLA
2                                      MS. MITCHELL:          Objection.
3                                      You can answer.
4               A.    There are other units that conduct
5       training outside of disorder control, and
6       outside of the police academy, yes.
7               Q.    And who are they?
8               A.    Virtually every unit in every
9       bureau in every division does some type of
10      training on their own.
11              Q.    Right. Do they do mass training,
12      large number training like disorder control
13      does?
14              A.    That I don't know.
15              Q.    You don't know if they do or they
16      don't?
17              A.    On what level, or what's the
18      definition of mass? I'm not clear on what
19      you're asking.
20              Q.    Okay. I'm asking whether or not
21      disorder control was the unit tasked with
22      doing training for the police officers that
23      were policing Occupy Wall Street in the
24      year during Occupy Wall Street?
25              A.    Yes.

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1                      A. RAGANELLA
2               Q.    Okay. Was there another unit tasked
3       with those trainings?
4               A.    Not that I'm aware of.
5               Q.    Was there a specific anticipation
6       of May 1st to have specific trainings to
7       occur by disorder control unit?
8               A.    Yes.
9               Q.    And who had that specific concern?
10              A.    Virtually every member of the
11      service that does demonstrations or
12      protests.
13              Q.    Was that concern communicated to
14      you?
15                                     MS. MITCHELL:          Objection.
16                                     You can answer.
17              A.    I don't recall.
18              Q.    Did you communicate that concern to
19      anybody?
20                                     MS. MITCHELL:          Objection.
21                                     You can answer.
22              A.    I'm relatively certain I did.
23              Q.    And to whom do you think you
24      communicated that to?
25              A.    My staff.

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1                      A. RAGANELLA
2               Q.    Did Chief Esposito communicate a
3       concern to you about May 1st protest and
4       the need for additional mobile exercises?
5               A.    It's possible, because it basically
6       comes up every year.
7               Q.    Isn't it true that disorder control
8       undertook a large amount of disorder
9       control training in anticipation of May 1st
10      in 2012?
11              A.    As we do every year, yes.
12              Q.    So, it was no different than any
13      other year?
14              A.    I didn't say it wasn't any
15      different, I say we do additional training
16      prior to May 1st every year.
17              Q.    In anticipation of the May Day
18      protests?
19              A.    That is correct.
20              Q.    And this particular year was no
21      different than any other year?
22              A.    I didn't say how.
23              Q.    Okay. How was it different than any
24      other year?
25              A.    I don't know.

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1                      A. RAGANELLA
2               Q.    Was it different?
3               A.    It could have been.
4               Q.    But you don't know as you sit here?
5               A.    Unless I see something to refresh
6       my recollection, I don't recall what would
7       have been different.
8                                      (Document marked Exhibit
9                              21 for identification as of
10                             this date by the reporter.)
11              Q.    I'm going to mark this as 21. I'm
12      showing the inspector a document previously
13      identified as D556.
14              A.    (Witness perusing document.)
15              Q.    Do you recognize this document,
16      inspector?
17              A.    Yes.
18              Q.    And is this document related to DCU
19      training for May Day?
20              A.    Yes.
21              Q.    And is it indicating that even
22      though DCU has already ramped up the
23      training, that you specifically were given
24      a directive by Chief Esposito to train,
25      train, train.

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1                      A. RAGANELLA
2               A.    That's what this says, yes.
3               Q.    And so that would have been
4       different than prior years?
5               A.    The type of training we do, no. But
6       the quantity may have been increased as a
7       result of this.
8               Q.    So, in other words, you would have
9       done the same training as every other year.
10      You just may have done a lot more of it
11      because of this directive by Chief
12      Esposito?
13              A.    Yes.
14              Q.    And how would you know for sure
15      whether or not you did a higher volume of
16      it than you previously had done?
17              A.    I would have to look at our
18      training numbers during a certain period of
19      time and compare them to training numbers
20      for another period of time to see the
21      comparison.
22              Q.    And was there any specific
23      training, withdrawing. The sort of control
24      training that you did, the mob x training
25      that you did in anticipation of May Day

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1                      A. RAGANELLA
2       2012, was no different than the prior
3       trainings you had done. Correct?
4               A.    In regard to what we train on, no.
5               Q.    Okay. And so, as you previously
6       testified, there was no probably cause
7       training. So, there was no probably cause
8       training at this May 1st DCU training,
9       correct?
10              A.    I don't believe so.
11              Q.    And there was no specific sidewalk
12      protest lesson taught at these disorder
13      control trainings, correct?
14              A.    Not that I'm aware of.
15                                     (Document marked Exhibit
16                             22 for identification as of
17                             this date by the reporter.)
18              Q.    Okay. I'm now going to show you
19      what's being marked as 22.
20              A.    Am I keeping this?
21              Q.    I'll take it back, thank you. And
22      22 has been previously identified as D3992.
23              A.    (Witness perusing document.)
24              Q.    Are you familiar with this
25      document?

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1                      A. RAGANELLA
2               A.    I am familiar with it, I'm not 100%
3       sure which lesson plan it goes with though.
4               Q.    Is it one that you teach?
5               A.    Yes.
6               Q.    And what is it meant, withdrawing.
7       It talks about objectives, correct?
8               A.    Yes.
9               Q.    And the objective that's identified
10      in this is dispersed and demoralized
11      groups, correct?
12              A.    Correct.
13              Q.    And what is meant by that?
14              A.    What is meant by demoralized
15      groups?
16              Q.    Dispersed and demoralized groups,
17      what is meant by that objective?
18              A.    That objective is meant to
19      discourage an unlawful or violent group
20      from continuing in the conduct that they're
21      doing, and to disperse them.
22              Q.    Okay. So, it could be either
23      unlawful, or violent, or both? And then
24      demoralize and disperse would be
25      appropriate?

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1                      A. RAGANELLA
2               A.    No.
3               Q.    Okay. So, what make it appropriate
4       to be dispersed and demoralized to a group?
5               A.    Well you're talking about two
6       different things, disperse is not the same
7       as demoralize.
8               Q.    This objective, is this listed as
9       separate and distinct, or is it listed as
10      something to disperse and demoralize?
11              A.    No, demoralize and disperse are two
12      distinct different things.
13              Q.    Okay. Is it trained as an either,
14      or, or is it trained as an and...
15              A.    An or.
16              Q.    Okay, even though it says and?
17              A.    It could be an and also, but it
18      depends on the circumstances.
19              Q.    Okay.
20              A.    There are times where we disperse a
21      group, and they're not demoralized. And
22      when I say demoralized, I refer to
23      discouraging the conduct that they're
24      engaged in, that's what demoralized means.
25      So, there are times that we want to

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1                       A. RAGANELLA
2       discourage them from doing what they're
3       doing, and then disperse them. And there's
4       other times that we don't need to
5       discourage them, we just need to move them
6       on and disperse them. So, it could be an
7       and or an or.
8               Q.    And this is policing large groups,
9       correct?
10              A.    I don't know that it necessarily
11      applies to large groups. It could apply to
12      small groups also.
13              Q.    Okay. But it applies to groups,
14      groups of people, correct?
15              A.    It could.
16              Q.    Could it apply to something else?
17              A.    It could apply to a single person.
18              Q.    You can disperse and demoralize an
19      individual. But this particular training
20      doesn't talk about individual, it talks
21      about groups, correct?
22              A.    Again, I don't know which lesson
23      plan this comes from. So, it's hard for me
24      to ... But in general, yes. It's generally
25      understood that it applies to groups of

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1                      A. RAGANELLA
2       more than one person.
3               Q.    And how is it distinguished in the
4       disorder control that this applies to
5       groups that are unlawful, as opposed to
6       groups that are engaged in first amendment
7       activity?
8               A.    I don't understand your question.
9               Q.    Does this objective apply to
10      protest groups engaged in first amendment
11      activity?
12              A.    No, it does not.
13              Q.    How is that taught to the people at
14      disorder control training?
15              A.    My instructors understand that
16      inherently, because they teach it. So
17      that's explained to the audience.
18              Q.    And how is it explained?
19              A.    Through our lesson plans and
20      legalities at demonstrations, that we
21      protect group first amendment rights to
22      first amendment speech and assembly. But
23      once it becomes unlawful, there may be
24      times where we have to disperse them. And
25      if it becomes riotous behavior, we may have

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1                      A. RAGANELLA
2       to discourage their behavior, and then
3       possible disperse them.
4               Q.    So, the demoralize wouldn't occur
5       unless it's riotous?
6               A.    That's correct.
7                                      (Document marked Exhibit
8                              23 for identification as of
9                              this date by the reporter.)
10              Q.    Okay. I'm now going to show you
11      what's been marked as 23. I'll take that
12      one back.
13              A.    What is this marked as?
14              Q.    23.
15              A.    I need to put a number on there.
16              Q.    Thank you.
17              A.    No problem.
18              Q.    This is a document that has
19      previously been Bates stampeded starting at
20      4743 and ending at 4744.
21              A.    (Witness perusing document.)
22              Q.    Have you seen this document before?
23              A.    Yes.
24              Q.    And what is this document?
25              A.    This is in regard to our disorder

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1                      A. RAGANELLA
2       control guideline booklet that was created
3       when the disorder control unit was created.
4       And then I believe it was revised one more
5       time in 1997. There was some inquiry from I
6       believe an office of management analysis
7       and planning.
8               Q.    Yeah, I'm sorry. I'm going to
9       restate this is the Bates stamped number
10      5564 to 5565.
11                                     MS. MITCHELL:          23?
12                                     MR. STECKLOW:          23,
13                             correct.
14                                     MS. MITCHELL:          Okay.
15              Q.    You had that document in front of
16      you when you were answering the question,
17      correct? It was the council that had the
18      wrong document, not the witness.
19              A.    Okay, I have 23 in front of me.
20              Q.    Right.
21              A.    So, there was some inquiry --
22                                     MS. MITCHELL:          I'm sorry,
23                             can we just back up. I think
24                             the record might be incorrect
25                             about the Bates stamped.

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1                      A. RAGANELLA
2                                      MR. STECKLOW:          I changed
3                              it.
4                                      MS. MITCHELL:          Okay,
5                              sorry. Go ahead, I'm sorry.
6               A.    There was some inquiry from the
7       office of management analysis and planning
8       regrading potentially updating the booklet.
9               Q.    Do you know how that occurred?
10              A.    I do not.
11              Q.    Did they ask you to make
12      recommendations on the update?
13              A.    They actually asked us to begin
14      doing the updates on it.
15              Q.    Did they tell you what the updates
16      needed to be, or did they ask you to figure
17      out what the updates should be?
18              A.    I don't recall.
19              Q.    In the top of the email is from
20      Anthony Raganella to Dennis Fulton. Is
21      Dennis Fulton an individual from that
22      division you discussed earlier, office of
23      management analysis and planning?
24              A.    Yes.
25              Q.    And you write, "On cursory

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1                      A. RAGANELLA
2       inspection, the following should at least
3       be revised." And then you identify a few,
4       correct?
5               A.    Correct.
6               Q.    Okay. And among the things that you
7       think should be added are mass arrest
8       tactics, correct?
9               A.    Yes.
10              Q.    But you don't put anything in here
11      about adding sidewalk protests, correct?
12              A.    Correct.
13              Q.    Nor clear and present danger,
14      correct?
15              A.    Correct.
16              Q.    Nor the standards for impeding
17      pedestrian traffic, correct?
18              A.    Correct.
19              Q.    Okay. Are those standards, or any
20      of those topics, covered in disorder
21      control guidelines?
22              A.    I don't understand your question.
23              Q.    The topics I just mentioned that
24      are not included in this email, are they
25      covered in disorder control guidelines?

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1                      A. RAGANELLA
2               A.    Which guidelines? I don't ...
3               Q.    The ones that are referenced here
4       in this document, plaintiff's 23.
5               A.    I don't believe so.
6               Q.    And prior to January 6, 2012, when
7       was the last time the disorder control
8       guidelines had been revised?
9               A.    As I stated, I believe it was in
10      1997.
11              Q.    Had you ever recommended that the
12      disorder control guidelines booklet be
13      updated prior to this email exchange with
14      Dennis Fulton?
15              A.    I'm sorry, restate the question.
16              Q.    Did you ever recommend the disorder
17      control guidelines booklet be updated prior
18      to your emails with Dennis Fulton?
19              A.    I may have.
20              Q.    And who may you have made that
21      recommendation to?
22              A.    To myself.
23              Q.    Okay. To anyone else?
24              A.    Not that I recall.
25              Q.    Okay. And from this, it seems that

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1                      A. RAGANELLA
2       Dennis received a copy of the guideline
3       booklet, and then was surprised that it was
4       October 97. And then started to ask about
5       updating it. Does that seem accurate?
6               A.   Seems reasonable, yes.
7               Q.   And so, then it wasn't that you
8       made the recommendation. Somebody made the
9       recommendation to you that it should be
10      updated. And then you made recommendations
11      about what updates should be included,
12      correct?
13              A.   Correct.
14                                    (Document marked Exhibit
15                             24 for identification as of
16                             this date by the reporter.)
17              Q.   I'm going to show you what's now
18      being marked as plaintiff's 24.
19                                    MS. MITCHELL:          Should I
20                             have ...
21                                    MR. STECKLOW:          I didn't
22                             mark it, sorry. It's not a
23                             secret, it's something you gave
24                             me at some point.
25              Q.   Okay, all right please review

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1                      A. RAGANELLA
2       what's been marked as plaintiff's 24. Which
3       is a memo dated September 30th, 2009 from
4       the commanding officer of the disorder
5       control unit. And it is Bates stamped 4756
6       through 4759.
7               A.    Okay.
8               Q.    Have you seen this document before?
9               A.    Yes.
10              Q.    When was the first time you saw it?
11              A.    Probably this week.
12              Q.    This week being July 2018?
13              A.    Yes.
14              Q.    Prior to this week, had you ever
15      seen the document?
16              A.    I don't recall seeing this.
17              Q.    All right, this gives me a good
18      chance to ask a different question that I
19      didn't ask. What documents did you review
20      in anticipation of today's deposition?
21              A.    Everything that was provided to me
22      by council.
23              Q.    And I absolutely do not want to
24      hear anything about your conversations with
25      Your counsel. What I do want to understand

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1                       A. RAGANELLA
2       is what those documents were. How many
3       pages of documents do you believe you were
4       provided?
5               A.    Probably reviewed thousands of
6       pages.
7               Q.    Okay. And did any of it refresh
8       your recollection as to information you did
9       not previously have?
10              A.    Did it refresh my recollection as
11      to information that I previously, how would
12      it refresh my recollection?
13              Q.    Let me rephrase the question. Did
14      any of the documents either refresh your
15      recollection as to information you
16      previously had, but had forgotten, or
17      provide you new information that you did
18      not have previously?
19              A.    That's possible.
20              Q.    Do you know which documents those
21      were?
22              A.    No.
23              Q.    Do you have any way of identifying
24      the documents that you reviewed in
25      anticipation of today's deposition?

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1                      A. RAGANELLA
2               A.   If I saw them, it may refresh my
3       recollection that I reviewed them this
4       week.
5               Q.   Did you receive a copy of them?
6               A.   Some things, yes.
7                                     MR. STECKLOW:          So, I would
8                              call for production of that
9                              since the witness’s memory
10                             isn't solid on what it was. I
11                             would call for production,
12                             because that seems to be the
13                             best evidence of what it was he
14                             reviewed. I'm sorry.
15                                    MS. MITCHELL:          I can tell
16                             you that he reviewed PowerPoint
17                             slides and lesson plans from
18                             DCU, and we went over his
19                             email. I'm not going to
20                             reproduce documents that you
21                             already have in your
22                             possession.
23              Q.   Okay. Other than lesson plans and
24      PowerPoint slides and emails, were there
25      other documents you reviewed?

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1                      A. RAGANELLA
2               A.    No.
3               Q.    Okay. Is the document in front of
4       you a lesson plan, PowerPoint slide or
5       email?
6               A.    It's a communication.
7               Q.    And you reviewed this document in
8       anticipation of today's deposition,
9       correct?
10              A.    I believe so.
11              Q.    And it was neither an email, a
12      PowerPoint slide, or a lesson plan.
13      Correct?
14              A.    Correct.
15              Q.    Okay. So, were there other
16      documents that you reviewed in anticipation
17      of this litigation that were neither a
18      PowerPoint, an email, or a lesson plan?
19              A.    Not that I recall.
20              Q.    Okay. So, this is the only one that
21      would fall outside that scope.
22              A.    Outside which scope?
23              Q.    The description of those three sets
24      of items that Your counsel identified.
25              A.    This particular one? We've already

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1                      A. RAGANELLA
2       looked at other communications.
3               Q.    Your counsel stated the only
4       documents that you reviewed prior to
5       today's deposition were emails,
6       PowerPoints, and lesson plans. We then
7       agreed that in fact the one document we're
8       holding up right now, 24, is none of those.
9       And yet, is something you identified as
10      having only seen this week in anticipation
11      of this deposition.
12              A.    Correct.
13              Q.    I'm asking you if there's any other
14      documents that you remember reviewing that
15      are not either a PowerPoint, and email, or
16      a lesson plan?
17              A.    Not that I remember.
18              Q.    Okay. So, this is the only one that
19      falls outside the description that your
20      attorney just gave, correct?
21              A.    I believe so.
22              Q.    Okay, all right. Paragraph three of
23      this document, plaintiff's 24. It states
24      that individuals are encouraged, task
25      forces are encouraged to conduct regular

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1                       A. RAGANELLA
2       disorder control training, correct?
3               A.    That's what that says.
4               Q.    Is that something that you
5       continued once you took over disorder
6       control?
7               A.    Yes.
8               Q.    Okay. And so, you agreed with this
9       recommendation that the task forces should
10      conduct regular training sessions?
11              A.    Yes.
12              Q.    And you also, did you also
13      encourage them to conduct regular training
14      sessions?
15              A.    Yes.
16              Q.    Did you require them to conduct
17      regular training sessions?
18              A.    Yes.
19              Q.    Okay. In paragraph five, it seemed
20      to indicate that --
21              A.    Let me back up. I recommended that
22      they do training sessions. I was not in a
23      position to require it.
24              Q.    I'll re ask the question so we can
25      get a clean answer. Did you require that

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1                      A. RAGANELLA
2       they conduct training sessions?
3               A.    No.
4               Q.    Okay. Paragraph five, it talks
5       about, paragraph five identifies that
6       insufficient training is happening, because
7       it's only focusing on one to two different
8       tactics. Is that accurate?
9               A.    I don't know, I wasn't there then.
10              Q.    Is that accurate as to what is
11      described in paragraph five?
12              A.    Are you asking me if that's what it
13      says?
14              Q.    Yes.
15              A.    That's what it says.
16              Q.    So, does this memo indicate that
17      there was sufficient or insufficient
18      disorder control training occurring?
19                                     MS. MITCHELL:          Objection.
20                             You're asking him to testify
21                             about training that was
22                             occurring in 2009 that was
23                             beyond the scope of the
24                             30(B)(6) notice that he's been
25                             prosecuted for.

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1                      A. RAGANELLA
2                                     MR. STECKLOW:          I'm asking
3                              him to explain if the memo
4                              identifies that. And since he
5                              has the knowledge of sufficient
6                              disorder control training, I'll
7                              rephrase it.
8               Q.   How's this, in relation to what you
9       believe was sufficient disorder control
10      frame that you instituted in 2010 and
11      forward. Do you believe the disorder
12      control training that's identified in this
13      2009 memo was sufficient?
14              A.   There's always room for
15      improvement, as I stated before.
16              Q.   Do you believe this memo is
17      identifying sufficient or insufficient
18      disorder control training?
19                                    MS. MITCHELL:          Objection.
20                             You're asking him to testify
21                             about a document from 2009 that
22                             is beyond the scope of what
23                             this witness has been brought
24                             here for.
25              Q.   Okay. You can answer the question.

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1                      A. RAGANELLA
2               A.    So, reading what is written, it
3       appears that the author of this
4       communication would like to see an increase
5       in training.
6               Q.    And the amount of training that you
7       took over in 2010, you believe not to be of
8       a high enough volume. Correct?
9               A.    Correct.
10              Q.    And so, the concern that was in
11      this memo, which I believe you shared when
12      you took over, is that there was not a
13      sufficient amount of training by disorder
14      control. Correct?
15                                     MS. MITCHELL:          Objection.
16                                     You can answer.
17              A.    There will never be a sufficient
18      enough amount of training as far as I'm
19      concerned.
20              Q.    And why is that?
21              A.    Because I come from a training
22      background, as I stated earlier. And the
23      more training we can do, the better we
24      become at what we do. So, training is
25      always a priority as far as I'm concerned.

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1                      A. RAGANELLA
2       The more that we can do it, the better we
3       become at what we're trying to do.
4               Q.    Okay. Are there levels of training
5       that are just plainly insufficient?
6               A.    I would imagine so.
7               Q.    Okay. And so, because you're
8       talking about improving on a sufficient
9       level, and I'm trying to get to the point
10      between sufficient and insufficient.
11              A.    You're trying to get me to say that
12      the training was insufficient back then. I
13      understand that.
14              Q.    I'm trying to understand that, and
15      if you believe --
16              A.    It's hard for me to understand it
17      when I wasn't there in 2009.
18              Q.    Really what I'm trying to say is
19      this memo seems to indicate it was
20      insufficient. Not that you have personal
21      knowledge of that, but that's what's in the
22      memo.
23              A.    I'll agree with that.
24              Q.    Okay. That's all I was trying to
25      get.

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1                      A. RAGANELLA
2               A.    You should have just asked that
3       then.
4               Q.    Okay, I'm sorry. In a plain way.
5       Does this memo indicate that the author
6       believes that disorder control training at
7       this time was insufficient?
8                                      MS. MITCHELL:          Objection.
9                              You're asking him to speculate
10                             as to what another person
11                             thought.
12              A.    My opinion on what another person
13      thought is that that may indicate that,
14      yes.
15              Q.    And the concern was not just about
16      the amount of training, but the scope of
17      training as well. Correct?
18              A.    Correct.
19              Q.    And it contains a proposal to
20      update the disorder control training, does
21      it not?
22              A.    Yes.
23              Q.    Do you know if this proposal was
24      accepted and instituted?
25              A.    I do not know.

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1                      A. RAGANELLA
2               Q.    Okay. Would you know if it had been
3       instituted?
4               A.    If I knew that, I would be able to
5       tell you that it was. So, I don't know.
6               Q.    Well this is from September 2009.
7       You took over disorder control in July of
8       2010, correct?
9               A.    August of 2010.
10              Q.    Okay. And so, this is less than a
11      year later, correct?
12              A.    Correct.
13              Q.    And so, there's specific lectures
14      that are listed here, do you know if each
15      of these were instituted?
16              A.    Yes, these are all blocks of
17      instruction that were being conducted when
18      I took over the disorder control unit. And
19      they were the same blocks of instruction
20      that were done for over a decade.
21              Q.    Over a decade before or after?
22              A.    Before.
23              Q.    Okay. So obviously this is a
24      proposal. So, it seems like it can't be
25      exactly the same as what was being done

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1                       A. RAGANELLA
2       before, or else it's not a proposal, it's a
3       restatement of what's being done.
4               A.    I'm speaking of the general topics
5       of blocks of instruction. When we drill
6       down and look at individual lesson plans, I
7       don't know if anything was modified or
8       changed in those blocks of instruction.
9               Q.    Okay. Now this proposed a two-day
10      disorder control training, correct?
11              A.    Yes.
12              Q.    And it proposed two consecutive
13      days, correct?
14              A.    It says two consecutive days.
15              Q.    And it has it broken down by day
16      one and day two, correct?
17              A.    Correct.
18              Q.    And it talks about lecture times,
19      correct?
20              A.    Correct.
21              Q.    And so that would indicate
22      classroom time as opposed to field exercise
23      time, correct?
24              A.    No.
25              Q.    So, lecture time could be in the

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1                      A. RAGANELLA
2       field?
3               A.    Absolutely.
4               Q.    Okay. And so --
5               A.    Where do you see lecture time?
6               Q.    On the right-hand side of --
7               A.    I only see the word time, I don't
8       see the word lecture.
9               Q.    Okay. So, when it talks about time,
10      this could just be the amount of time
11      focused on things. So, on the left where it
12      says training site, it talks about lecture.
13      Some says hands on, some says lecture.
14              A.    Okay, yes, I see that.
15              Q.    Hands on would probably correlate
16      to an exercise, and lecture would correlate
17      to a classroom.
18              A.    Yes and no, because there are times
19      where we have done hands on training in a
20      classroom. And there are times where we
21      have done lectures out in the field at a
22      training site, outside of a classroom.
23              Q.    Okay.
24              A.    So, this is a proposal of a
25      recommendation, I don't know that this is

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1                      A. RAGANELLA
2       what was actually done.
3               Q.    All right. So, it seems like if you
4       add up all the time, it's about eight hours
5       on the first day, and eight hours on the
6       second day. Is that how disorder control
7       was undertaking during your time as
8       commanding officer of the DCU?
9               A.    Not clear on what you're asking.
10              Q.    This is proposing a two-day, two
11      consecutive day training, eight hours each
12      day, mix of lecture and hands on on each
13      day. I'm asking you if that's what occurred
14      while you were the commanding officer of
15      disorder control training.
16              A.    Two consecutive days?
17              Q.    Yes.
18              A.    Not that I recall.
19              Q.    And was the breakdown of lecture to
20      hands on the same as what occurred while
21      you were at disorder control as a
22      commanding officer?
23              A.    Well, if I don't recall this
24      occurring on two consecutive days, how
25      would I know that?

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1                       A. RAGANELLA
2               Q.    So, okay, fair enough. Did you
3       conduct disorder control training based on
4       either day, day one or day two, and the
5       component is there. Did either of those
6       occur while you were the commanding officer
7       of disorder control training?
8               A.    Absolutely.
9               Q.    Okay. Which day would you be
10      focused on?
11              A.    Both days.
12              Q.    Okay. You would teach it as it's
13      written here, or would it be merged
14      together into something different?
15              A.    We incorporated these blocks of
16      instruction into when we did mobilization
17      exercises primarily.
18              Q.    Okay. So, it talks here about on
19      day one introduction to disorder control,
20      right?
21              A.    Yes.
22              Q.    And so, would that be something
23      that was incorporated into mobile
24      exercises, would that be a lecture? How
25      would that be taught under your watch as

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1                      A. RAGANELLA
2       commanding officer of disorder control?
3               A.    Normally that would be taught as
4       classroom lecture.
5               Q.    Okay. The next one is a guide to
6       civil disorder. And that's, withdrawing.
7       For the introduction of disorder control,
8       here it's listed as 60 minutes.
9                      How long was it on disorder control
10      while you were commanding officer?
11              A.    I don't know.
12              Q.    How would you find out?
13              A.    I wouldn't be able to.
14              Q.    Were all of these components that
15      are listed here as day one and day two
16      combined into one day training at disorder
17      control?
18              A.    Very well could have been.
19              Q.    Okay. So obviously, the times
20      aren't going to match up because this is
21      two eight-hour blocks, and you guys are
22      doing it in one eight-hour block. Correct?
23              A.    Correct.
24              Q.    So, you're not going to be able to
25      know for sure how much of each component

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1                      A. RAGANELLA
2       was taught, correct?
3               A.    That's correct.
4               Q.    Okay. Are there any, withdrawn.
5                      I note that high profile vehicle
6       rescue, that seems to be one of the main
7       components of the disorder control under
8       your watch, correct?
9               A.    One of many, yes.
10              Q.    Well you've testified before that
11      there were four main components to the
12      disorder control training while you were at
13      disorder control.
14              A.    This is one of them, yes.
15              Q.    One of the four, correct?
16              A.    Correct.
17              Q.    Okay. Other one was alluding arrest
18      tactics, yes?
19              A.    Correct.
20              Q.    Other one was the disorder control
21      formations?
22              A.    Correct.
23              Q.    And the other was mass arrest
24      tactics?
25              A.    Correct.

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1                      A. RAGANELLA
2               Q.    Okay. Here under we've talked about
3       the first one, the second one on day one is
4       the legalities of civil disorder. And here
5       they talk about a review of the first
6       amendment, disorderly conduct, riots --
7               A.    I'm sorry, where are we? I'm lost.
8               Q.    We're on day one.
9               A.    Day one, okay.
10              Q.    Second entry.
11              A.    Yes, sir.
12              Q.    It talks about legalities of civil
13      disorder, a review of the first amendment,
14      disorderly conduct, riot, and a review of
15      arrest warnings and proper legal procedures
16      at protests. Correct?
17              A.    Yes.
18              Q.    How did you teach those items at
19      disorder control?
20              A.    I don't understand your question.
21              Q.    Well this was something that was
22      being taught or was being proposed to be
23      taught in a fashion. And I'm wondering how
24      it did get taught while you were the
25      commanding officer of disorder control.

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1                      A. RAGANELLA
2               A.    Still don't understand what you're
3       asking.
4               Q.    Did you teach legalities of civil
5       disorder as it's written here?
6               A.    Yes.
7               Q.    Okay, as it's explained. So how did
8       you review the first amendment?
9               A.    It could have been classroom, it
10      could have been out in the field during
11      mass arrest. There were times where
12      legalities of civil disorder, lectures from
13      the instructors were incorporated into mass
14      arrest out in the field.
15              Q.    Was there a specific 45-minute
16      lecture for legalities of civil disorder?
17              A.    There could have been.
18              Q.    Was there a specific 45-minute
19      classroom lecture during disorder control
20      in 2011 to 2012, in that time frame we're
21      talking about here?
22              A.    There could have been.
23              Q.    And how would you know for sure
24      where it happened or did not happen?
25              A.    That specific lesson plan being

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1                      A. RAGANELLA
2       used for a full 45 minutes, I wouldn't know
3       that.
4               Q.    Okay. So, this is obviously part of
5       the question is that the 30(B)(6) notice.
6       And so, the question is, you're supposed to
7       have obviously been prepared to answer the
8       questions on behalf of the city of New
9       York. So, if you're not going to know, how
10      are we going to get an answer from the city
11      of New York?
12              A.    You're probably not.
13              Q.    So, we're just not going to know
14      whether or not this was taught in a lecture
15      setting, in a classroom, or how long it was
16      taught, correct?
17              A.    It wasn't recorded, no.
18              Q.    I'm not asking if it was reported,
19      I'm asking what your memory is. What you
20      know, what your knowledge is.
21              A.    I said it was possible.
22              Q.    Okay. All right, here you see how
23      it talks about review of arrest warnings,
24      correct? On the --
25              A.    Are we still under --

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1                      A. RAGANELLA
2               Q.    Yeah.
3               A.    Okay, yes.
4               Q.    We discussed earlier that there is
5       no arrest warning training when it involves
6       telling protestors to go to an alternative
7       location to protest, correct?
8               A.    Restate the question.
9               Q.    Previously you testified that you
10      do not do training at disorder control
11      about dispersal warnings or arrest warnings
12      when you're giving alternative locations to
13      protest, correct?
14              A.    Correct.
15              Q.    And so, the arrest warnings here
16      would not include any alternative location
17      type of warning, correct?
18              A.    Unless it was written down and
19      documented somehow on the actual arrest
20      warnings, probably not.
21              Q.    Okay. And we've reviewed the arrest
22      warnings, and there doesn't seem to be
23      anything like that. Correct?
24              A.    On the arrest warnings that I
25      reviewed here today, I didn't see that.

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1                      A. RAGANELLA
2               Q.   And you don't have any knowledge of
3       any arrest warnings that you trained at
4       disorder control that do have that,
5       correct?
6               A.   Not that I recall. That doesn't
7       mean that there wasn't any though.
8               Q.   So, do you know, withdraw.
9                      Would you be able to look at this
10      two-page class recommendation and identify
11      the times that each of them actually are
12      taught under your watch at disorder
13      control?
14              A.   No.
15                                    MS. MITCHELL:          I need to
16                             use the bathroom very quickly.
17                                    MR. STECKLOW:          Okay, it's
18                             3:06, we're taking a short
19                             break.
20                                    (Whereupon, a short recess
21                             was taken.)
22                                    (Back on the record.)
23                                    (Document marked Exhibit
24                             25 for identification as of
25                             this date by the reporter.)

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1                      A. RAGANELLA
2                                     MR. STECKLOW:          The time is
3                              now 3:13. We're back on the
4                              record.
5                                     I've handed the witness
6                              document Plaintiff's Exhibit 25
7                              and asked if he can identify
8                              the document.
9               A.   (Witness perusing document.) Yes.
10              Q.   And what can you identify it as?
11              A.   Communication from me to the
12      Patroller of Task Force Commanding Officers
13      and my staff.
14              Q.   And what is it that you're
15      identifying in that document?
16              A.   The potential issue with the use of
17      flex cuffs.
18              Q.   And what is the issue you're
19      identifying?
20              A.   That they should only be utilized
21      by the Patroller of the Task Forces.
22              Q.   And how did that information come
23      to you?
24              A.   I do not recall.
25              Q.   Were you overseeing many of the

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1                       A. RAGANELLA
2       mass protests, mass arrests at the protest
3       that were active on Wall Street?
4               A.    Not clear by what you mean by
5       overseeing.
6               Q.    Well, you made specific requests
7       for Task Force equipment multiple times
8       during Occupy Wall Street. Isn't that
9       correct?
10              A.    Yes.
11              Q.    And you made recommendations for
12      Command Post operations during Occupy Wall
13      Street. Isn't that right?
14              A.    Yes.
15              Q.    And you reviewed and made
16      recommendations regarding mass arrests
17      operations during Occupy Wall Street. Isn't
18      that right?
19              A.    Yes.
20              Q.    Did you review and make any
21      recommendations as to sidewalk policing?
22              A.    Which one?
23              Q.    Did you review and make any
24      recommendations as to the policing of the
25      sidewalk protests at Occupy Wall Street?

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1                      A. RAGANELLA
2               A.    Not that I recall.
3               Q.    Did you review and make any
4       recommendations as to the policing of "a
5       clear and present danger" during Occupy
6       Wall Street protests?
7                                      MS. MITCHELL:          Objection.
8                                      You can answer.
9               A.    I don't specifically recall making
10      recommendations on legal matters. No.
11              Q.    Okay.
12                     Did you review and make any
13      recommendations on the impedance of
14      pedestrians during Occupy Wall Street?
15                                     MS. MITCHELL:          Objection.
16                                     Asked and answered.
17              A.    Again, not that I recall.
18              Q.    And in this memo, you wrote that
19      the Department is critically low on
20      flexicuffs. Right?
21              A.    Yes.
22              Q.    And so, you were on top of the
23      equipment that the officers were using to
24      police Occupy Wall Street. Correct?
25              A.    Specifically, to Patrol Borough

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1                      A. RAGANELLA
2       Task Forces because one of TCU's core
3       functions was logistics related to the, we
4       acquired and disseminated a lot of
5       equipment for the Patrol Borough Task
6       Forces.
7               Q.    In addition to training the Patrol
8       Borough Task Forces, correct?
9               A.    Yes, sir.
10              Q.    And so, during Occupy Wall Street,
11      you were either tasked with or accepted the
12      responsibility for the review of the
13      equipment that these individuals had when
14      they were policing Occupy Wall Street.
15      Correct?
16              A.    Yes, sir.
17              Q.    You tasked with reviewing the
18      policing they were doing of Occupy Wall
19      Street? Their constitutionality of their
20      policing of sidewalk protests?
21                                     MS. MITCHELL:          Objection.
22                                     You can answer.
23              A.    I did not get involved in legal
24      matters or making recommendations on legal
25      matters. No.

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1                      A. RAGANELLA
2               Q.    Okay. I'm asking about the policing
3       aspect. Right?
4               A.    Then I don't understand what you're
5       asking.
6               Q.    I'm asking you if you were ever
7       tasked with a review of the police conduct
8       during sidewalk protests during Occupy Wall
9       Street.
10                                     MS. MITCHELL:          Objection.
11                                     You can answer.
12              A.    Not that I recall.
13              Q.    Is there anything that you could
14      look at that could refresh your
15      recollection?
16              A.    Not that I'm aware of.
17              Q.    You recall being tasked with
18      ensuring that there were sufficient amounts
19      of flexicuffs for the Task Force. Correct?
20              A.    Correct.
21              Q.    Were you also tasked with ensuring
22      there were sufficient amounts of pepper
23      spray canisters for the Task Force?
24              A.    Yes.
25              Q.    Were you tasked with ensuring they

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1                      A. RAGANELLA
2       had sufficient millennium masks?
3               A.    Yes.
4               Q.    But you're not, you don't recall
5       whether or not you were tasked with
6       reviewing their sidewalk protests and
7       updating training?
8                                      MS. MITCHELL:          Objection.
9                                      You can answer.
10              A.    So, I don't recall specifically
11      being tasked with updating or modifying
12      training regarding to what it is that
13      you're asking. That is not to say that I
14      didn't have conversations about it though.
15      But I just don't recall having those
16      conversations.
17              Q.    You never wrote a memo about a need
18      to update training in regard to sidewalk
19      protests during Occupy Wall Street.
20      Correct?
21              A.    Not that I can recall.
22              Q.    And you haven't seen such memo.
23      Correct?
24              A.    Not that I'm aware of.
25              Q.    And disorder control training was

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1                      A. RAGANELLA
2       not updated in regard to sidewalk protest
3       during Occupy Wall Street. Correct?
4                                      MS. MITCHELL:          Objection.
5                                      You can answer.
6               A.    Not that I'm aware of.
7               Q.    And you would be aware if it was
8       updated, wouldn't you? You were the
9       Commanding Officer of Disorder Control in
10      this time period.
11              A.    I should be. Yes.
12              Q.    So, if you're not aware of it,
13      that's because it did not happen. Correct?
14              A.    I can't say that.
15              Q.    So, somebody could have updated
16      Disorder Control training while you were
17      the Commanding Officer, and you wouldn't
18      know.
19              A.    I would hope that that doesn't
20      happen, but I can't say that it is an
21      impossibility.
22              Q.    You don't have any independent
23      knowledge that the training was ever
24      updated during Occupy Wall Street at
25      Disorder Control in regard to sidewalk

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1                      A. RAGANELLA
2       protests.
3                                      MS. MITCHELL:          Objection.
4                                      You can answer.
5               A.    I'm a pretty hands-on guy, and I
6       don't recall that happening.
7                                      (Document marked Exhibit
8                              26 for identification as of
9                              this date by the reporter.)
10              Q.    Let me show you what I'm now
11      marking as 26, Plaintiff’s 26.
12              A.    (Witness perusing document.)
13              Q.    I know for sure that there's copies
14      of them in there, but I can't find them, so
15      you and I are going to have to just deal
16      with that.
17                     Let me ask you if you've ever seen
18      that document before.
19                                     MS. MITCHELL:          Okay.
20              Q.    Document, did I recommend that?
21                     Document 26 is an Advance Command
22      Leadership. Is that correct?
23              A.    Yes, that's what it's titled. Yup.
24              Q.    Have you seen this document before?
25              A.    I don't recall seeing it.

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1                      A. RAGANELLA
2               Q.    Is it something that's taught at
3       Disorder Control training or elsewhere?
4               A.    I don't know where it's taught, but
5       it's not something that came from the
6       Disorder Control unit. And from what I'm
7       reading on the cover, it appears to be a
8       draft.
9               Q.    It is says on the left side that it
10      was August 17, 2012. Is that correct?
11              A.    I'm sorry. Can you repeat that?
12              Q.    Does it say on there that the last
13      revision is August 17, 2012?
14              A.    No.
15              Q.    What does it say that the last
16      revision is?
17              A.    0900 hours, August 20, 2012.
18              Q.    I stand corrected.
19                     Since you haven't seen this and
20      it's not from Disorder Control, I think
21      it's outside the scope, so I'm going to put
22      it away.
23                     Looking back at 25, this is an
24      email from you to a bunch of chiefs,
25      correct?

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1                      A. RAGANELLA
2               A.    No.
3               Q.    Who's it to?
4               A.    It's addressed, the email
5       communication is addressed to the, at the
6       time, the Patrol Borough Task Force
7       Commanding Officers. CC'd on it was my
8       staff as well as my Commanding Officer at
9       the time.
10              Q.    So, this is all eight Patrol
11      Borough....
12              A.    Commanding Officers.
13              Q.    Commanding Officers. Are they all?
14              A.    Yes, sir. Thank you.
15              Q.    And it's from you to them, correct?
16              A.    Yes.
17              Q.    Okay.
18                     And this document indicates that
19      the NYPD did not consider OWS protestors to
20      be violent. Correct?
21              A.    I'm sorry, repeat that.
22              Q.    This document indicates that the
23      NYPD did not consider Occupy Wall Street
24      protestors to be violent. Correct?
25                                     MS. MITCHELL:          Objection.

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1                      A. RAGANELLA
2                                      You can answer.
3               A.    Can you give me a moment to review
4       it?
5                      Okay, what's your question?
6               Q.    Did the NYPD consider Occupy Wall
7       Street protestors to be violent?
8                                      MS. MITCHELL:          Objection.
9                                      You can answer.
10              A.    Am I speaking on behalf of the
11      department or my email?
12              Q.    Is this an email from you or is it?
13              A.    Yes, it's an email from me.
14              Q.    It seems to have quotation marks
15      around it. Correct?
16                                     MS. MITCHELL:          Isn't that
17                             an asterisk?
18                                     THE WITNESS:          That's an
19                             asterisk.
20                                     MS. MITCHELL:          Yeah.
21              A.    Yeah, those are asterisks at the
22      beginning of each paragraph.
23              Q.    Okay.
24              A.    Used as bullet points.
25              Q.    Okay. Sorry.

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1                      A. RAGANELLA
2                      You write in the third full
3       paragraph here that they are not inherently
4       violent or physical toward us. Correct?
5               A.   As of October 7, 2011, I did not
6       witness them to be inherently violent or
7       physical towards us.
8               Q.   And you believed that they were
9       disorganized.
10              A.   That was my opinion, yes.
11              Q.   And you believed that they were
12      annoying, yes?
13              A.   At times, yes.
14                                    MS. MITCHELL:          Wylie, I'm
15                             going to interject here because
16                             I think this goes to what we
17                             were discussing prior to the
18                             beginning of the deposition. I
19                             think that it's not clear what
20                             capacity the witness is
21                             testifying is.
22                                    MR. STECKLOW:          Fair.
23                                    MS. MITCHELL:          Is he
24                             testifying in his individual
25                             capacity? Or are you asking

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1                      A. RAGANELLA
2       this question as those...
3                                      MR. STECKLOW:         I believe
4                              that he's been answering it in
5                              his individual capacity.
6               Q.   Am I correct?
7               A.   Correct.
8               Q.   And I think that you made that
9       clear in an earlier answer.
10                                     MS. MITCHELL:         But I just
11                             wanted to clarify your intent.
12                                     MR. STECKLOW:         I have no
13                             problem with the clarification.
14                             Okay?
15                                     MS. MITCHELL:         Thank you.
16              Q.   Did you consider the Occupy
17      protestors to be unified?
18              A.   Not at.... As of this writing, no.
19              Q.   Did you consider them to be true
20      anarchists?
21              A.   No.
22              Q.   Now this was your opinion. Correct?
23              A.   This was my opinion of the movement
24      as a whole. Yes.
25              Q.   Okay.

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1                      A. RAGANELLA
2               A.    At that time.
3               Q.    And you were communicating this to
4       the 8 commanders of the Patrol Borough Task
5       Force. Correct?
6               A.    Correct.
7               Q.    And do you believe that this was
8       your opinion that you were giving them, and
9       they were going to accept? Do you think
10      this was something they were going to
11      question? Something they were going to
12      share with the Task Force themselves? What
13      was your belief of why you were writing
14      this information in this email?
15              A.    It was just an FYI for their
16      information as to my observations and
17      opinions as to what we've experienced and
18      witnessed thus far in the movement.
19                     Starting off with the issues about
20      equipment in the beginning.
21              Q.    Okay.
22                     Did your opinions change at any
23      time?
24              A.    Yes.
25              Q.    And when was that?

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1                      A. RAGANELLA
2               A.    I don't know.
3               Q.    And what did your opinion change
4       to?
5               A.    As the movement went out,
6       subsequently, I did see some violent
7       tendencies. I did notice that there were
8       some anarchist tactics that were used. And
9       that they, at various points and different
10      demonstrations and protests, they did seem
11      to be more unified and organized than they
12      were previously.
13              Q.    Did you believe that they were a
14      violent organization or a non-violent
15      protest movement?
16              A.    So, you're asking me to speak about
17      the movement as a whole or individuals
18      within?
19              Q.    I'm asking for the movement as a
20      whole within New York City.
21              A.    The movement as a whole in New York
22      City, my opinion is that they were not
23      radically violent. No.
24                                     (Document marked Exhibit
25                             27 for identification as of

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1                      A. RAGANELLA
2                              this date by the reporter.)
3               Q.    I'm going to ask you to look at
4       what's marked as 27.
5                      Do you recognize this document?
6               A.    Yes.
7               Q.    And what is this document?
8               A.    These are issues related to Occupy
9       Wall Street that, if I recall correctly,
10      they were notes that I had drafted to
11      myself as issues and points regarding the
12      movement.
13              Q.    Was this document disbursed or
14      distributed in any fashion?
15              A.    Not that I recall.
16              Q.    Was this document given to the Task
17      Force individuals in the email identified
18      as 26?
19              A.    Not that I'm aware of. No.
20              Q.    Why did you create this document?
21              A.    I created this document for my own
22      personal knowledge to keep a record of what
23      I was witnessing within or during the
24      movement.
25              Q.    And when did you create this

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1                       A. RAGANELLA
2       document?
3               A.    That I don't know.
4               Q.    Okay.
5                       So, second from the bottom, it
6       says, "Drummers give warnings at 2130, then
7       he'd stop by 22. They don't stop entrance
8       into custody for evidence."
9                       So, this a note to yourself,
10      correct?
11              A.    Yes.
12              Q.    So how is that information, which
13      seems like a very specific rule that you're
14      trying to institute, how is that
15      communicated to individuals on the scene
16      that will actually make that happen?
17              A.    That wouldn't be my call to make.
18      So, I don't recall where that came from.
19              Q.    So again, is something that you
20      thought up but never instituted? Or do you
21      think someone told you that and you were
22      just identifying it as something that's in
23      existence.
24              A.    I do not know. That doesn't look
25      familiar to me. Even though I'm reading it

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1                       A. RAGANELLA
2       and I know that I wrote it, I don't recall
3       where that came from.
4               Q.    Alright.
5                       The second thing on the
6       recommendations: "Make a list of CUNY
7       residents who complain of noise and
8       nuisance abatement issues."
9               A.    Wait, I'm sorry, where are we?
10              Q.    Second under recommendations.
11              A.    Okay.
12              Q.    Is that a recommendation that you
13      made?
14              A.    Not that I recall.
15              Q.    So, you don't think that's your
16      writing?
17              A.    Well, that could very well be my
18      writing that I made a note to myself. I
19      don't know that that was a recommendation
20      that was made outside my head though.
21              Q.    Okay. Why do you believe that it
22      was a good idea to make a list of community
23      residents who complained of noise and
24      nuisance abatement issues?
25              A.    I don't recall what I was thinking

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1                      A. RAGANELLA
2       at the moment that I wrote this.
3               Q.    What does PPE stand for?
4               A.    Personal Protective Equipment.
5               Q.    And what does that consist of?
6               A.    Personal Protective Equipment would
7       be, during this time, the Disorder Control
8       helmet, gloves, millennium mask, anything
9       that could be used to protect the officer.
10              Q.    Now on the same document, you are
11      stating that they are not a violent towards
12      the police. Correct?
13                     Not the same document. Under
14      protestor. Second one down.
15                     Can you read that out loud?
16              A.    "Not very unified." Is that what
17      you're talking about? The second?
18                     "Not very unified or organized. Nor
19      are they particularly violent towards us."
20              Q.    So that's your description of the
21      individual protestors. Correct? In this
22      document.
23              A.    I don't know that I was speaking of
24      any one particular protestor. This is the
25      movement as a whole. And again, I don't

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1                      A. RAGANELLA
2       know what the date was on this document.
3               Q.    But on the same date that you're
4       identifying them as not particularly
5       violent towards the police, you're also
6       stating that all this Personal Protective
7       Equipment should be carried at all times.
8       Correct?
9               A.    Correct.
10              Q.    So that, the reason of that, is
11      towards the goals that we looked at
12      earlier, which is intimidation of large
13      groups. Correct?
14              A.    No.
15                                     MS. MITCHELL:          Objection.
16                                     You may answer.
17              Q.    No. It's the psychological response
18      that a large group of police have on a
19      group of people.
20                                     MS. MITCHELL:          Objection.
21                                     You can answer.
22              A.    The purpose for PPE is to make sure
23      that my officers get home safely at the end
24      of the night without injury.
25              Q.    Okay. Do they carry them 24/7 when

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1                       A. RAGANELLA
2       they're working? When they're on tour?
3               A.    The Patrol Borough Task Force
4       members?
5               Q.    Yes.
6               A.    They are required to, yes.
7               Q.    So, wherever they are, whatever
8       they're doing, they're with their PPE on
9       their bodies at all times.
10              A.    They should be. Yes.
11                      What do you mean on their bodies?
12                      No. Withdrawn.
13                      No, not on their bodies. They're
14      not on patrol with their helmet on. No.
15              Q.    During their Occupy, were they on
16      patrol with their helmets on?
17              A.    At times during protests and
18      demonstrations, they donned their helmets,
19      yes.
20              Q.    During times. So, this is not
21      indicating that they should be walking
22      around with their equipment on. Correct?
23                      It's not indicating that.
24              A.    It's indicating that it should be
25      readily available to them if the need

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1                      A. RAGANELLA
2       arises.
3               Q.    Okay. Looking back at this email, I
4       think it's 25, in here I think you raise
5       concerns about the misuse of the Task Force
6       operationally and tactically. Is that
7       correct?
8               A.    What are we looking at? You pointed
9       to a specific spot.
10                     I'm not seeing that.
11              Q.    Look at the second to the last
12      paragraph that starts with "As I'm sure."
13                     That sentence, can you read that
14      first sentence all the way through to
15      "tactically"?
16              A.    Yeah.
17                     "As I'm sure some of you have, I
18      have observed many misuses of the Task
19      Forces at OWS demo, both operationally and
20      tactically."
21              Q.    Okay, so how did you observe them
22      misusing the Task Force operationally?
23              A.    We trained the Patrol Borough Task
24      Forces, meaning the Disorder Control Unit,
25      the theory behind using the Patrol Borough

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1                      A. RAGANELLA
2       Task Forces was to use them operationally
3       and tactically to be available for
4       arresting protestors and demonstrators who
5       were engaged in unlawful behavior when an
6       incident Commander made the authorization
7       to make arrests.
8                      I witnessed prior or up to the
9       writing of this email that some of, at
10      times some of the Patrol Borough Task
11      Forces were being used in a way that wasn't
12      consistent with what I believed they should
13      be used as, meaning that they were put out
14      on foot to escort or walk with
15      demonstrators and protestors.
16              Q.    Okay. Is that the only way that you
17      saw the misuse of them operationally?
18              A.    Yes.
19              Q.    Okay. What did you mean by the
20      misuse of them tactically?
21              A.    Well, I kind of used operationally
22      and tactically synonymously there. But
23      operation and the tactic of how they were
24      used pretty much covers the same idea as
25      what I just conveyed.

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1                      A. RAGANELLA
2               Q.    So, you observed the Task Forces
3       when they were policing Occupy Wall Street.
4               A.    Did I? I'm not clear on what you're
5       asking.
6               Q.    You're identifying here that you
7       saw them misuse the Task Force
8       operationally and tactically. Correct?
9               A.    At times.
10              Q.    Therefore, you had to observe that.
11      Correct?
12              A.    At times. Yes, I did observe.
13              Q.    So, there were times when you were
14      observing the policing of Occupy Wall
15      Street by the Task Force. Correct?
16              A.    At times. Yes.
17              Q.    Did you ever write an email or
18      identify any times that the Task Force
19      operated improperly as related to sidewalk
20      protests?
21                                             MS. MITCHELL:
22                                     Objection.
23                                             You can answer.
24              A.    Not that I recall.
25              Q.    Did you ever write an email or

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1                      A. RAGANELLA
2       bring to anyone's attention any time you
3       may have seen a Task Force operating
4       outside of the training as given at
5       Disorder Control?
6                                      MS. MITCHELL:          Objection.
7                                      You can answer.
8               A.    Not that I recall.
9               Q.    But that is what this letter does.
10      This email identifies a time when there's
11      operationally, tactically that's outside
12      the training that you give. Correct?
13              A.    So, was your question asking
14      outside of this email or including?
15              Q.    Yes, it was asking outside of this
16      email.
17                     In fact, you did it when you saw
18      it. Operationally and tactically you saw a
19      problem, you wrote an email, you brought it
20      to people's attention. Correct?
21              A.    Not always. No.
22              Q.    In this instance, you did. Correct?
23              A.    Correct.
24              Q.    And this instance was October 7,
25      2011. Correct?

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1                      A. RAGANELLA
2               A.    Correct.
3               Q.    Almost in the middle of the
4       occupations at Zuccotti Park. Correct?
5               A.    Correct.
6               Q.    But you didn't write any similar
7       email when you observed policing of
8       sidewalk protests. Correct?
9                                    MS. MITCHELL:           Objection.
10                                   You can answer.
11              A.    Not that I recall.
12              Q.    And if you had written one, you
13      would have been searching for it in
14      response to discovery that we requested
15      like you searched and found this email.
16      Correct?
17              A.    Correct.
18              Q.    So, if you didn't produce it, it
19      means it doesn't exist. Correct?
20              A.    I.... I don't know.
21              Q.    So, it could exist. You may not
22      have produced it. You may have a decision
23      not to give it to your lawyer?
24              A.    That's what I'm saying.
25              Q.    Okay, so what are you saying?

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1                       A. RAGANELLA
2               A.    If something got deleted or if
3       something didn't show up, I don't have
4       control over the technology of emails. But
5       if it was there and I saw it, we would be
6       looking at it.
7               Q.    Right.
8                       So other than a failure of
9       technology or somebody fraudulently
10      deleting an email, if you had created such
11      an email, such a notice of sidewalk
12      protests issued outside of Disorder Control
13      training, it would be here. Correct?
14              A.    Correct.
15              Q.    And since it's not here, it's more
16      likely than not that it just doesn't exist.
17      Correct?
18              A.    Want my opinion on that?
19              Q.    Yes.
20              A.    I agree.
21              Q.    What training was developed on not
22      losing patience with non-violent sidewalk
23      protestors?
24              A.    That's incorporated as a staple to
25      all the training that we do. We instruct

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1                      A. RAGANELLA
2       the officers to remain unbiased and to not
3       get baited by some of the protestor tactics
4       of what I call "in-your-face" passive
5       resistance.
6               Q.    Right. And was that something that
7       was developed in response to Occupy Wall
8       Street or something that existed
9       previously.
10              A.    It existed long before Occupy Wall
11      Street.
12              Q.    And is it the same type of training
13      that you wanted.... Withdrawn.
14                     Is the same type of training that
15      would be related to keeping a check on your
16      emotions and dealing with non-violent
17      sidewalk protestors?
18              A.    Repeat that.
19              Q.    I believe I heard you talk about
20      losing patience with non-violent sidewalk
21      protestors, checking your emotions, and
22      remaining in control and professional.
23      Correct?
24              A.    Correct.
25              Q.    So, I'm asking you if it's the same

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1                      A. RAGANELLA
2       training that you just described for not
3       losing patience, is that the same, would
4       that be the same answer about keeping a
5       check on your emotions?
6               A.    I'm not clear on what you're asking
7       between patience and emotions.
8               Q.    No problem.
9                      What training was developed on
10      helping officers deal with keeping a check
11      on their emotions when dealing with non-
12      violent sidewalk protestors?
13              A.    We have a lesson plan on
14      demonstrator tactics that deals with that
15      particular issue.
16              Q.    And what is the training that you
17      give to people on that?
18              A.    What I related to before that
19      officers when they are policing First
20      Amendment protected assemblages to remain
21      unbiased, to allow, to make accommodations
22      for people to exercise their First
23      Amendment right, and if they are engaging
24      in tactics where they are attempting to
25      engage the police in baiting them somehow

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1                      A. RAGANELLA
2       to remain patient and not get their
3       emotions personally involved in the
4       policing of the demonstrators.
5               Q.    What training was developed to
6       remain in control and professional in
7       dealing with non-violent sidewalk
8       protestors?
9               A.    Repeat that.
10              Q.    What training was developed on
11      remaining in control and professional when
12      dealing with non-violent sidewalk
13      protestors?
14              A.    That would be the same training.
15      That covers both.
16              Q.    Okay. Perfect.
17                     That was all that I was asking you
18      for. We had to go circular to get it, but
19      we got there.
20              A.    Gotcha.
21              Q.    Throughout the year from September
22      2011 to August 2012, were there any
23      incidents on the street or anything while
24      delivering training that caused you to
25      update or modify any lesson plan regarding

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1                      A. RAGANELLA
2       Disorderly Conduct?
3               A.    Not that I recall.
4               Q.    Is there anything that you could do
5       to refresh your recollection?
6               A.    Not that I can think of.
7               Q.    Throughout the year, were there any
8       incidents on the street or anything while
9       delivering training that caused you to
10      update or modify any lesson plan regarding
11      the balance of mere inconvenience of
12      pedestrians versus a full impedance of
13      pedestrians.
14                                     MS. MITCHELL:          Objection.
15                                     You can answer.
16              A.    Not that I'm aware of.
17              Q.    Throughout the year, were there any
18      incidents on the street or anything while
19      delivering training that caused you to
20      update or modify any lesson plan regarding
21      the "clear and present danger" rule?
22                                     MS. MITCHELL:          Objection.
23                                     You can answer.
24              A.    Not that I'm aware of.
25              Q.    Throughout the year, were there any

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1                      A. RAGANELLA
2       incidents on the street or anything while
3       delivering training that caused you to
4       update or modify any lesson plan on the
5       time, place, and manner rule?
6                                      MS. MITCHELL:          Objection.
7                                      You can answer.
8               A.    Not that I'm aware of.
9               Q.    Throughout the year, were there any
10      incidents on the street or anything while
11      delivering training that caused you to
12      update or modify any lesson plan on
13      providing alternative location for people
14      to protest when giving a dispersal letter?
15                                     MS. MITCHELL:          Objection.
16                                     You can answer.
17              A.    Not that I'm aware of.
18              Q.    Throughout the year, were there any
19      incidents on the street or anything while
20      delivering training that caused you to
21      update or modify any lesson plan concerning
22      a means of egress after being a dispersal
23      order?
24                                     MS. MITCHELL:          Objection.
25                                     You can answer.

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1                      A. RAGANELLA
2               A.   Not that I'm aware of.
3               Q.   Alright. I'm going to mark this as.
4       Wait, that's 27. 28.
5               A.   Do I still need these?
6               Q.   I'd like to look at D-153. 1, 2,
7       no, that's the wrong document.
8                                     MS. MITCHELL:          Do you want
9                              this back?
10                                    MR. STECKLOW:          Yes,
11                             thanks.
12                                    (Document marked Exhibit
13                             28 for identification as of
14                             this date by the reporter.)
15              Q.   Alright. I'm showing you what's
16      been marked as, I think that's 28. It
17      starts at D-15339.
18                     Please go to D-15342.
19              A.   (Witness perusing document.)
20              Q.   Do you recognize that document?
21              A.   Yes.
22              Q.   And what is that document?
23              A.   It appears to be an instructor's
24      guide or lesson plan from the Police
25      Academy in regard to demonstrations.

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1                      A. RAGANELLA
2               Q.    I'm going to take this back for a
3       second and say that this has already been
4       marked by 5.
5                                      MS. MITCHELL:          Yeah.
6                                      MR. STECKLOW:          So, we're
7                              going to take the 28 off and
8                              use that for something else.
9                      So, this is 5.
10                                     I'm going to ask you to
11                             look at 15342.
12              Q.    I'm going to ask you to look at
13      number 5. That clause there. Is that part
14      of the training given at Disorder Control?
15              A.    In regard to "clear and present
16      danger", we have that in our guidelines,
17      legal guidelines, for demonstrations. Yes.
18              Q.    Is this standard accurate?
19                                     MS. MITCHELL:          Objection.
20                             Calls for legal conclusion.
21                                     You can answer.
22              A.    I'm not an attorney. I don't know.
23              Q.    You train and oversaw the training
24      of over 12,000 officers in this current
25      year that we're talking about plus many

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1                      A. RAGANELLA
2       more. So, I'm asking you, Is the standard,
3       i.e., blocking pedestrian traffic, the
4       standard for taking away somebody's right
5       to assemble?
6                                      MS. MITCHELL:          Objection.
7                                      You can answer.
8               A.    It very well could be.
9               Q.    Those three words by themselves,
10      that's sufficient?
11                                     MS. MITCHELL:          Objection.
12              A.    Depending on the context of what's
13      happening.
14              Q.    So that's the training that could
15      be given, is simply "blocking pedestrian
16      traffic"?
17              A.    I didn't say that.
18              Q.    Okay.
19                     So, you believe that this possibly
20      the correct standard.
21                                     MS. MITCHELL:          Objection.
22                                     You can answer.
23              A.    Again, given the circumstances
24      surrounding how and why pedestrian traffic
25      is being blocked, could absolutely present

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1                      A. RAGANELLA
2       a "clear and present danger."
3               Q.    By the way it's written, is that
4       sufficient to explain the standard?
5                                      MS. MITCHELL:          Objection.
6                                      You can answer.
7               A.    Again, the way it's written, I
8       could see how blocking pedestrian traffic
9       creates a "clear and present danger." Yes.
10              Q.    Okay. Is infringement of
11      unobstructed pedestrian passage the correct
12      standard for a disorderly conduct arrest
13      during a peaceful sidewalk protest in a
14      First Amendment setting?
15                                     MS. MITCHELL:          Objection.
16                             Calls for legal conclusion.
17                                     You can answer.
18              A.    Repeat the question.
19              Q.    Is the infringement of unobstructed
20      pedestrian passage the correct standard for
21      disorderly conduct arrest during a peaceful
22      sidewalk protest in a First Amendment
23      setting?
24                                     MS. MITCHELL:          Again.
25                                     Objection.

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1                      A. RAGANELLA
2                                      You can answer.
3               A.    I imagine it could be.
4               Q.    Is that what's trained at Disorder
5       Control?
6               A.    What's trained at Disorder Control
7       could conceivably take into consideration
8       that people engaged in protests and
9       demonstrations can block pedestrian traffic
10      on the sidewalks, yes. There is that
11      possibility.
12              Q.    Alright. Let me go back to what's
13      been previously marked as number 6.
14                     I'm going to ask you to look at
15      page 15278.
16              A.    Yes.
17              Q.    The first sentence at the top of
18      that page. It states. Can you read what it
19      states? We're talking about that first
20      sentence.
21              A.    Sure. We're talking about under "A.
22      Public Streets"?
23              Q.    Yes.
24              A.    "A strong governmental interest
25      must be established before a demonstration

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1                      A. RAGANELLA
2       on public streets may be restricted."
3               Q.    And then, what's the next sentence?
4               A.    "Inconvenience to the public
5       without more is not adequate reason, is not
6       an adequate reason, to restrict a
7       demonstration."
8                      Want me to keep reading or?
9               Q.    Is that the correct standard for
10      the sidewalk protest?
11                                     MS. MITCHELL:          Objection.
12                                     You can answer.
13              A.    I don't know.
14              Q.    Do you know what "strong government
15      interest" means?
16                                     MS. MITCHELL:          Objection.
17                                     You can answer.
18              A.    In legal terms? No.
19              Q.    In the way that you train at
20      Disorder Control.
21              A.    Yes.
22              Q.    And what does that mean in the way
23      that you train at Disorder Control?
24              A.    It means to me that the strong
25      governmental interest would mean that the

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1                      A. RAGANELLA
2       reason why the police department is moving
3       people or doing something in regard to
4       demonstrations or protests outweighs, that
5       ability to do that outweighs the right for
6       them to protest or demonstrate.
7               Q.    And is that how it's trained at
8       Disorder Control?
9               A.    Yes.
10              Q.    And how is it explained when
11      something outweighs the right to the
12      protest?
13              A.    We would most likely use examples
14      to the students that we're teaching to be
15      able to convey what an example of that
16      would be.
17              Q.    Okay.
18                     And for a pedestrian... Withdrawn.
19                     For a sidewalk protest to be
20      restricted, must it impact pedestrian
21      traffic?
22                                     MS. MITCHELL:          Objection.
23                                     You can answer.
24              A.    Repeat the question?
25              Q.    For a sidewalk protest to be

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1                       A. RAGANELLA
2       restricted, must it impact pedestrian
3       traffic?
4               A.    No.
5               Q.    What other reasons would there be
6       for a peaceful sidewalk protest to be
7       restricted?
8               A.    Public safety issue.
9               Q.    Okay. And what would the public
10      safety issue have to be for a peaceful
11      sidewalk protest to be restricted?
12              A.    I could give you an example.
13              Q.    Please.
14              A.    If I have a group of people that
15      are legally protesting and demonstrating on
16      the sidewalk and if I was the Incident
17      Commander that was there and one of my
18      Officers or a member of the public not
19      involved in the demonstration or protest
20      came to me and said, 'Excuse me, but
21      there's a suspicious package/knapsack
22      that's on the sidewalk there. I think there
23      might be a bomb in there. There's wires
24      hanging out of it.' For public safety
25      reasons, I have the right to restrict that

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1                      A. RAGANELLA
2       demonstration or protest and move them to a
3       different location.
4                                     MR. STECKLOW:          Okay. Let's
5                              watch the McCallan video.
6                                     MR. STARKEY:         Okay.
7               Q.   Okay. Now I'm going to show you
8       another video that's part of Exhibit 1,
9       Plaintiff’s Exhibit 1. We're going to start
10      it at, right around 45 seconds. I ask you
11      to watch this with me.
12              A.   Okay.
13                                    (Whereupon, the witness
14                             was shown a video.)
15                                    (Back on the record.)
16              Q.   40 seconds of video. Have you see
17      that video before?
18              A.   I don't recall seeing that.
19              Q.   Okay. You saw the arrest that
20      occurred there of the individual in what
21      looks to be like a purple t-shirt? He was
22      at the front of a march, correct?
23              A.   It appears that way.
24              Q.   The march was on a street and then
25      was coming through a scaffolding area,

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1                      A. RAGANELLA
2       correct?
3               A.    Correct.
4               Q.    The sidewalk was more narrow in the
5       scaffolding area, correct?
6               A.    Sure.
7               Q.    Was this crowd riotous?
8               A.    It didn't appear to be.
9               Q.    Were they peaceful?
10              A.    It appeared to be.
11      Q.    They were joyous, no? Dancing even?
12                                   MS. MITCHELL:           Objection.
13              A.    I can't tap into their emotions
14      but --
15              Q.    Were they dancing?
16              A.    I didn't see anybody dancing.
17              Q.    Let's go back. Does it look like
18      some people are dancing?
19              A.    Those are pretty bad dance moves,
20      but yeah. I didn't see that as a dance move
21      I guess.
22              Q.    All right. Do you see pedestrians
23      in here who are trying to go against the
24      march and can't got against the march, who
25      are having a difficult time on the

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1                       A. RAGANELLA
2       sidewalk?
3                                    MS. MITCHELL:          Objection.
4                                       You can answer.
5               A.    I did see an individual step out
6       into the roadway and come back around the
7       sidewalk.
8               Q.    Was that [crosstalk] --
9               A.    Traveling in the same direction.
10              Q.    Somebody with a camera who was
11      photographing?
12              A.    Correct.
13              Q.    You see the police are in the
14      middle of the street, as well as, you know,
15      close to the curb, but in the street?
16              A.    Yes.
17              Q.    Do you believe that the arrest of
18      the individual in the purple shirt is
19      consistent with the training received at
20      Disorder Control?
21                                   MS. MITCHELL:          Objection.
22                                      You can answer.
23              A.    I don't know what he was arrested
24      for.
25              Q.    If he was arrested for disorderly

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1                      A. RAGANELLA
2       conduct or blocking pedestrian traffic,
3       would that be consistent with the training
4       received at Disorder Control?
5                                   MS. MITCHELL:          Objection.
6                                      You can answer.
7               A.    Based solely on the few seconds of
8       the video that I saw I would say not from
9       what I saw, no.
10              Q.    Okay. I'm going to show you another
11      video and then ask a similar question.
12              A.    Can you just tilt it? Yeah, that's
13      perfect.
14              Q.    Can you see the video?
15              A.    Yes, sir.
16                                     (Whereupon, the witness
17                             was shown a video.)
18                                     (Back on the record.)
19              Q.    I'm interested in the first person
20      that's arrested, did you see him?
21              A.    Difficult to see.
22              Q.    Were you able to see anything that
23      individual had done that would warrant his
24      arrest there?
25                                   MS. MITCHELL:           Objection.

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1                      A. RAGANELLA
2                                      You can answer.
3               A.    First time I see that individual he
4       appears to be in handcuffs.
5               Q.    Did it seem that a line of officers
6       was led onto the sidewalk to what I would
7       say deep into the sidewalk, just meaning
8       away from the curb line towards the
9       building, and that's where they identified
10      and picked up that individual and arrested
11      him?
12                                     MS. MITCHELL:          Objection.
13                                     You can answer.
14              A.    We're talking about that first
15      individual?
16              Q.    Yeah. Pause for a second. These
17      individuals here that are lining up, are
18      they members of the task force?
19              A.    They appear to be.
20              Q.    Do you know who this individual is
21      in the white shirt who seems to be
22      supervising them?
23              A.    I do not, but he wouldn't be the
24      supervisor of the task force --
25                                     (Whereupon, the witness

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1                       A. RAGANELLA
2                               was shown a video.)
3                                       (Back on the record.)
4               Q.    I've stopped it at 1:43. At this
5       point, does it seem that there's a line of
6       blue shirt officers heading off the street,
7       off the curb line, into the sidewalk?
8               A.    Yes.
9               Q.    Not the edge of the sidewalk, but
10      towards the building line of the sidewalk,
11      correct?
12              A.    Correct.
13              Q.    We can't tell any reason why they
14      would be doing that from the video we're
15      watching, correct?
16              A.    I would have no way of knowing
17      that.
18              Q.    It's showing a lot of different
19      people in different areas and they seem to
20      have gone away from the people who are on
21      the street and onto the sidewalk, correct?
22              A.    Those particular officers, yes.
23              Q.    They now, against the building
24      line, have detained one individual,
25      correct?

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1                      A. RAGANELLA
2                                   MS. MITCHELL:          Objection.
3                                      You can answer.
4               A.    It doesn't seem like it's against
5       the building though, it seems like it's
6       against the entrance to a location, a
7       financial location it looks like, the
8       doorway entrance.
9               Q.    Okay, so did you see any reason ...
10      I understand it's hard to see here and I'll
11      show you another video, I'm asking you in
12      this video, were you able to see any reason
13      why this individual was picked out of that
14      entire crowd for arrest?
15                                  MS. MITCHELL:          Objection.
16                                     You can answer.
17              A.    Yes.
18              Q.    What was that?
19              A.    It appeared to me, from the
20      location where I first observed him, that
21      he was standing in front of the entrance to
22      a location.
23              Q.    You think he may have been blocking
24      the doorway and that would give cause for
25      his arrest?

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1                       A. RAGANELLA
2               A.    It's possible.
3               Q.    Let's watch the other video. Okay.
4       Can you see the video?
5               A.    Yeah.
6               Q.    Okay. This white shirt officer
7       here?
8               A.    Yes.
9               Q.    Who is that?
10              A.    Chief Hall [phonetic].
11              Q.    Okay. Was Chief Hall the one who
12      led into that crowd and grabbed that
13      individual?
14              A.    I don't know, I can't tell.
15              Q.    Is this Chief Hall?
16              A.    No.
17              Q.    Who is that?
18              A.    That's Captain Gromner [phonetic],
19      who was the commanding officer for Brooklyn
20      North Task Force.
21              Q.    Okay, so he was the first one to
22      put hands on this individual, correct?
23              A.    From that ... I don't know what
24      happened prior to this, but from what I'm
25      seeing here, he's the first one.

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1                       A. RAGANELLA
2               Q.    Is he the only officer with his
3       hands on this individual?
4               A.    At this point, yes.
5               Q.    Okay. Are there other officers
6       within the screen at this point? Or is he
7       the only officer in the screen?
8               A.    He's the only officer I see in the
9       screen at this point.
10              Q.    Okay. Other than your statement
11      earlier that perhaps he was arrested for
12      blocking the doorway, is there any other
13      reason you can come up with or you can
14      identify that would establish a probable
15      cause for this man's arrest?
16              A.    Sure.
17              Q.    What is that?
18                                   MS. MITCHELL:          Objection.
19                                      You can answer.
20              A.    He may have committed a homicide,
21      he may have threw a bottle, I don't know
22      what he did.
23              Q.    Okay. From what you can see in the
24      video is there any reason, other than the
25      doorway that you've identified, for him to

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1                      A. RAGANELLA
2       have been arrested?
3               A.    I can't see much in the video, so
4       no.
5               Q.    Did you hear any warnings for
6       people to move away from the door, prior to
7       his arrest?
8                                   MS. MITCHELL:          Objection.
9                                      You can answer.
10              A.    As the person, whoever's video this
11      is, walks up ... I don't know what happened
12      prior to that, but from the moment that
13      that video camera comes up to that
14      individual, I did not hear any warnings.
15              Q.    We watched another video before
16      this that was... video that showed the
17      arrest from a different angle, correct?
18              A.    Correct.
19              Q.    In that video did you hear any
20      warnings about blocking the doorway prior
21      to the arrest?
22              A.    I did not hear that, no.
23              Q.    That video showed a bit longer of
24      the moments before the arrest, correct?
25                                  MS. MITCHELL:          Objection.

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1                      A. RAGANELLA
2                                      You can answer.
3               A.    From farther away and a different
4       angle, yes.
5               Q.    Would it be consistent with
6       Disorder Control training to arrest
7       somebody in front of a doorway without
8       giving them a warning?
9               A.    That could potentially happen, yes.
10              Q.    When would that happen?
11              A.    When there's an offense that's
12      committed in front of an officer and he has
13      probable cause to make an arrest, there's
14      no requirement that he has to be given a
15      warning first.
16              Q.    If someone's standing in front of a
17      doorway, would somebody have to be blocked
18      from entering or exiting before that could
19      occur, before an arrest could happen with
20      probable cause?
21              A.    That would most likely taken into
22      consideration to establish probable cause,
23      sure.
24              Q.    Can they establish probable cause
25      for blocking a doorway if nobody is trying

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1                       A. RAGANELLA
2       to enter or exit that doorway?
3               A.    If they're being charged with
4       disorderly conduct, and again, I'm not an
5       attorney, but I think the way the statute
6       reads is that you have to intentionally or
7       recklessly create a risk thereof. By
8       standing in front of a doorway, even though
9       somebody wasn't in actuality blocked, they
10      created a risk thereof. That may establish
11      probable cause.
12              Q.    Okay. Outside of that, we've
13      already ... Withdrawn. If this individual
14      is arrested for blocking pedestrian
15      traffic, do you see a reason why he was
16      chosen for that arrest as opposed to
17      anybody else on the sidewalk?
18                                   MS. MITCHELL:          Objection.
19                                      You can answer.
20              A.    Well, there were multiple people
21      there from what I gathered from what I saw,
22      and the way that we train when we make
23      arrests in situations such as this, we
24      handle one arrest at a time. We're not
25      arresting multiple people all at the same

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1                      A. RAGANELLA
2       time when they're fluid in motion, if that
3       helps you.
4               Q.    That does not.
5               A.    Okay. I'm sorry.
6               Q.    I'm asking if you can identify a
7       blocking pedestrian traffic charge here, a
8       probable cause for that arrest in this
9       instance.
10                                  MS. MITCHELL:          Objection.
11                                     You can answer.
12              A.    For me to establish probable cause,
13      me personally as an officer to establish
14      probable cause, I have to be able to take
15      into consideration facts and circumstances
16      that are known to me. I don't have that
17      from the clip of the video that you're
18      showing me. I don't know what happened
19      prior to that. I don't know if he was given
20      a warning. I don't know if there were
21      multiple people trying to get out of that
22      doorway, and when they saw the police
23      coming they turned around and went the
24      other way and now we don't see them in that
25      video clip ... I can't tell you that I have

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1                       A. RAGANELLA
2       probable cause.
3               Q.    I'm asking about blocking
4       pedestrian traffic [crosstalk]...the
5       doorway, that was the question.
6               A.    Okay, okay.
7               Q.    I'm asking if in either of these
8       videos you can see probable cause to arrest
9       this individual for blocking pedestrian
10      traffic?
11                                   MS. MITCHELL:          Objection.
12                                      You can answer.
13              A.    That's possible.
14              Q.    How is it possible?
15              A.    Because it appeared to me that
16      there were multiple people on the sidewalk
17      and it didn't look to me as if uninvolved
18      passersby would be able to walk down that
19      sidewalk without stepping out into the
20      street and around the group that was on the
21      sidewalk.
22              Q.    The reason to arrest this
23      individual, who's deep into the sidewalk
24      towards the building, for that, would be to
25      intimidate and put fear into the rest of

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1                       A. RAGANELLA
2       the protestors, correct?
3                                    MS. MITCHELL:          Objection.
4                                       You can answer.
5               A.    Those are your words, not mine. I
6       don't know what was in the officer's mind
7       that made the arrest or the supervisor who
8       may or may not have directed that.
9               Q.    You trained in at least two
10      separate locations in Disorder Control
11      about the psychological impact of having a
12      large group of officers show up, about
13      wearing the military type of uniform and
14      equipment, so isn't it true that the
15      psychological impact is what we're seeing
16      here? That someone's being arrested deep on
17      the sidewalk because it impacts the rest of
18      the protestors.
19                                   MS. MITCHELL:          Objection.
20                                      You can answer.
21              A.    No.
22              Q.    That's not possible that that's
23      what's going on here?
24              A.    That's not, no, I'm not ... What
25      I'm saying is that's not what we train for.

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1                      A. RAGANELLA
2               Q.    You do train about the
3       psychological impact of the police force
4       around groups, correct?
5               A.    Riotous and civil disturbance, yes.
6       Not lawful demonstrations and protests.
7               Q.    Was this riotous, this instance?
8               A.    As far as I'm concerned, no.
9               Q.    Therefore, the police shouldn't be
10      treating it as such, correct?
11              A.    The police what?
12              Q.    Should not be treating it as a
13      riotous situation, correct?
14                                  MS. MITCHELL:          Objection.
15                                     You can answer.
16              A.    Correct.
17              Q.    These people are involved in
18      expressive speech activity protected by the
19      First Amendment, correct?
20                                   MS. MITCHELL:           Objection.
21              A.    Up to the point that they commit
22      and offense, yes.
23              Q.    The offense of being on the
24      sidewalk is sufficient for them to be
25      arrested in this instance?

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1                      A. RAGANELLA
2                                   MS. MITCHELL:          Objection.
3                                      You can answer.
4               A.    If I had all the facts and
5       circumstances, what's happened prior to the
6       arrest, it's very well possible.
7               Q.    Marking that as 28. I'm going to
8       ask you to look at this and tell me if
9       you've seen it before. This is a document
10      that's previously been Bates stamped
11      D19452. Do you recognize this document?
12              A.    Just give me one minute to review.
13      Yes.
14              Q.    Okay. What is this document?
15              A.    This is an email communication
16      between myself and a lieutenant who worked
17      in the chief of the department's office.
18              Q.    What is it about?
19              A.    It's in regard to the ratio of
20      police officers to arrestees.
21              Q.    This concerns arresting officers or
22      processing officers, what does it concern?
23              A.    Both.
24              Q.    Why don't you explain the
25      distinction?

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1                      A. RAGANELLA
2               A.    When we train the task forces on
3       massive arrest techniques, meaning we have
4       protestors who want to be arrested during
5       civil disobedience, we trained at that time
6       that in a slow-paced incident where there
7       wasn't a rush, or a public safety issue and
8       the protestors may have been passively
9       resisting or just passive, we would assign
10      one officer to take up to five arrests so
11      that we could maximize our resources and
12      not lose one officer for every single
13      person arrested is what we train for. In
14      this particular email it seems that there
15      was an issue of multiple officers taking
16      single arrests and that's what was being
17      conveyed to me.
18              Q.    What was the department response to
19      this email?
20              A.    Well, my response was that I would
21      remind the patrol borough task force COs
22      that during a mass arrest situation to
23      remind them about the standard or the
24      guideline that we have, the recommendation
25      of one AO, meaning arresting officer, for

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1                      A. RAGANELLA
2       every five arrestees.
3               Q.    That would be the same arresting
4       officer identified in all of the arrest
5       paperwork, correct?
6               A.    I'm not clear on what you're
7       asking.
8               Q.    You're saying that it is the
9       training that for every arresting officer,
10      they should have at least five arrestees,
11      correct?
12              A.    Not at least. A maximum of five.
13              Q.    Okay, but when they have less, here
14      it talks about possibly having just two,
15      that was a problem, a sufficient enough
16      problem, to cause emails back and forth
17      between you and the chief of the
18      department's office, correct?
19              A.    Correct.
20              Q.    The idea is to maximize and hit
21      five, correct?
22              A.    I'm sorry?
23              Q.    To maximize and make sure that
24      every arresting officer has five arrestees.
25              A.    If it's a mass arrest situation,

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1                      A. RAGANELLA
2       yes.
3               Q.    That arresting officer will be
4       listed as the arresting officer for all
5       five of those arrestees' paperwork.
6               A.    Correct.
7               Q.    Even though they are likely not the
8       person who physically arrested that
9       individual, correct?
10              A.    Well --
11              Q.    The arresting officer is not
12      necessarily the person who physically takes
13      a person and puts the cuffs on, correct?
14              A.    That's possible. If the arrest is
15      assigned to somebody. In other words, an
16      officer could observe the offense and
17      establish the probable cause and another
18      officer could be assigned the arrest, the
19      processing.
20              Q.    That's the way that you train,
21      correct?
22              A.    That's a possibility. It doesn't
23      necessarily have to go that way.
24              Q.    If the arresting officer does not
25      observe the arrest, that's a problem,

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1                       A. RAGANELLA
2       correct?
3                                    MS. MITCHELL:          Objection.
4                                       You can answer.
5               A.    If somebody is arrested without
6       probable cause, that's an issue.
7               Q.    I'm not saying that. I'm saying if
8       the arresting officer, the person who was
9       assigned the arrest, does not actually
10      observe the arrest, that's a problem, isn't
11      it?
12              A.    No, it's not.
13              Q.    Why is that not a problem?
14              A.    Because if an officer is assigned
15      an arrest, he can establish probable cause
16      through another officer that relays the
17      information to him.
18              Q.    Now the arresting officer in that
19      situation has no firsthand knowledge of the
20      actual conduct that caused the arrest,
21      correct?
22              A.    The arresting officer or the
23      assigned officer?
24              Q.    The assigned officer is now the
25      arresting officer, correct?

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1                      A. RAGANELLA
2               A.    No. We make the distinction between
3       an arresting officer and an assigned
4       officer and it stays that way throughout
5       the process.
6               Q.    In the police paperwork it'll list
7       both?
8               A.    It should.
9               Q.    Okay. Have you ever reviewed police
10      paperwork to see if it does list both?
11              A.    On occasion, yes.
12              Q.    Okay. Would it be inconsistent with
13      the training if it doesn't list both?
14              A.    Yes.
15              Q.    That would be a problem because
16      then you don't know who has firsthand
17      knowledge of the actual arrest, correct?
18              A.    Correct.
19              Q.    In mass arrest situations it
20      becomes more difficult to keep that
21      straight, correct?
22              A.    Yes.
23              Q.    You provide training in order to
24      help the police keep that straight because
25      it's important, correct?

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1                      A. RAGANELLA
2               A.   Yes, sir.
3               Q.   In response to this email, was
4       training modified in any fashion?
5               A.   Training lesson plans were not
6       modified in any way other than myself
7       putting the word out to the patrol borough
8       task force COs regarding the issue.
9       However, in this particular email I don't
10      know that the concern from the chief of
11      department's office concerned a mass arrest
12      situation or a situation such as the video
13      that we just watched, which is not
14      considered a mass arrest situation. Because
15      in that particular instance, such as what
16      we saw on the video, I have no issue with
17      one officer taking one arrest.
18              Q.   In which instance are we talking
19      about?
20              A.   The last video that we watched on
21      the sidewalk.
22                                    MR. STECKLOW:          All right.
23                             I'm going to take a five-minute
24                             break.
25                                    The time is now 4:26 and

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1                      A. RAGANELLA
2       we're taking a five-minute break.
3                                     (Whereupon, a short recess
4                              was taken.)
5                                     (Back on the record.)
6                                     MR. STECKLOW:          The time is
7                              now, 4:34 and we're back on the
8                              record. I am going to mark the
9                              next document ...
10                                   MS. MITCHELL:         I think
11                             29.
12                                    MR. STECKLOW:          29.
13                                    (Document marked Exhibit
14                             29 for identification as of
15                             this date by the reporter.)
16                                   MS. MITCHELL:         28 was the
17                             email.
18                                    MR. STECKLOW:          Okay. 29.
19                                    There we go. Thank you.
20              A.   (Witness perusing document.)
21              Q.   Okay. Do you recognize this
22      document?
23              A.   Yes.
24              Q.   It has your name on it, does it
25      not?

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1                      A. RAGANELLA
2               A.    It does.
3               Q.    In the very beginning of this
4       document, in number one, can you read that
5       out loud?
6               A.    I'm sorry? Say --
7               Q.    Can you read number one?
8               A.    Paragraph one?
9               Q.    The first sentence out loud.
10              A.    "Consistent with OG 101-04, the
11      Disorder Control Unit is tasked with
12      conducting tactical reviews and assessing
13      department strategies at major events."
14              Q.    Okay, so is that accurate?
15              A.    According to the Organizational
16      Guide 101-04, yes.
17              Q.    That is one of the responsibilities
18      of Disorder Control, correct?
19              A.    Correct.
20              Q.    "Tactical reviews and assessing
21      strategies at major events", does that
22      include how police ... Withdrawn.
23                     Does that include reviewing police
24      conduct at sidewalk protests?
25              A.    It could.

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1                      A. RAGANELLA
2               Q.    Does that include reviewing how the
3       police acted at sidewalk protests and
4       whether or not their conduct was
5       constitutionally compliant?
6               A.    I guess, potentially, we could be
7       asked our recommendations on it or if it
8       could be something if it was some type of a
9       misconduct incident to be investigated by
10      internal affairs, there's different
11      situations.
12              Q.    Okay. That document that you're
13      reviewing, it was critical of the police
14      response on 11-15-11, correct?
15                                  MS. MITCHELL:          Objection.
16                                     You can answer.
17              A.    Repeat the question?
18              Q.    The document you're reviewing...
19              A.    Yeah.
20              Q.    ... found imperfections with the
21      police conduct on November 15th, 2011
22      during the eviction of Occupy Wall Street
23      from Zuccotti Park.
24                                   MS. MITCHELL:           Objection.
25                                     You can answer.

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1                      A. RAGANELLA
2               A.    Can I have a moment to review this?
3               Q.    You can. I think while you're doing
4       that I'm going search for another video
5       that occurred during the police response to
6       Zuccotti Park on November 15th, 2011?
7                                   MS. MITCHELL:          Objection.
8                                      You can answer.
9               A.    It makes recommendations on how to
10      do things better, yes.
11              Q.    Because that was part of what you
12      were tasked with as head of Disorder
13      Control, correct?
14              A.    That's correct.
15              Q.    That comes out of OG 101-04?
16              A.    Correct.
17              Q.    Based on this document, were any
18      changes or adjustments or revisions given
19      to members of the service in the field?
20              A.    This was a review and
21      recommendation that was sent up my chain of
22      command to the commanding officer of the
23      special operations division. I do not know
24      what he did with it after that.
25              Q.    Did you make any changes to your

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1                       A. RAGANELLA
2       training at Disorder Control as a result of
3       the facts described within this document?
4               A.    No.
5               Q.    Did you submit any other critical
6       reviews of police conduct during Occupy
7       Wall Street?
8                                    MS. MITCHELL:          Objection.
9                                       You can answer.
10              A.    Other than what we discussed?
11              Q.    Yes.
12              A.    Not that I'm aware of.
13              Q.    Okay. Did you receive any
14      directives from supervisors to modify or
15      change the Disorder Control training
16      program in response to Occupy Wall Street
17      events?
18              A.    Not that I recall, no.
19              Q.    Did you direct any members of
20      Disorder Control to look for deficiencies
21      in training while they were being
22      conducted?
23              A.    Always.
24              Q.    Did this relate specifically to
25      First Amendment training?

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1                      A. RAGANELLA
2                                   MS. MITCHELL:          Objection.
3                                      You can answer.
4               A.    I don't understand the question.
5               Q.    I asked if you had any of your
6       members look for deficiencies in training,
7       you said always. I asked if it was in
8       relation to First Amendment training.
9               A.    All training.
10              Q.    Okay, so what specific deficiencies
11      were reported to you concerning First
12      Amendment training at Disorder Control?
13              A.    None that I recall.
14              Q.    Did you ever hear from anybody
15      about a deficiency in sidewalk protest
16      training at Disorder Control?
17                                  MS. MITCHELL:          Objection.
18                                     You can answer.
19              A.    Not that I recall.
20                                     (Document marked Exhibit
21                             30 for identification as of
22                             this date by the reporter.)
23              Q.    I'm going to mark as 30, this
24      document. Previously Bates stamped as 5389.
25      I ask you to look at it and let me know

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1                       A. RAGANELLA
2       after you've had a chance to do so. Have
3       you seen this document before?
4               A.    Yes.
5               Q.    It's an email that you had with
6       somebody?
7               A.    Correct.
8               Q.    Is that a person who used to be on
9       the job with you?
10              A.    Yes, sir. It was one of my
11      lieutenants who had retired.
12              Q.    All right. This is in regard to
13      feedback on Disorder Control training?
14              A.    No, it was regard to a checklist
15      that I had created for the department.
16              Q.    Was it a checklist that was
17      relevant to Occupy Wall Street protests?
18              A.    Relevant to all situations where
19      there's a critical incident.
20              Q.    What do you mean by "critical
21      incident"?
22              A.    Anytime where there's any type of
23      emergency incident, critical incident, mass
24      demonstration, there's a lot of things that
25      are under the umbrella of what this

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1                      A. RAGANELLA
2       checklist would cover.
3               Q.    The checklist covered mass
4       demonstration?
5               A.    If it was determined to be a
6       critical incident or some type of an
7       emergency incident, yes.
8               Q.    What would make a mass
9       demonstration a critical incident?
10              A.    If it became a civil disturbance or
11      riotous.
12              Q.    A mass demonstration by itself
13      would not be relevant to the checklist?
14              A.    Probably not. I would have to
15      actually look at the checklist to refresh
16      my recollection on it.
17              Q.    Okay. Do you see about halfway down
18      in the email to you, this individual says
19      ... It starts with the word "stress", do
20      you see that?
21              A.    Yes.
22              Q.    Can you read that sentence?
23              A.    "Stress psychological impact of
24      officers marching to location rather than
25      coming in as loose group."

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1                      A. RAGANELLA
2               Q.    What do you think he meant by that?
3               A.    Exactly what we were discussing
4       prior about the psychological advantages of
5       us acting as a force multiplier when we
6       march in a military fashion during a civil
7       disturbance or a riot.
8               Q.    But you don't believe the police
9       should be doing that for demonstrations or
10      protests that are not riotous, correct?
11              A.    I do believe that they should be
12      doing that when we ... In other words, when
13      we ... The whole concept behind the patrol
14      borough task forces is that they're a team
15      and they act as a team, a disciplined team.
16      Which is the whole reason why the armed
17      services uses lines and formations, it's to
18      efficiently move a group of individuals or
19      officers from one location to another in a
20      professional and a disciplined manner. It
21      doesn't necessarily imply that they're
22      trying to be imposing or militaristic to
23      impose their will on somebody. It's a
24      matter of efficiency at that point.
25              Q.    But there is a psychological impact

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1                      A. RAGANELLA
2       that comes with that, correct?
3                                    MS. MITCHELL:           Objection.
4               A.    There certainly could be.
5               Q.    Previously we looked at a document
6       that previously marked as 13942, which was
7       the unusual incident report around the
8       January 1st incident, and we watched a
9       little video. Do you recall seeing that
10      document?
11              A.    Yes.
12              Q.    Okay. You had testified that you
13      hadn't seen that document before, correct?
14              A.    I don't recall if that's what I
15      said.
16              Q.    This isn't a trick...
17              A.    [crosstalk] if that's what I ... I
18      didn't think that you were trying to trick
19      me, I just really don't recall that.
20                                     (Document marked Exhibit
21                             31 for identification as of
22                             this date by the reporter.)
23              Q.    Okay. I'm now going to show you
24      what's been marked as 31 --
25              A.    Thank you for not trying to trick

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1                      A. RAGANELLA
2       me.
3                                     (Document marked Exhibit
4                              32 and 33 for identification as
5                              of this date by the reporter.)
6               Q.   32 and 33.
7               A.   (Witness perusing document.)
8               Q.   These are three other unusual
9       incident reports arising out of Occupy Wall
10      Street. I'd ask you to look at them and let
11      me know if you've ever seen them before.
12      I'll tell you that. 31 is related to 11-17-
13      11.
14              A.   This one wasn't marked. I don't
15      know if you marked the other ones or not.
16              Q.   30, 31 is 11-17-11, 32 is related
17      to 10-1-11, and 33 is related to 03-17-12.
18      I'd ask you to look at those and let me
19      know if you've ever seen any of these
20      before.
21              A.   (Witness perusing document.)
22              Q.   Let me see if I can get your
23      counsel a copy.
24                                   MS. MITCHELL:         11-17 of
25                             what year?

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1                      A. RAGANELLA
2                                      MR. STECKLOW:          2011.
3                                   MS. MITCHELL:          Thank you.
4               A.    (Witness perusing document.)
5               Q.    Okay. Have you ever seen these
6       documents before?
7               A.    Not that I recall seeing them, no.
8               Q.    Okay, so even though OG 101-04
9       tasked Disorder Control with conducting
10      tactical reviews and assessing department
11      strategies at major events, when there was
12      an unusual incident report written about a
13      major event that occurred at Occupy Wall
14      Street, those were not shared with Disorder
15      Control. Is that correct?
16              A.    In these particular incidents, no.
17              Q.    As well as the incidents we went
18      over that, the January 1 incidents,
19      correct?
20              A.    Correct.
21              Q.    At least in these four, the unusual
22      incident reports were not shared with
23      Disorder Control.
24              A.    Correct.
25              Q.    Disorder Control could not do a

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1                      A. RAGANELLA
2       review or overview or oversight of the
3       tactics and department strategies at these
4       events, correct?
5               A.    Correct.
6               Q.    Are you familiar with the term
7       "legal bureau bulletin"?
8               A.    Yes.
9               Q.    Okay. What is a legal bureau
10      bulletin?
11              A.    A legal bureau bulletin is a
12      document that is produced by our legal
13      bureau in the police department which
14      informs officers in the department as to
15      legal implications of their job performance
16      based on some type of a legal issue or a
17      court case.
18              Q.    Are these required readings for all
19      the members of the service? Are they
20      considered part of the training? What is
21      their role within the NYPD?
22              A.    They're available on the department
23      intranet for officers to read, and then
24      some of them are also incorporated into
25      what we discussed earlier with the command

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1                       A. RAGANELLA
2       level training, where the training
3       sergeants in the commands would actually
4       instruct officers at roll call about them.
5               Q.    How is that reviewed? how is that
6       known to actually occur?
7               A.    I'm not clear on what you're
8       asking.
9               Q.    how do you know that these legal
10      bureau bulletins are actually being read,
11      being trained upon?
12                                   MS. MITCHELL:          Objection.
13                                      You can answer, if you
14                              know.
15              A.    Training sergeants in particular
16      commands or units, when they do require
17      training such as command level training
18      they will keep some type of a log or a
19      record of the officers that were trained
20      and what the topic was that they were
21      trained on.
22              Q.    That's at the command level.
23              A.    Correct.
24              Q.    I'm going to show you what's now
25      been marked as 34 and ask if you've ever

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1                      A. RAGANELLA
2       seen this item before.
3               A.   Yes.
4                                     (Document marked Exhibit
5                              34 and 35 for identification as
6                              of this date by the reporter.)
7               Q.   I believe during your prior
8       deposition in the case matter you were
9       shown this document as well as what's been
10      marked as 35 and you testified that in fact
11      between 1971, which is document 34, and
12      2017, which is 35, there was no additional
13      legal bureau bulletin updating disorderly
14      conduct standards. Is that correct?
15              A.   I believe that's what I testified
16      to.
17              Q.   Do you still believe that to be
18      true?
19              A.   To the best of my knowledge, yes.
20              Q.   Do you know if the standards for
21      disorderly conduct changed at all between
22      1971 and 2017?
23              A.   I don't understand what you mean by
24      "standards".
25              Q.   There are standards and elements to

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1                       A. RAGANELLA
2       each crime that are part of the New York
3       State penal law, correct?
4               A.    Okay.
5               Q.    Yes?
6               A.    Yes.
7               Q.    The NYPD is tasked with enforcing
8       those penal laws, correct?
9               A.    Yes.
10              Q.    They need to understand not just
11      the words that the statutes are written
12      with but what their standards are, how
13      they're interpreted. Correct?
14              A.    Correct.
15              Q.    Okay, so that's what I mean. I'm
16      asking you if between 1971 and 2017 did the
17      standard for disorderly conduct in New York
18      change?
19                                   MS. MITCHELL:          Objection.
20                                      You can answer, if you
21                              know.
22              A.    I don't know.
23              Q.    You've seen the 2007 Jones
24      bulletin, correct?
25              A.    Correct.

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1                      A. RAGANELLA
2               Q.    That was because in 2007 there was
3       a New York State Court of Appeals case,
4       People v. Jones, that interpreted the
5       disorderly conduct statute in a way that
6       somebody at the NYPD felt was important
7       enough to disseminate to the rest of the
8       members of the service, correct?
9                                    MS. MITCHELL:           Objection.
10                                     You can answer.
11              A.    Potentially, yes.
12              Q.    Did that case, the Jones case,
13      change the standards for disorderly conduct
14      in New York?
15                                  MS. MITCHELL:          Objection.
16                                     You can answer, if you
17                             know.
18              A.    I do not know.
19              Q.    Did the Disorder Control Unit
20      change its training in any fashion because
21      of the Jones case that came down in 2007?
22              A.    It did not.
23              Q.    Did the Disorder Control Unit
24      change ... Withdrawn. Does the NYPD
25      understand that members of the service at

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1                      A. RAGANELLA
2       some point will be called on to police
3       sidewalk protests?
4               A.    Repeat that.
5               Q.    This is again, now we're clearly in
6       the 30 (B)(6) area, does the NYPD know that
7       the members of the service at some point
8       would be called upon to police sidewalk
9       protests?
10                                  MS. MITCHELL:          Objection.
11                                     You can answer.
12              A.    Potentially.
13              Q.    They're not sure if anyone will
14      ever have to police sidewalk protests?
15              A.    What I meant was potentially some
16      officers may be required to do that, not
17      all officers.
18              Q.    We can agree that some officers
19      will absolutely be required to do that at
20      some point, correct?
21              A.    100 percent.
22              Q.    That some of those members of
23      service will actually arrest individuals
24      participating in sidewalk protests at some
25      point, correct?

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1                      A. RAGANELLA
2               A.    Yes.
3               Q.    That an arrest for disorderly
4       conduct where the sidewalk protestor's
5       conduct does not create the level of public
6       inconvenience required to create probable
7       cause would cause a constitutional
8       violation, correct?
9                                   MS. MITCHELL:          Objection.
10                                     You can answer.
11              A.    I'm not an attorney so I wouldn't
12      know.
13              Q.    You understand ... You train on the
14      constitution, correct?
15              A.    Correct.
16              Q.    More than just the words and the
17      history of it, which is a large part of the
18      training, correct?
19              A.    Yes.
20              Q.    You, as the former commanding
21      officer of Disorder Control training, would
22      have an understanding of the constitutional
23      protections around sidewalk protests. Isn't
24      that correct?
25              A.    Sure.

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1                      A. RAGANELLA
2               Q.    Okay, so with that understanding
3       don't the members of the service need to
4       understand the level of public
5       inconvenience required to create probably
6       cause in order to avoid constitutional
7       violations in arrest situations?
8                                   MS. MITCHELL:          Objection.
9                                      You can answer.
10              A.    I believe that they do.
11              Q.    You believe they do understand
12      that?
13              A.    Yes.
14              Q.    Although you previously testified
15      that it cannot be trained?
16                                   MS. MITCHELL:           Objection.
17                                     You can answer.
18              A.    Correct.
19              Q.    But you believe the members of the
20      service have that knowledge.
21              A.    I believe that the members of the
22      service have the knowledge to understand
23      what probable cause is and how that can
24      impact demonstrations and protests, yes.
25              Q.    You believe that Disorder Control

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1                      A. RAGANELLA
2       trains that.
3               A.    Yes. It's discussed.
4               Q.    Does Disorder Control do sergeant
5       leadership courses? Is that part of what
6       you're tasked with?
7               A.    Yes, but not in the realm of the
8       topic of leadership. During the time that a
9       sergeant, lieutenant, or captain is
10      promoted, and they are in training with the
11      police academy leadership section, the
12      Disorder Control Unit will come in and do
13      training with them.
14              Q.    Were any training materials at
15      Disorder Control updated due to a third-
16      party's complaint to the city of New York
17      or the NYPD concerning the conduct of
18      police officers at any sidewalk protest
19      held in New York City during the relevant
20      time period?
21                                  MS. MITCHELL:          Objection.
22                                     You can answer.
23              A.    Not that I'm aware of.
24              Q.    During the relevant ... Withdrawn.
25                     During the class periods now, which

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1                       A. RAGANELLA
2       was September 15 to 17, 2012, did the city
3       of New York and the NYPD, in connection
4       with any Occupy protest, designate any
5       specific area as a place where sidewalk
6       protestors could go to exercise their First
7       Amendment rights?
8                                    MS. MITCHELL:          Objection.
9                                       You can answer, if you
10                              know.
11              A.    I don't know.
12              Q.    During the class period, deemed
13      September 15 to 17, 2012, did the city of
14      New York and the NYPD, in connection with
15      any Occupy protest, provide pre-written
16      disbursal orders to members of the service?
17              A.    Repeat that question again.
18              Q.    During the class period...
19              A.    Right. Sorry.
20              Q.    ... did the city of New York and
21      the NYPD, in connection with any Occupy
22      protest, provide pre-written disbursal
23      orders to the members of the service?
24              A.    Yes.
25              Q.    We would make a request for the

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1                      A. RAGANELLA
2       production of that. We've made that request
3       and we've been told they don't exist.
4                                     MS. MITCHELL:          I believe
5                              the response is that we've
6                              provided you with everything we
7                              have in our custody at Control.
8                              If you'd like to make further
9                              inquiries with this witness I
10                             would invite you to do that.
11                                    MR. STECKLOW:          Well, the
12                             witness just testified that
13                             they exist.
14                                    MS. MITCHELL:          I don't
15                             believe that's what he said,
16                             but --
17              Q.   Do you know they were distributed?
18              A.   The pre-written arrest warnings?
19              Q.   Yes.
20              A.   They could distributed by an
21      incident commander at the scene of an event
22      prior to deploying the officers. Or there
23      have been times where the Disorder Control
24      Unit has disseminated arrest warnings at
25      mobilization exercises to the task force

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1                      A. RAGANELLA
2       supervisors.
3               Q.    How would those warnings be given
4       to the supervisors or the incident
5       commanders for them to distribute?
6               A.    Not clear on what you're asking.
7               Q.    Well, you're saying that it's
8       possible that these incident commanders or
9       the supervisor would distribute them,
10      they've got to get them somewhere. Are they
11      emailed to them? Do they come through a...
12      Is there some way that they obtain the
13      warnings and then say to Joe, "Go make 50
14      copies of these? I got roll call coming up.
15      I've got to distribute."
16                     How would that occur?
17              A.    Speaking on behalf of the Disorder
18      Control Unit, we would hit the print button
19      and make however many copies that we
20      needed.
21                                     MR. STECKLOW:          I would
22                             again ask the city to talk to
23                             Disorder Control about finding
24                             the warnings at least that are
25                             in their possession.

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1                       A. RAGANELLA
2                                       MS. MITCHELL:          Again.
3                               Defendant has produced to
4                               plaintiffs everything in
5                               custody of Control regarding
6                               dispersal orders that is in
7                               possession of the Disorder
8                               Control Unit which is no
9                               documents.
10                                      MR. STECKLOW:          No
11                              documents.
12                                      MS. MITCHELL:          No
13                              documents.
14              Q.    Hearing your attorney say that
15      there are no documents that satisfy this,
16      is it still your testimony that you would
17      push the print button and these documents
18      could exist?
19              A.    Print button on the copy machine,
20      yes.
21              Q.    How would you get the piece of
22      paper that you were copying?
23              A.    It could've been preexisting there
24      prior to me coming to the Disorder Control
25      Unit where it was a piece of paper on a

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1                      A. RAGANELLA
2       shelf that we continually make copies of.
3               Q.   Okay, so where is that piece of
4       paper today?
5               A.   I don't know.
6               Q.   Did you look for it?
7               A.   Perhaps. I don't recall looking for
8       it.
9               Q.   I think we're at an impasse here,
10      but I think that it definitely seems like
11      there are documents that may have existed
12      at some point. I understand the City
13      doesn't have it in their possession at this
14      point, but the witness has testified to
15      their existence and I can't really go in
16      circles on it anymore.
17                                    MS. MITCHELL:          If you want
18                             to go off the record for a
19                             moment?
20                                    MR. STECKLOW:          Sure.
21                                    (Whereupon, a short recess
22                             was taken.)
23                                    (Back on the record.)
24                                    MR. STECKLOW:          Back on the
25                             record.

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1                       A. RAGANELLA
2       BY MR. STECKLOW:
3               Q.    Any mobile exercise in 20,000 ...
4       Withdrawn.
5                       Did any MobEx in 2011 or 2012
6       include instructions that the mere
7       inconveniencing of pedestrian traffic by
8       protestors during a sidewalk protest does
9       not constitute probable cause for DisCon
10      arrest?
11                                   MS. MITCHELL:          Objection.
12                                      You can answer.
13              A.    I don't know.
14              Q.    Did you conduct any in-service
15      trainings outside of disorder control?
16              A.    I'm not clear on what you're
17      asking.
18              Q.    Is disorder control considered in-
19      service training?
20              A.    We do in-service training. We also
21      train the recruits in the academy, which is
22      not considered in-service.
23              Q.    So, in the relevant time period,
24      was there any in-service training, in
25      addition to the question I previously asked

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1                      A. RAGANELLA
2       about disorder control training, that the
3       mere inconvenience of pedestrian traffic by
4       sidewalk protestors does not constitute
5       probable cause for a disorderly conduct
6       arrest?
7                                   MS. MITCHELL:          Objection.
8                                      You can answer.
9               A.    I don't know.
10              Q.    Did MobEx in 2011 or 2012 include
11      instruction that dispersal orders should
12      include an alternative avenue for
13      communication to non-violent, non-riotous
14      sidewalk protestors?
15              A.    I don't know.
16              Q.    Is there anything that you could do
17      to refresh your recollection?
18              A.    Not that I'm aware of.
19              Q.    You were, again, in charge of all
20      the training at disorder control at that
21      time, correct?
22              A.    Correct.
23              Q.    If that existed, you would, in
24      fact, know about it, correct?
25              A.    Most likely, yes.

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1                       A. RAGANELLA
2               Q.    Did mobile exercises in 2011 or
3       2012 include instructions that an
4       alternative avenue of communication should
5       be provided to non-violent, non-riotous
6       sidewalk protestors who are subject to a
7       dispersal order?
8                                    MS. MITCHELL:          Objection.
9                                       You can answer.
10              A.    That could have been incorporated
11      in training. I don't know.
12              Q.    Have you seen it incorporated in
13      any training?
14              A.    Not that I'm aware of, no.
15              Q.    Did the large-scale level two
16      mobilization exercise on August 12, 2011,
17      include any training on the first amendment
18      requirements for policing a sidewalk
19      protest?
20                                   MS. MITCHELL:          Objection.
21                                      You can answer.
22              A.    I don't know.
23              Q.    Did you conduct that large-scale
24      training?
25              A.    Yes.

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1                      A. RAGANELLA
2               Q.    Did you observe any of the training
3       include training on any first amendment
4       requirements for police in a sidewalk
5       protest?
6               A.    No.
7               Q.    Did you instruct officers to
8       conduct training at that large-scale level
9       two mobilization exercise on August 12,
10      2011, to include training on any first
11      amendment requirements for police at a
12      sidewalk protest?
13              A.    Specifically related to sidewalk
14      protests, no, but, yes, they were
15      instructed to go over constitutional rights
16      of protestors, of first amendment
17      assemblages.
18              Q.    During the large-scale protest on
19      August ... I'm sorry, during the large-
20      scale level two mobilization on August 12,
21      2011?
22              A.    Correct.
23              Q.    What were they instructed?
24              A.    Part of that lesson plan on
25      legalities at demonstrations.

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1                      A. RAGANELLA
2               Q.    So, what was it that they were
3       instructed that was a part of that lesson
4       plan?
5               A.    I don't know.
6               Q.    How much of that lesson plan was
7       included at the level two mobilization
8       exercise on August 12, 2011?
9               A.    I do not know.
10              Q.    Is there anything you could use to
11      refresh your recollection?
12              A.    No, sir.
13              Q.    I'm asking these questions as part
14      of your 30(b)(6) testimony so, when you're
15      saying you don't know, you're saying the
16      city of New York does not know?
17              A.    That's correct.
18              Q.    Okay. Was the MobEx training
19      conducted in anticipation of the one-year
20      anniversary of Occupy Wall Street designed
21      to include encirclement maneuvers?
22              A.    Yes, that is a technique that we
23      practiced.
24              Q.    Was the MobEx training conducted in
25      anticipation of the one-year anniversary of

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1                      A. RAGANELLA
2       Occupy Wall Street designed to include
3       lines, wedges, and other disorder control
4       formations?
5               A.    Yes.
6               Q.    Was the MobEx training conducted in
7       anticipation of the Occupy Wall Street one-
8       year anniversary protest designed to
9       include the use of protective shields?
10              A.    Yes.
11              Q.    Was it also designed to include the
12      use and deployment of protective millennium
13      masks?
14              A.    Yes.
15              Q.    What is a millennium mask?
16              A.    A millennium mask is a piece of
17      personal protective equipment that an
18      officer would use to cover his face to
19      protect his respiratory system from any
20      toxic substances or chemicals.
21              Q.    During Occupy Wall Street, 2011 to
22      2012, was there a time when they released
23      chemical material that would affect
24      somebody's respiratory system?
25                                  MS. MITCHELL:          Objection.

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1                      A. RAGANELLA
2                                      You can answer.
3               A.    Yes.
4               Q.    When was that?
5               A.    I don't recall.
6               Q.    Where was that?
7               A.    Multiple places. There was pepper
8       spray that was used.
9               Q.    By the protestors or by the police?
10              A.    Both.
11              Q.    So, removing the police from the
12      equation, so we sure know the police used
13      pepper spray at protest activity, when did
14      the Occupy Wall Street individuals use
15      pepper spray at a protest activity?
16              A.    I don't recall a specific date.
17              Q.    What information or document do you
18      have to support your claim that that
19      occurred?
20              A.    Information from other members of
21      the service and news reports.
22              Q.    What news report are you referring
23      to?
24              A.    I don't know.
25              Q.    Which individuals, other members of

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1                      A. RAGANELLA
2       the service, are you referring to?
3               A.    Don't recall.
4               Q.    Do you recall a location where that
5       occurred?
6               A.    No, sir.
7               Q.    Do you recall a date where that
8       occurred?
9               A.    No, sir.
10              Q.    Is there anything you could use to
11      refresh your recollection to identify this
12      alleged use of pepper spray by the Occupy
13      Wall Street individuals?
14              A.    Perhaps searching the internet for
15      news stories or surveying members of the
16      department that may have, in fact, been
17      there when it happened.
18              Q.    Mm-hmm (affirmative). Were you ever
19      present when the police deployed pepper
20      spray at an Occupy Wall Street protest?
21              A.    Not that I recall.
22              Q.    Was the MobEx training ...
23              A.    Withdrawn.
24                     I was at it, the eviction of the
25      park in November. To my understanding, that

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1                      A. RAGANELLA
2       it was used. I didn't personally witness
3       it, but I was there at the incident.
4               Q.   And you're saying that it was used
5       by the police on the protestors?
6               A.   Correct.
7               Q.   Was the MobEx training conducted in
8       anticipation of the one-year anniversary of
9       Occupy Wall Street designed to include
10      specific instructions on policing sidewalk
11      protests?
12                                 MS. MITCHELL:          Objection.
13                                    You can answer.
14              A.   Not that I'm aware of, no.
15                                    MR. STECKLOW:          I think
16                             we're on, what, 12, 24, 36? 37?
17                                    MS. MITCHELL:          Yep.
18                             Plaintiff's 35.
19                                    THE WITNESS:         35 or 34.
20                                    (Document marked Exhibit
21                             36 for identification as of
22                             this date by the reporter.)
23                                    MR. STECKLOW:          Here's 36.
24              A.   Yep.
25              Q.   I'm showing you what's being marked

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1                       A. RAGANELLA
2       as 36. It appeared to be identified as
3       D5318.
4               A.    (Witness perusing document.)
5               Q.    Do you recognize this?
6               A.    Yes.
7               Q.    What do you recognize it as?
8               A.    An Outlook calendar event.
9               Q.    What is an Outlook calendar event
10      in relation to?
11              A.    It appears to be from my Outlook
12      calendar from my department Outlook account
13      indicating that I had a meeting at the
14      Chief of Department's conference room on
15      November 4, 2011, from 2:30 to 4:30 in the
16      afternoon.
17              Q.    What was that meeting concerning?
18              A.    It appears to be in regard to
19      Occupy Wall Street.
20              Q.    What about Occupy Wall Street?
21              A.    I do not know.
22              Q.    Wasn't this meeting concerning the
23      eviction of Occupy Wall Street and the
24      planning for it?
25              A.    I don't know.

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1                      A. RAGANELLA
2               Q.    Did you previously testify that the
3       only meeting you attended regarding Occupy
4       Wall Street was, in this time period, about
5       the eviction of Occupy Wall Street?
6               A.    That could very well be true.
7               Q.    So, is your memory different today
8       than it was at the prior deposition you had
9       with Gideon Oliver?
10              A.    That very well could be, that I
11      need to be refreshed on that.
12              Q.    Okay.
13              A.    Because as I sit here today, I
14      don't remember that.
15              Q.    Do you recall the meeting that I'm
16      referencing concerning the eviction of
17      Occupy Wall Street?
18              A.    I did attend a meeting regarding
19      the eviction of Occupy Wall Street. I can't
20      sit here and tell you that this was the
21      date and time that it happened, though.
22              Q.    Where was that meeting?
23              A.    At the Chief of Department's
24      conference room, and there was another
25      meeting, if I recall correctly, at the

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1                      A. RAGANELLA
2       joint operations center at 1 Police Plaza,
3       on the second floor.
4               Q.    Okay, so let's take the first one
5       that was at the Chief of Department's
6       conference room. Who else was at that
7       meeting?
8               A.    I don't recall.
9               Q.    Do you recall anyone else that was
10      at that meeting?
11              A.    No.
12              Q.    Were you alone at that meeting?
13              A.    I certainly was not.
14              Q.    Was the Chief of Department at that
15      meeting?
16              A.    He could have been.
17              Q.    Is there anything you can do to
18      refresh your recollection about who was at
19      that meeting?
20              A.    No.
21              Q.    How many people were at that
22      meeting?
23              A.    Don't recall.
24              Q.    Was somebody from the Mayor's
25      office at that meeting?

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1                      A. RAGANELLA
2               A.    Don't recall.
3               Q.    Do you have any notes from that
4       meeting?
5               A.    No, I do not.
6               Q.    Do you often take notes when you're
7       at meetings such as this?
8               A.    It's possible.
9               Q.    Did you search for any notes you
10      might have had about this meeting?
11              A.    Yes.
12              Q.    What did you do to search for those
13      notes?
14              A.    Looked in the file cabinet where I
15      keep my important documents.
16              Q.    Did you do anything else to look
17      for those notes?
18              A.    If I would have taken notes, it
19      would have been, obviously, handwritten
20      notes, and that's where they would have
21      been, so there was no need to search
22      anywhere else other than my file cabinet.
23              Q.    Do you recall what occurred at the
24      meeting concerning the eviction of Occupy
25      Wall Street from Zuccotti Park?

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1                      A. RAGANELLA
2               A.    No.
3               Q.    You said there was a second meeting
4       that took place at the command center at 1
5       Police Plaza, correct?
6               A.    Yes.
7               Q.    Do you recall if that was before or
8       after the meeting that took place at the
9       Chief of Department's conference room?
10              A.    Don't recall.
11              Q.    Do you recall who attended the
12      other meeting at the 1 Police Plaza command
13      center?
14              A.    The only other person I remember
15      being at the meeting at the joint
16      operations center would be my immediate
17      supervisor, Chief Weiner [phonetic].
18              Q.    Do you recall him being at both
19      meetings, or just one meeting?
20              A.    Just that one.
21              Q.    Did you create something called the
22      Police Officers Guideline at
23      Demonstrations?
24              A.    Yes.
25              Q.    Okay. Did that contain any

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1                       A. RAGANELLA
2       instructions on the first amendment
3       requirement for policing of sidewalk
4       protests?
5                                    MS. MITCHELL:          Objection.
6                                       You can answer.
7               A.    Not specifically related to that,
8       no.
9               Q.    Did it include any specific
10      instruction that an adequate means of
11      egress should be provided to non-violent
12      sidewalk protestors who are subject to a
13      dispersal order?
14              A.    No, it did not.
15              Q.    Did the Police Officer Guidelines
16      at Demonstrations provide any guideline or
17      instruction that notice of an adequate
18      means of egress should be included in a
19      dispersal order issued to non-violent
20      sidewalk protestors?
21              A.    No, it did not.
22              Q.    Did the Police Officers Guidelines
23      at Demonstrations provide any guideline or
24      an instruction that notice of an
25      alternative avenue of communication should

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1                       A. RAGANELLA
2       be included in a dispersal order issued to
3       non-violent sidewalk protestors?
4                                    MS. MITCHELL:          Objection.
5                                       You can answer.
6               A.    No, it did not.
7               Q.    Did the Police Officer Guidelines
8       at Demonstrations provide any guideline or
9       instruction that an alternative avenue of
10      communication should be provided to non-
11      violent sidewalk protestors who are subject
12      to a dispersal order.
13                                   MS. MITCHELL:          Objection.
14                                      You can answer.
15              A.    No.
16              Q.    I want to look back at the RNC
17      guidelines and ask you if any of these
18      specific things were included or
19      incorporated into disorder control
20      training. Let me get that packet for you.
21      All right. I'd like you to look at ...
22      Okay. Looking at page 15277. Sorry. Turn to
23      the page before that, 15276. This is titled
24      "Police Protest and Street Encounters,"
25      correct?

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1                      A. RAGANELLA
2               A.    Yes.
3               Q.    It talks about permissible
4       limitations on first amendment rights,
5       correct?
6               A.    Yes.
7               Q.    Okay. I'd like you to read that
8       page and the next page. Let me know if any
9       of this was specifically incorporated into
10      disorder control training.
11              A.    Can you clarify what you mean by
12      incorporated into disorder control lessons?
13              Q.    This is pretty specific, is it not,
14      about the standards of street protest,
15      sidewalk protest?
16              A.    Yes. Yes.
17              Q.    Does something this specific exist
18      at disorder control training?
19              A.    We talking about this whole section
20      as a whole or pieces and parts of it?
21              Q.    Let's start with the whole thing as
22      a whole.
23              A.    This is not repeated verbatim in
24      our lesson plans, to my knowledge.
25              Q.    Are pieces and parts of it repeated

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1                       A. RAGANELLA
2       in your lesson plan?
3               A.    That's possible.
4               Q.    As you sit here, can you tell me
5       which parts are included? Not possibly
6       included, but actually included in the
7       lesson plan?
8               A.    I would have to compare what's
9       written here to our lesson plan to do that.
10              Q.    So, by reading this, you're not
11      able to identify anything that's here
12      that's actually included in the disorder
13      control lesson plan?
14              A.    My photographic memory fails me at
15      this particular time. I'm sorry.
16              Q.    Looking at page 15278 ... Sorry,
17      that's wrong. We've already discussed that.
18      Let's go to 15279. Look at letter C.
19              A.    Okay.
20              Q.    Can you read that first sentence
21      out?
22              A.    We're talking about C, under
23      "carrying signs or objects?"
24              Q.    Yes.
25              A.    First line states, "Like

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1                      A. RAGANELLA
2       leafleting, the carrying of signs or
3       objects at a demonstration is protected
4       first amendment activity."
5               Q.    Was that taught at disorder control
6       training?
7               A.    I don't recall.
8               Q.    Is there anything you could look at
9       that would refresh your recollection?
10              A.    I would have to look at the lesson
11      plan on legalities at demonstrations.
12                                     MR. STECKLOW:          While I'm
13                             looking for that, can you tee
14                             up the S 50. Legalities of
15                             demonstrations ...
16                                     Do you know which one I'm
17                             talking about?
18                                     MR. STARKEY:          No, sorry.
19            Q.      While he's doing that, I'm going
20      to hand you what was previously marked as
21      eight, legalities at demonstrations, and
22      you let me know if you can find the issue
23      that we were just discussing, about signs,
24      carrying signs being a protected first
25      amendment right.

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1                      A. RAGANELLA
2                                     MR. STECKLOW:          I'm
3                              embarrassed I've only had 36. I
4                              thought I was going to be
5                              closer to 50 by now.
6                                     MS. MITCHELL:          How much
7                              more do you have to go?
8                                     MR. STECKLOW:          Well, I
9                              figure...
10                                    MS. MITCHELL:          Because ...
11                                    MR. STECKLOW:          Tell me.
12                                    MS. MITCHELL:          If you have
13                             a lot more questions, and then
14                             I have a number of questions
15                             that I'm planning to ask, if it
16                             makes more sense to continue
17                             this to another day.
18                                    MR. STECKLOW:          I'm not
19                             available tomorrow.
20                                    MS. MITCHELL:          Okay.
21                                    MR. STECKLOW:          I was
22                             planning on stopping myself at
23                             6:00, regardless of where I
24                             was, and then figuring out
25                             whether we needed to do another

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1                      A. RAGANELLA
2                              day. Would you rather me stop
3                              earlier than that so you have
4                              some time to ask questions
5                              before we figure that out?
6                                     MS. MITCHELL:          Well, it's
7                              up to you. We don't ... I don't
8                              need to ...
9                                     MR. STECKLOW:          All right,
10                             so let's go through the ...
11                                    MS. MITCHELL:          I've taken
12                             notes, so I can ask questions
13                             whenever.
14                                    MR. STECKLOW:          Okay.
15                                    MS. MITCHELL:          I just
16                             wanted to ask you.
17                                    MR. STECKLOW:          Before we
18                             watch the next video ... I'm
19                             just going to wait for these if
20                             you had time to review the
21                             document he had asked for and
22                             see if he can find in there
23                             something about the sign.
24                                    MR. STARKEY:         Nope, I
25                             don't see it.

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1                       A. RAGANELLA
2               Q.    Okay, so that's not trained at
3       disorder control, correct?
4               A.    Regarding the carrying of signs or
5       objects, no.
6               Q.    All right. That ... It's not
7       trained that the carrying of signs is a
8       protected first amendment right, correct?
9               A.    Through the disorder control unit,
10      no.
11              Q.    Okay. I'm going to show you a
12      video. This happened on September 15, so
13      it's starting what we call the class period
14      for this case. I'd like you to watch the
15      video. Then, I'll ask you a couple
16      questions.
17      (Whereupon, the witness was shown a video.)
18      (Back on the record.)
19              Q.    Were able to see that video?
20              A.    Yes.
21              Q.    Okay. Was that individual carrying
22      a sign?
23              A.    Yes.
24              Q.    Okay. It looked like the white
25      shirt officer pointed at the sign right

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1                      A. RAGANELLA
2       before the individual was arrested?
3
                                       MS. MITCHELL:          Objection.
4                                      You can answer.
5               A.    No, it looked like he pointed at
6       the individual.
7               Q.    Okay. Did you see a reason for that
8       individual to be arrested in that moment,
9       from what you could see on the video?
10                                  MS. MITCHELL:          Objection.
11                                     You can answer.
12              A.    Taking into consideration only what
13      I saw, I did see him stop several times
14      while he was being asked to move along, so
15      there is the possibility that that may
16      establish probable cause.
17              Q.    Under what section of what law?
18              A.    Law of refusing a lawful order to
19      disperse.
20              Q.    What did you see on that video that
21      made you believe there was a lawful order
22      for these individuals to be dispersed
23      north?
24              A.    Well, as I said, I didn't see what
25      happened prior to that, so I don't know why

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1                      A. RAGANELLA
2       they were being moved from that area.
3               Q.    All right, because there didn't
4       seem to be anything that we could see on
5       the video, the reason they had to be forced
6       north at that point, correct?
7                                   MS. MITCHELL:          Objection.
8                                      You can answer.
9               A.    There was a substantial number of
10      demonstrators on the sidewalk itself that
11      appeared not to be moving. Other than that,
12      I don't ... As I said, I don't know what
13      happened prior to that, that they were
14      being moved out of that area.
15              Q.    Other than safety reasons, would
16      there be a reason why police officers would
17      form a wall and stop people from processing
18      south on Broadway on September 15, 2012?
19                                  MS. MITCHELL:          Objection.
20                                     You can answer.
21              A.    Yes.
22              Q.    What would that be?
23              A.    There could have been a crime scene
24      that we were trying to stop people from
25      getting into. There could have been some

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1                       A. RAGANELLA
2       type of sensitive or a vulnerable location
3       there that we maybe we had potentially had
4       intelligence on that protestors,
5       demonstrators were going there to damage
6       it. I don't know.
7               Q.    So, it's possible that, if there's
8       a claim of intelligence that the protestors
9       were going towards a specific object, that
10      the police could stop them and tell them
11      they now have to go north, even if there
12      has been no criminal conduct that occurred?
13              A.    Well, one ... As I stated earlier
14      in my testimony, one of our core functions
15      besides protecting life is to protect
16      property.
17              Q.    So, does that ... Again, if they
18      ... Withdrawn.
19                      Within the training of disorder
20      control, it's appropriate to stop
21      individuals from going south if there's
22      some sort of intel that there might be
23      property damage being contemplated in that
24      direction?
25              A.    Potentially.

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1                      A. RAGANELLA
2               Q.    And that's consistent with disorder
3       control training?
4               A.    I don't train on that, no.
5               Q.    Yeah. Was there any other reason
6       you can come up with why these officers
7       would stop these people from going south
8       that's a lawful reason?
9                                   MS. MITCHELL:          Objection.
10                                     You can answer.
11              A.    Not that I can think of.
12              Q.    So, it's possible that they were
13      just stopping people and forcing them north
14      because that's what they chose to do, isn't
15      that correct?
16              A.    It's also possible that the
17      examples I gave were what also happened, so
18      yes, that's possible.
19              Q.    Okay. Did you ... I ... Did you
20      notice which officer was supervising there
21      and pointing out the person to arrest and
22      telling people to continue walking north?
23              A.    From what I saw on the video, it
24      appeared to me that the highest-ranking
25      member there was Inspector Winski. Or,

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1                      A. RAGANELLA
2       Deputy Inspector Winski at the time, I
3       guess.
4               Q.   And he seemed to be the individual
5       that pointed out the person who was about
6       to be arrested, correct?
7               A.   That's what it appeared to me.
8               Q.   So, the fact that that individual
9       was carrying a sign by itself should not
10      have led to his arrest, correct?
11                                 MS. MITCHELL:          Objection.
12                                    You can answer.
13              A.   Based on what I saw, in and of
14      itself, the carrying of a sign that's made
15      of cardboard should not be a reason to be
16      arrested.
17                                    MR. STECKLOW:          Okay. I'm
18                             going to show you ... No, it's
19                             fine. Just start there.
20                                    MR. STARKEY:         Speaker 4:
21                             Start there?
22                                    MR. STECKLOW:          Actually,
23                             that goes in the ground, right?
24                             Let's get past...
25                                    MR. STARKEY:         Well,

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1                      A. RAGANELLA
2                           it's ...
3                                      MR. STECKLOW:         Go a little
4                              further back, a little further
5                              back.
6                                      MR. STARKEY:        Go back?
7                                      MR. STECKLOW:         Stop right
8                              there. Okay. Start it. Okay.
9                              I'm going to show you another
10                             video.
11                                     (Whereupon, the witness
12                             was shown a video.)
13                                     (Back on the record.)
14              Q.   At that point that you just saw on
15      the sidewalk, did there seem to be a
16      pedestrian blockage?
17                                 MS. MITCHELL:          Objection.
18                                     You can answer.
19              Q.   We stopped the video at 1:15.
20              A.   You're asking me was there a
21      pedestrian ... I'm not clear on what you're
22      asking.
23              Q.   I'm asking, in the video we just
24      saw, is the sidewalk open or is the
25      sidewalk being blocked?

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1                      A. RAGANELLA
2                                   MS. MITCHELL:          Objection.
3                                      You can answer.
4               A.    I'd have to see it again.
5                                      (Whereupon, the witness
6                              was shown a video.)
7                                      (Back on the record.)
8               Q.    Was that sidewalk being blocked or
9       is that sidewalk being open?
10                                  MS. MITCHELL:          Objection.
11                                     You can answer.
12              A.    It appears to me at, what I'm
13      looking at right now, that that sidewalk is
14      blocked.
15              Q.    Is it being blocked by a line of
16      police officers stopping protestors?
17                                  MS. MITCHELL:          Objection.
18                                     You can answer.
19              A.    It appears that there's a line of
20      police officers across the sidewalk, yes.
21              Q.    And are the protestors on the other
22      side seemingly seeking to walk past where
23      the police officers are?
24              A.    I don't know if they ...
25                                  MS. MITCHELL:          Objection.

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1                       A. RAGANELLA
2                                       You can answer.
3               A.    Yeah. I don't know if they're
4       walking past or being redirected in a
5       different direction.
6               Q.    Okay, but, in some way, the police
7       are the ones who are now involved with the
8       protestors' direction. Whatever direction
9       they want to go in, the police are now
10      making some sort of impact on that, is that
11      what you can see?
12                                   MS. MITCHELL:          Objection.
13                                      You can answer.
14              A.    At that particular point right
15      there that I'm looking at, that small
16      snippet of video, it appears that way, yes.
17              Q.    Okay.
18                                      (Whereupon, the witness
19                              was shown a video.)
20                                      (Back on the record.)
21              Q.    Looking at this individual here
22      with the hat on, do you see him? Is he
23      blocking the sidewalk at this point?
24                                   MS. MITCHELL:          Objection.
25                                      You can answer.

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1                       A. RAGANELLA
2               A.    By himself?
3               Q.    Was he blocking the sidewalk
4       sufficiently to be arrested for disorderly
5       conduct, violating ... Blocking pedestrian
6       traffic?
7                                    MS. MITCHELL:          Objection.
8                                       You can answer.
9               A.    By himself?
10              Q.    I'm not sure what you mean. By
11      himself? I'm not [crosstalk]...
12              A.    I'm answering the question.
13              Q.    I'm asking if he's able
14      [crosstalk]... Yes, there's...
15              A.    It appears to me that he's part of
16      a group that's substantially interfering
17      with pedestrian flow.
18              Q.    So, you believe that he is allowed
19      ... There is probable cause for his arrest
20      for blocking the sidewalk?
21                                   MS. MITCHELL:          Objection.
22                                      You can answer.
23              A.    It's hard for me to answer that
24      because I wasn't there but, based on the
25      little bit of a snippet from what you are

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1                      A. RAGANELLA
2       telling me, if we're to accept what you're
3       saying, it appears to me that everybody on
4       that sidewalk right now is substantially
5       blocking pedestrian traffic in that still
6       frame of what I'm looking at.
7               Q.   And that is because ... Why? Why do
8       you believe that they're blocking the
9       pedestrian traffic substantial impediment?
10              A.   Because it appears to me that they
11      were being instructed to move and they
12      weren't moving.
13              Q.   So, they didn't seem like they were
14      backing up before this happened?
15                                    MR. STECKLOW:          Do we have
16                             the other video of this arrest,
17                             because this is not the right
18                             one.
19                                    MS. MITCHELL:          Oh ...
20                             Here. Is there a question there
21                             or no? Okay.
22                                    MR. STECKLOW:          Do we have
23                             the other video or no?
24                                    MR. STARKEY:         I have ...
25                             Yeah, I do have the video,

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1                      A. RAGANELLA
2                              other video. There. I don't
3                              know if it's better than the...
4                                     (Whereupon, the witness
5                              was shown a video.)
6                                     (Back on the record.)
7                                     MR. STECKLOW:          No, it's
8                              not what I'm looking for but
9                              let's just let it play for a
10                             minute.
11                                    (Whereupon, the witness
12                             was shown a video.)
13                                    (Back on the record.)
14              Q.   All right. I'm going to show you
15      another video and ask you if you can
16      identify probable cause to the arrest of
17      this individual.
18              A.   Okay.
19                                    (Whereupon, the witness
20                             was shown a video.)
21                                    (Back on the record.)
22              Q.   Okay, I'm going to stop the video
23      now... 2:05. Were you able to watch that
24      individual's arrest?
25              A.   Yes.

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1                      A. RAGANELLA
2               Q.    Did you recognize the white shirt
3       officer that effectuated that arrest?
4               A.    No.
5               Q.    All right. Did you see probable
6       cause for that arrest?
7                                   MS. MITCHELL:          Objection.
8                                      You can answer.
9               Q.    In the video that you observed,
10      were you able to identify probable cause
11      for that arrest?
12                                  MS. MITCHELL:          Objection.
13                                     You can answer.
14              A.    Yes.
15              Q.    What was that probable cause?
16              A.    It appeared to me, from what I saw,
17      that multiple instructions to clear the
18      sidewalk were given. I also observed that
19      individual remain on the sidewalk. I also
20      witnessed a gentleman with a cap on with a
21      blue shirt who appeared to me not to be
22      involved in the protest group walk up the
23      sidewalk, stop, and have to turn around and
24      go back the other way because the sidewalk
25      appeared to be blocked.

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1                      A. RAGANELLA
2               Q.    Okay. Why don't you tell me when
3       you see that person seemingly unable to
4       continue to walk on the sidewalk?
5                                      (Whereupon, the witness
6                              was shown a video.)
7                                      (Back on the record.)
8               Q.    You're looking at it. How many
9       police are on the sidewalk, compared to how
10      many protestors are on the sidewalk?
11                                  MS. MITCHELL:          Objection.
12                                     You can answer.
13              A.    At this point, there's more police
14      officers on the sidewalk than protestors
15      because they moved them off the sidewalk
16      and up onto the steps.
17              Q.    This is at approximately at 1:23 in
18      the video. Any blockage of the sidewalk now
19      is blockage by the police, isn't that
20      correct?
21                                     MS. MITCHELL:          Objection.
22                                     You can answer.
23              A.    I'm relatively certain that, if
24      somebody was coming through, they would
25      move out of the way and let people through.

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1                      A. RAGANELLA
2               Q.    Okay, so you believe that, while it
3       might be blocked in this image, the police
4       would move out of the way if they needed to
5       in order to let people to walk by?
6                                   MS. MITCHELL:          Objection.
7                                      You can answer.
8               A.    From what I'm seeing right there, I
9       could ... I would ... I, myself, would have
10      no problem walking through there.
11                                     (Whereupon, the witness
12                             was shown a video.)
13                                     (Back on the record.)
14              Q.    Okay, so, if you would no problem
15      walking through there, why are they giving
16      instructions to clear the sidewalk?
17              A.    The instructions were being given
18      behind them, not where they were standing.
19              Q.    Behind them is even less
20      pedestrians.
21                                     (Whereupon, the witness
22                             was shown a video.)
23              A.    Well, not what I'm seeing right
24      there.
25                                     (Whereupon, the witness

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1                      A. RAGANELLA
2                             was shown a video.)
3               Q.    There's clearly less people in this
4       area than there were in the other area,
5       isn't that correct?
6               A.    I see ... All right, well, look
7       this is ... If you want to argue opinions,
8       I'm telling you, from my perspective and my
9       opinion right now, I see a woman with a
10      sign standing there, another individual in
11      a black shirt. I see several protestors
12      that are there, and I see a gentleman with
13      the blue shirt on who appears to be an
14      uninvolved witness who, to me, appears to
15      want to walk forward and can't because the
16      woman with the sign is in his way.
17              Q.    This person is the one you're
18      talking about, the one with his arms across
19      with a hat on?
20              A.    Correct.
21              Q.    You think that person is trying to
22      walk and can't?
23              A.    That's my observation.
24                                     (Whereupon, the witness
25                             was shown a video.)

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1                      A. RAGANELLA
2               Q.    Okay.
3               A.    Then, he turns around and goes back
4       the other way.
5               Q.    That's the person you believe who
6       was being serious impeded on the sidewalk
7       to cause probable cause ... To establish
8       probable cause to the arrest of this
9       individual?
10                                  MS. MITCHELL:          Objection.
11                                     You can answer.
12              A.    That's possible, yes.
13                                     (Whereupon, the witness
14                             was shown a video.)
15                                     (Back on the record.)
16              Q.    Does there seem to be a serious
17      blockage at this point? We are not at 1:48.
18              A.    Yes.
19              Q.    Does there seem to be a clear and
20      present danger of disorder?
21              A.    No.
22                                  MS. MITCHELL:          Objection.
23                                     You can answer.
24              A.    Sorry.
25              Q.    But you believe that there's a

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1                      A. RAGANELLA
2       serious impediment to people walking on the
3       sidewalk due to the protestors there?
4               A.    100%.
5               Q.    Okay.
6                                      (Whereupon, the witness
7                              was shown a video.)
8                                      (Back on the record.)
9               Q.    Do you see people walking in that
10      direction?
11              A.    As you move the video forward, yes.
12              Q.    Okay.
13                                     (Whereupon, the witness
14                             was shown a video.)
15                                     (Back on the record.)
16              Q.    Do you see room on the sidewalk as
17      this individual is being arrested for
18      anybody that wants to pass?
19              A.    Yes, sir.
20              Q.    Okay, so isn't it true that there
21      wasn't probable cause for this arrest, but
22      it's occurring because the officers were
23      trying to clear a sidewalk and just
24      determined to arrest this person for no
25      reason?

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1                      A. RAGANELLA
2                                    MS. MITCHELL:        Objection.
3                                      You can answer.
4               A.   I can't speculate that there was no
5       reason to arrest him.
6               Q.   Okay. There was no reason to arrest
7       him for blocking pedestrian traffic.
8               A.   I disagree.
9                                      MR. STECKLOW:         All right.
10                             I'm going to take a couple
11                             minutes. I still have more.
12                                     It's almost 6:00, so what
13                             would you like to do?
14                                     MS. MITCHELL:         Well, how
15                             much more do you have left to
16                             do?
17                                     MR. STECKLOW:         Well,
18                             that's what I'm going to figure
19                             out when I take my couple of
20                             minutes.
21                                     MS. MITCHELL:         Well, why
22                             don't you take [crosstalk]...
23                                     MR. STECKLOW:         I also
24                             wanted to see what more videos
25                             we haven't gone through yet,

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1                      A. RAGANELLA
2                            but I think we're all towards
3                              the end of our productivity for
4                              the day.
5                                     MS. MITCHELL:          Okay. Well,
6                              why don't you let me know how
7                              much more you think you have,
8                              and then we can have a
9                              discussion about dates?
10                                    (Whereupon, a short recess
11                             was taken.)
12                                    (Back on the record.)
13              Q.   I'm going to ask a couple more
14      questions, then your counsel is going to
15      ask questions. Then we're going to end for
16      today, and there may or may not be another
17      hour or so after that, that we'll
18      reschedule.
19              A.   Okay.
20                                    (Document marked Exhibit
21                             37 for identification as of
22                             this date by the reporter.)
23                                    MR. STECKLOW:          I'm going
24                             to show you just that we're
25                             recording. We're back on the

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1                      A. RAGANELLA
2                              record.
3                                      The time is now 5:59 PM.
4               Q.    I'm showing you what I've marked as
5       Plaintiff's Exhibit 37.
6                      It's previously been stamped 19439
7       through 19441. Let me just put them
8       together. I'll ask you to review the
9       document. Let me know after you'd had a
10      chance to do so.
11              A.    (Witness perusing document.) Okay.
12              Q.    Have you had a chance to review it?
13              A.    Yes.
14              Q.    Do you recognize it?
15              A.    Yes.
16              Q.    Is it an email exchange you had
17      after the May Day protest with Robert
18      Kelly?
19              A.    Yes.
20              Q.    Who is Robert Kelly?
21              A.    He was a Captain at the time, that
22      worked in the Criminal Justice Bureau for
23      the NYPD.
24              Q.    What information were you seeking
25      to identify here?

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1                      A. RAGANELLA
2               A.    How many arrests we had, and if any
3       of the arrests from the demonstration
4       related protest, if any of them were
5       declined to be prosecuted, and the quantity
6       of arrests that we had.
7               Q.    Why were you interested in that
8       information?
9               A.    Two reasons. One was that I was
10      collecting information on arrests to use in
11      a unit citation that we were writing for
12      the unit, to document the quantity of
13      arrests that were made that we may have
14      been involved in.
15                     The second reason is just for
16      training purposes and FYI, to see if there
17      was anything that we needed to do or change
18      or modify in regard to training in relation
19      to demonstration-related protests.
20              Q.    What would indicate to you whether
21      or not there was a need to change training
22      in relation to demonstration protests?
23              A.    I think if I saw an exorbitant
24      amount of declined prosecutions, that would
25      make me curious as to whether the District

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1                      A. RAGANELLA
2       Attorney's office just didn't like us, or
3       if there was some deficiency in the way
4       that we were conducting the arrests. That
5       we had an issue that needed to be
6       addressed.
7               Q.    If you had seen a number of
8       decline-to-prosecutes, what would you have
9       done?
10              A.    I probably would have investigated
11      further with Captain Hailey and may have
12      even consulted with our legal bureau to
13      find out what the issue was, and if it was
14      in fact something that needed to be
15      addressed in training or not.
16              Q.    Is this something you've done other
17      times, other than May Day?
18              A.    Not that I recall.
19              Q.    During other times at Occupy Wall
20      Street when there were mass arrests, you
21      didn't inquire as to the number of arrests
22      and whether or not there was any decline-
23      to-prosecutes?
24              A.    I may have verbally through
25      telephone conversations or in person, but

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1                      A. RAGANELLA
2       nothing that I can remember formally
3       documenting, like an email.
4               Q.    Thank you. I'm going to show you
5       another video. This one has not been turned
6       over. It's publicly available. It's in the
7       thumb drive. We're going to review it.
8                      I'd like you to watch this video
9       and then we're going to have scintillating
10      conversation about it.
11              A.    I look forward to it.
12              Q.    Well, this one's dark.
13              A.    Can you tilt back a little bit the
14      top?
15              Q.    Yeah. It may help too much.
16              A.    Okay. Yeah, it's dark, but I'll
17      give it a shot.
18              Q.    Yeah, keep the volume down, because
19      it gets loud. You ready? Here we go.
20                                     (Whereupon, the witness
21                             was shown a video.)
22                                     (Back on the record.)
23                     Did you see the individual get
24      arrested there?
25              A.    It's very difficult to see that.

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1                      A. RAGANELLA
2               Q.    Did you see it?
3               A.    A short individual engaged in a
4       conversation which I couldn't fully make
5       out, with what appeared to be a supervisor.
6       Then, make a left turn to continue on his
7       way down the sidewalk.
8                      I can't even tell if it was another
9       officer or somebody. It seems like there
10      was some type of struggle that ended up
11      over to the left up against the building,
12      behind the pillar.
13              Q.    Did the conversation that he had
14      with the supervisor proceeding this
15      physical interaction indicate he was asking
16      permission to go in a certain direction?
17                                     MS. MTCHELL:          Objection.
18                                     You can answer.
19              A.    I can't make that out.
20              Q.    You think he was asking the
21      weather? What do you think he was asking?
22                                     MS. MTCHELL:          Objection.
23                                     You can answer.
24              A.    Something involving directions,
25      because I see hands pointing.

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1                      A. RAGANELLA
2               Q.    Do you hear him say, If I go that
3       way, will I be detained?
4                                      MS. MTCHELL:          Objection.
5                                      You can answer.
6               A.    I heard him say, if I go that way.
7       I didn't hear the part about detained.
8               Q.    Did you hear there, him ask if he
9       would be detained if he walked this way?
10                                     MS. MTCHELL:          Objection.
11                                     You can answer.
12              A.    It sounded to me like he said
13      something about being handcuffed.
14              Q.    Did you hear him there where he
15      just said, will I be detained?
16                                     MS. MTCHELL:          Objection.
17                                     You can answer.
18              A.    No, I didn't. I heard him say
19      something about entrapment if I get
20      handcuffed.
21                     Okay, now I hear it. Yes. Will I be
22      detained, yes.
23              Q.    I want you to see if this officer
24      responds to him. Do you hear the officer
25      respond, and say no?

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1                      A. RAGANELLA
2                                      MS. MTCHELL:          Objection.
3                                      You can answer.
4               A.    I can't make out what the officer
5       is saying.
6               Q.    It's not easy, I'll grant you that.
7       It's not easy, there's a lot of background
8       noise. I'd ask you to really focus and try
9       to hear.
10                                     MS. MTCHELL:          Objection.
11              Q.    Did you hear him respond?
12              A.    Yes.
13                                     MS. MTCHELL:          Objection.
14              Q.    What did he say?
15              A.    It sounded to me like he said no.
16              Q.    Then the individual said thank you,
17      correct?
18                                     MS. MTCHELL:          Objection.
19                                     You can answer.
20              A.    Stand by for a second, because I
21      can't see the officer's face. Although I
22      may make out the word no, I can't with any
23      certainty say that it came from the
24      officer. It could have come from the person
25      holding the camera.

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1                      A. RAGANELLA
2               Q.    Did the interaction between the two
3       of them indicate it came from the officer?
4               A.    Yes, it did.
5               Q.    Because the individual asked the
6       question, we believe the officer responded,
7       and the individual said thank you, and then
8       started to walk in the direction he had
9       requested permission to walk in. Correct?
10                                     MS. MTCHELL:          Objection.
11                                     You can answer.
12              A.    Absolutely.
13              Q.    Let's turn the volume down since
14      people get pretty upset. Let's go back a
15      little bit just so we can see it.
16                     There you're seeing a physical
17      interaction, correct?
18                                     MS. MTCHELL:          Objection.
19                                     You can answer.
20              A.    Yeah, it appears to me that a
21      Supervisor in a white shirt maybe, and
22      another officer approach him.
23              Q.    And stop him from proceeding in the
24      direction he was just given permission to
25      proceed in. Isn't that correct?

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1                      A. RAGANELLA
2               A.    Correct.
3               Q.    At that point, those officers then
4       take this individual and put him up against
5       the building, correct?
6               A.    Correct.
7               Q.    And they place him under arrest,
8       correct?
9                                      MS. MTCHELL:          Objection.
10                                     You can answer.
11              A.    It appears that's what they're
12      doing, yes.
13              Q.    Did the police conduct that you can
14      see in this video, comport with the
15      training of disorderly control?
16                                     MS. MTCHELL:          Objection.
17                                     You can answer.
18              A.    It's hard to know what the officers
19      knew at that time, so I can't answer that.
20              Q.    Did that seem like an appropriate
21      response by the police who arrested this
22      individual, to what was going on?
23              A.    It very well could have been, yes.
24              Q.    Did it seem like from what you
25      could see in the video, an appropriate

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1                      A. RAGANELLA
2       response to what you could see in the
3       video?
4                                      MS. MTCHELL:          Objection.
5                                      You can answer.
6               A.    Yes.
7               Q.    What in the video showed you that
8       was an appropriate response?
9                                      MS. MTCHELL:          Objection.
10                                     You can answer.
11              A.    From what I saw and what I heard in
12      the video, that was not an appropriate
13      response. However, the officer in the white
14      shirt whatever rank he was, and the officer
15      that was with him, I don't know that they
16      were privy to that conversation that
17      allowed that individual to make the left
18      and go through.
19                     They may have been under the
20      guidance that nobody from that crowd is
21      allowed to walk down that sidewalk. Since
22      they didn't hear that conversation and they
23      saw an individual coming down the sidewalk,
24      that may have given them the probable cause
25      to believe that this individual disobeyed a

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1                      A. RAGANELLA
2       lawful order from a police officer.
3                      I don't know what he was arrested
4       for, so I don't know.
5               Q.    There's a lot of assumptions in the
6       statement you just made.
7               A.    Absolutely.
8               Q.    They're not based on the video, and
9       what you're seeing in the video. I'm asking
10      you to answer the questions based on what
11      you can see here.
12              A.    I have knowledge that those
13      arresting officers may not have. I believe
14      that you're asking me to go into the mind
15      of the police officers and if they have
16      probable cause.
17              Q.    You don't know if they have the
18      knowledge or not, correct?
19              A.    Correct.
20              Q.    So, you're imputing to them a lack
21      of knowledge that they may actually have.
22      Correct?
23                                     MS. MTCHELL:          Objection.
24                                     You can answer.
25              A.    There's a lot of maybes, yes.

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1                      A. RAGANELLA
2               Q.    Right, and the only reason you're
3       doing that is to justify what seems to be a
4       fairly obviously bad arrest.
5                                      MS. MTCHELL:          Objection.
6                                      You can answer.
7               A.    No.
8               Q.    Is there another reason you're
9       doing that?
10              A.    Yes.
11              Q.    What is that?
12              A.    Because I don't know what the
13      officers that made the arrest saw, heard,
14      or what directions they were given.
15              Q.    It's pretty loud where this is
16      happening, correct?
17              A.    Seems to be.
18              Q.    The person who's asking permission
19      starts by making a threat to somebody. Not
20      to the officer he's talking to. Correct?
21              A.    That I can't tell.
22              Q.    No? Let's watch it again.
23                     Do you see all of these officers in
24      the background?
25              A.    Yes.

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1                      A. RAGANELLA
2               Q.    They are looking and facing this
3       conversation?
4               A.    Yes.
5               Q.    Please pay attention to those. You
6       see in the background, a lot of officers
7       focused on this conversation. Correct?
8                                      MS. MTCHELL:          Objection.
9                                      You can answer.
10              Q.    Correct?
11              A.    I don't know that they're focused
12      on the conversation. They seem to be
13      focused on the interaction.
14              Q.    Between this individual and the
15      police officer.
16              A.    Correct, but just established that
17      it's very loud there.
18              Q.    Yes.
19              A.    So, I can't tell you that the
20      officers heard what the conversation was.
21              Q.    This white shirt here is the one
22      who stopped him. He's the one you're
23      indicating may not have been aware that
24      this officer right here gave him permission
25      to turn. Correct?

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1                      A. RAGANELLA
2               A.    Correct.
3               Q.    I'm saying from this, it looks like
4       they are just a couple of feet apart.
5       Between the white shirt officer and the
6       officer, you're saying gave this individual
7       permission. Correct?
8                                      MS. MTCHELL:          Objection.
9                                      You can answer.
10              A.    What's your question?
11              Q.    It looks like they're just a couple
12      feet apart at this point?
13              A.    It looks like more than that to me.
14              Q.    How much feet does it look like
15      they're apart?
16              A.    I would say at least six or seven
17      feet.
18              Q.    Enough where the officer who gave
19      him permission could say, hey I just gave
20      him permission. I don't know if you heard.
21                                     MS. MTCHELL:          Objection.
22                                     You can answer, if you
23                                     can.
24              A.    I guess that's possible.
25              Q.    But, he doesn't do that, does he?

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1                      A. RAGANELLA
2               A.    I don't see him do that.
3               Q.    Right? And he allows the arrest to
4       go forward. Doesn't he?
5                                      MS. MTCHELL:          Objection.
6                                      You can answer.
7               A.    Can you continue playing it?
8               Q.    I want to go back and see if you
9       can watch the white shirt from before. See
10      if we can find him in the back of that
11      crowd.
12              A.    Yes, I see him.
13              Q.    Is he also paying attention to
14      what's going on?
15              A.    He seems to be looking around.
16              Q.    In the direction of where the
17      conversation is taking place, correct?
18                                     MS. MTCHELL:          Objection.
19                                     You can answer.
20              A.    He looked like he was looking at
21      the store at first.
22              Q.    It's still your testimony from
23      watching this video, that you don't know if
24      that white shirt officer could actually
25      have understood that this individual is

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1                      A. RAGANELLA
2       being given permission by the officer he
3       was speaking to, to turn and go in that
4       direction?
5               A.    That is correct. I do not know
6       that.
7               Q.    That's your testimony?
8               A.    That is correct.
9               Q.    You think it's more likely that
10      occurred, than that white shirt officer
11      just chose to make a bad arrest?
12                                     MS. MTCHELL:          Objection.
13                                     You can answer.
14              A.    I would hope that an officer
15      doesn't choose to make a bad arrest.
16                     Based on the fact that I don't have
17      the knowledge of actually being there at
18      the scene, I have to make the assumption
19      that he did not make a bad arrest and he
20      was unaware that person was given
21      permission.
22              Q.    Okay.
23              A.    That's my testimony.
24              Q.    What does your training do, to tell
25      officers in that situation about how to

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1                      A. RAGANELLA
2       handle it. Once one officer has given
3       permission to someone to do something,
4       another officer starts making an arrest
5       based on that same conduct, that this
6       individual already had authorization to do?
7                                      MS. MTCHELL:          Objection.
8                                      You can answer, if you
9                              can.
10              A.    Then it goes back to what the
11      initial officer that he had the
12      conversation with. I don't know what he
13      knew or what he was told to do. It appears
14      to me, again going from only what I see
15      here. There may have been a
16      miscommunication between the officers.
17              Q.    That miscommunication led to the
18      arrest of the individual. Correct?
19                                     MS. MTCHELL:          Objection.
20                                     You can answer, if you
21                             know.
22              A.    I don't know.
23              Q.    Well, you just said there appears
24      to be a miscommunication.
25              A.    Yes.

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1                      A. RAGANELLA
2               Q.    Was the result of that
3       miscommunication that this individual went
4       home, or the individual got handcuffed?
5                                      MS. MTCHELL:          Objection.
6                                      You can answer, if you
7                              know.
8               A.    If there was in fact a
9       miscommunication, it resulted in from what
10      I see, those officers having probable cause
11      to make an arrest.
12              Q.    The miscommunication gave the
13      officers probable cause to make an arrest?
14                                     MS. MTCHELL:          Objection.
15                                     You can answer.
16              A.    That's not what I said, no.
17              Q.    Why don't you clear that up for me?
18              A.    It's my testimony from what I see
19      here, again making assumptions, because
20      that's what you're asking me to do because
21      I wasn't there, and don't have the full
22      knowledge.
23              Q.    I'm not asking you to make
24      assumptions. I'm trying to --
25              A.    I can't answer the question.

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1                      A. RAGANELLA
2               Q.    I'm trying to ask you questions on
3       just what you can observe in the video.
4       You're answering it by making many
5       assumptions.
6               A.    Okay.
7               Q.    I'm asking you, by what you observe
8       in the video, what can you tell us? Is
9       there probable cause. You're telling me
10      well, and then you make a bunch of
11      assumptions.
12                     I'm not asking for the assumptions.
13      I'm allowing you to answer it the way you
14      want, but I'm not the one asking you to
15      make an assumption.
16                     With that understanding, where I'm
17      only asking you to answer based on what you
18      can see in the video, do you see probable
19      cause for that arrest?
20                                             MS. MTCHELL:
21                                     Objection. Calls for
22                                     speculation.
23                                             You can answer.
24              A.    You're asking me to speculate. I
25      can't.

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1                      A. RAGANELLA
2               Q.    I'm not asking you to speculate,
3       I'm asking you based on what you saw in the
4       video.
5               A.    So, you're asking me to speculate.
6       If those officers were not told anything,
7       then I could see that possibly they don't
8       have probable cause.
9                      However, if those officers were
10      told this is a frozen area, we're not
11      allowing pedestrians to come down the
12      sidewalk, and then this individual comes
13      down the sidewalk, that could establish
14      probable cause. I don't know which way that
15      went.
16              Q.    Even if he had permission to go in
17      that direction, that would still give them
18      probable cause to make that arrest?
19                                     MS. MTCHELL:          Objection.
20                                     You can answer.
21              A.    Again, I don't know if the officers
22      knew that he was given permission or not.
23              Q.    I understand that.
24              A.    Okay.
25              Q.    Even if they didn't know that he

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1                      A. RAGANELLA
2       was given permission.
3               A.    Yes.
4               Q.    The fact that he was given
5       permission means he had the lawful right to
6       be in that direction. To walk those steps.
7                      Even if the officers didn't know
8       that, that doesn't establish probable
9       cause. Perhaps it establishes arguable
10      probable cause and will grant those
11      officers qualified immunity from a false
12      arrest suit.
13                     I do not believe it establishes
14      probable cause for that person's arrest. Do
15      you agree with that?
16                                     MS. MTCHELL:          Objection.
17              A.    I disagree with that.
18              Q.    What is it you disagree with? How
19      do you see probable cause established there
20      if that individual had permission to take
21      that route?
22              A.    Again, I don't know that the
23      officers knew that he was given permission
24      to go down that sidewalk.
25              Q.    Understood.

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1                      A. RAGANELLA
2               A.    If the officers did not know that
3       he had permission to go down that sidewalk,
4       and those officers were given instructions
5       or were under a mandate to maintain a
6       frozen zone and not allow pedestrians to
7       come down that sidewalk, and they believed
8       that was being violated by the individual,
9       that may establish probable cause for them.
10              Q.    You believe that a police officer
11      can utilize a mistake of knowledge to
12      establish probable cause for a lawful
13      arrest?
14                                     MS. MTCHELL:          Objection.
15                                     You can answer.
16              A.    Hindsight is 20/20 but I doubt that
17      they knew that they were mistaken.
18              Q.    I'm going to ask the question
19      again, because I'd like you to answer the
20      question I'm asking.
21              A.    Okay.
22              Q.    It's your belief that a mistake of
23      fact by a police officer can establish
24      probable cause for an arrest?
25                                     MS. MTCHELL:          Objection.

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1                      A. RAGANELLA
2                                      You can answer.
3               A.    Does the officer know that he's
4       under mistake at the point that he
5       establishes probable cause? I don't
6       understand what you're asking.
7               Q.    Is probable cause established by
8       the police or by the facts?
9               A.    By a reasonable officer taking into
10      consideration the facts known to him at the
11      time that established that an offense was
12      committed, and that person to be arrested
13      is the person that committed the offense.
14              Q.    Right.
15              A.    That's what gives us probable
16      cause.
17              Q.    If an offense is committed. If a
18      person has permission to do something by
19      the police, he's not committing an offense.
20      If a police officer doesn't know that, he
21      makes a mistake and believe probable cause
22      is established when in fact it was not.
23      Isn't that accurate?
24                                     MS. MTCHELL:          Objection.
25              A.    I agree.

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1                      A. RAGANELLA
2               Q.    In this situation, if those two
3       officers did in fact not know that this
4       person was given permission and therefore
5       made that arrest, that doesn't establish
6       probable cause, that just makes them
7       believe that they're seeing probable cause.
8       When in fact, it doesn't exist. Is that
9       true?
10                                     MS. MTCHELL:          Objection.
11                                     You can answer, if you
12                             can.
13              A.    We're deep into semantics right
14      now, because for an officer to establish
15      probable cause, he has to believe certain
16      things.
17                     Yes? If an officer believes that an
18      offense was committed, and the person to be
19      arrested is the person that committed it,
20      he has the standard of proof of probable
21      cause to make an arrest.
22                     If he finds out later that
23      information was incorrect, and it was a
24      mistake, that doesn't take away the fact
25      that at the time he made the arrest, he in

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1                      A. RAGANELLA
2       his mind had probable cause.
3               Q.   I agree that doesn't take it out of
4       his mind. It does change the fact that
5       there was no probable cause.
6               A.   Okay, well I'm not a lawyer, so
7       that part I can't get into.
8               Q.   I think that you're right. We're
9       deep into the weeds here, and I would enjoy
10      having this conversation with you over a
11      beer instead of --
12              A.   Good, I'll take you up on that.
13                                    MR. STECKLOW:          At this
14                             point, as I said I was going to
15                             stop and let your counsel ask
16                             some questions. We were then
17                             going to keep the deposition
18                             open for approximately another
19                             hour, hour and a half time if
20                             we need to. We may not.
21                                    MS. MTCHELL:         Okay, thank
22                             you. We can just go off the
23                             record for a couple of minutes,
24                             so I can speak to him.
25                                    MR. STECKLOW:          Sure.

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1                      A. RAGANELLA
2                                     (Whereupon, a short recess
3                              was taken.)
4                                     (Back on the record.)
5                                     MS. MTCHELL:         Okay. I
6                              don't care to be in your video.
7                                     MR. STECKLOW:          The time is
8                              now 6:30 PM, we're back on the
9                              record.
10      DIRECT EXAMINATION
11      BY MS. MITCHELL:
12              Q.   Inspector Raganella, I just have a
13      couple of questions for you.
14              A.   Okay.
15              Q.   Plaintiff’s counsel showed you a
16      number of video clips. In those video clips
17      that you saw, I believe that they were
18      approximately nine or ten video clips.
19                     Do you know what happened prior to
20      the start of those video clips?
21              A.   No.
22              Q.   Do you know what, if any infraction
23      occurred prior to the start of those video
24      clips?
25              A.   No.

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1                      A. RAGANELLA
2               Q.    Do you know if any pedestrians were
3       blocked from passing on the sidewalks prior
4       to the start of those video clips?
5               A.    No.
6               Q.    Did you see the entirety of all of
7       those video clips?
8               A.    No.
9               Q.    Do you know if any orders to
10      disperse were given prior to the start of
11      those video clips?
12              A.    No.
13              Q.    Were you speculating when you
14      responded to plaintiffs counsel’s questions
15      regarding determinations of probable cause
16      when answering questions regarding those
17      video clips?
18              A.    Yes, based on the limited
19      information that I had from the video clips
20      that I saw, I speculate on whether they had
21      the probable cause to make an arrest.
22              Q.    Showing witness Plaintiff's four,
23      the three photographs.
24              A.    (Witness perusing document.)
25              Q.    Do you know based on these photos

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1                       A. RAGANELLA
2       whether or not any protestor committed any
3       infraction?
4               A.    I do not know.
5               Q.    Do you know what happened prior to
6       the taking of these photographs?
7               A.    No.
8               Q.    Do you know if any warnings were
9       issued prior or during the taking of these
10      photographs?
11              A.    No.
12              Q.    When you answered questions
13      regarding these photographs, were you
14      speculating?
15              A.    Yes.
16              Q.    Do you believe that recruit
17      training is deficient?
18              A.    No.
19              Q.    Counsel showed you a number of
20      PowerPoint slides. Do PowerPoint slides
21      reflect everything that is explained and
22      taught during DCU Training?
23              A.    No.
24              Q.    What is the purpose of the
25      PowerPoint slides during DCU Training?

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1                      A. RAGANELLA
2               A.    The PowerPoint slides are a guide
3       for the instructor to use to convey certain
4       points within the lesson guide.
5               Q.    Plaintiff’s counsel also showed you
6       lesson plans for disorder control unit
7       courses. Do lesson plans convey everything
8       that is taught during DCU course?
9               A.    No.
10              Q.    What is the purpose of a lesson
11      plan for the disorder control unit?
12              A.    A lesson plan is an instructor’s
13      guide with information in it to convey to
14      students, recruits, officers, whoever it is
15      that we're teaching, as a guideline as to
16      what to teach them.
17              Q.    For both PowerPoint slides, and
18      lesson plans, is there additional
19      information that is conveyed to students
20      that would not be included in either of
21      those documents?
22              A.    Sure.
23              Q.    You previously testified regarding
24      police paperwork, and the indication of an
25      arresting officer and the assigned officer.

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1                      A. RAGANELLA
2                      In the narrative section of an
3       arrest report, would that section indicate
4       information regarding the arresting officer
5       or the assigned officer's basis for
6       arresting the individual?
7               A.   Yes.
8               Q.   Is unusual incident always shared
9       with the disorder control unit?
10              A.   No.
11              Q.   Are unusual incident reports
12      required to be shared with the disorder
13      control unit?
14              A.   No.
15              Q.   Are unusual incident reports
16      required to be shared the disorder control
17      unit under the organizational guide?
18              A.   No.
19                                    MS. MTCHELL:         I have no
20                             further questions.
21                                    MR. STECKLOW:          This
22                             deposition is over for tonight.
23                             As we said, we might have you
24                             back, hopefully we'll be able
25                             to schedule that beer as well

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1                     A. RAGANELLA
2                            at some point.
3                                   THE WITNESS:          Sounds good.
4                                   MR. STECKLOW:          Thank you
5                            so much. The time is now 6:36
6                            PM, and I am turning off.
7                                   (Whereupon, the deposition
8                            of Anthony J. Raganella was
9                            adjourned, at 6:36 p.m.)
10                                          -o0o-
11                                  COURT REPORTER:          Mr. Stecklow,
12                           would like the exhibits attached to
13                           the transcript?
14                                  MR. STECKLOW:          Yes.
15                                  COURT REPORTER:          Ms. Mitchell,
16                           Are you ordering a copy?
17                                  MS. MITCHELL:          Yes, we are.
18                                          -o0o-
19
20
21
22
23                                  *   *    *   *   *
24
25

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1
2       STATE OF ______________ )
3                                           )    :ss
4       COUNTY OF ______________)
5
6
7                      I, ANTHONY J. RAGANELLA, the witness
8       herein, having read the foregoing
9       testimony of the pages of this deposition,
10      do hereby certify it to be a true and
11      correct transcript, subject to the
12      corrections, if any, shown on the attached
13      page.
14
15                                    ______________________
16                                      ANTHONY J. RAGANELLA
17
18
19
20      Sworn and subscribed to before me,
21      this ________ day of __________, 2018.
22
23      _______________________________
24                   Notary Public
25

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1
2                                 C E R T I F I C A T E
3
4        STATE OF NEW YORK)
5                                 :ss
6        COUNTY OF QUEENS)
7
8                            I, JUDEEN M. DENNISTON, a Shorthand
9                   Reporter and Notary Public, within and for
10                  the State of New York, do hereby certify:
11                           That, the witness whose deposition
12                  is hereinbefore set forth, was duly sworn by
13                  me and that such deposition is a true record
14                  of the testimony given by such witness.
15                            I further certify that I am not
16                  related to any of the parties to this action
17                  by blood or marriage and that I am in no way
18                  interested in the outcome of this matter.
19                            IN WITNESS WHEREOF, I have
20                  hereunto set my hand this 30th day of
21                  July, 2018.
22
23
                                        <%Signature%>
24                                      JUDEEN M. DENNISTON
25

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3        EXAMINATION BY                                                PAGE
4        Mr. Stecklow                                                    7
5        Ms. Mitchell                                                    342
6
7                                 E X H I B I T S
8                            (Exhibit are attached.)
9        EXHIBIT                  DESCRIPTION                            PAGE
10       Exhibit 1       Flash Drive                                     20
11
12       Exhibit 2       Doc from the Ofc of the
13                       Police Commissioner… date 1/24/12               44
14
15       Exhibit 3       Mass Arrest vs riot                             48
16
17       Exhibit 4       Photo (3)                                       62
18
19       Exhibit 5       Demonstration Lesson Plans                      71
20
21       Exhibit 6       Police Department Legal Guide
22                       lines for Republican National
23                       Convention March 10, 2014                       78
24
25       Exhibit 7       Police Academy Training Memo                    81

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2        EXHIBIT                  DESCRIPTION                            PAGE
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5        Exhibit 9       Police Department City of New
6                        York Dated 1/1/12                               93
7
8        Exhibit 10      Email dated 9/12/11                             108
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10       Exhibit 11      Military Manner (D004390)                       116
11
12       Exhibit 12      Clear & Present Danger Rule
13                       (D004345)                                       119
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16                       (D004344)                                       123
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21                       (D004344)                                       134
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23       Exhibit 16      Police Department City June 3, 2011             136
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25

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2        EXHIBIT                  DESCRIPTION                            PAGE
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7
8        Exhibit 19      Memo dated 8/11/11 (D004693)                    142
9
10       Exhibit 20      DCU Level I & II Mobilizations & CRV
11                       Training for Task Forces 2010/2011
12                       (D014538-14549)                                 142
13
14       Exhibit 21      Email dated 3/8/12 From
15                       A. Raganella to W. Taylor
16                       (D005562)                                       151
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18       Exhibit 22      NYPD Objectives (D003992)                       153
19
20       Exhibit 23      Email dated 1/6/12 From
21                       A. Raganella to D. Fulton                       158
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23       Exhibit 24      DCU09-053 Police Department City of
24                       New York (D004756-4759)                         163
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2        EXHIBIT                  DESCRIPTION                            PAGE
3        Exhibit 25      Email dated 10/07/11 from
4                        A. Raganella to D. Kastner                      186
5
6        Exhibit 26      Leadership Training Section Advanced
7                        Command (D006109-6134)                          194
8
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11
12       Exhibit 28      Email dated 11/3/11 from
13                       A. Raganella to R. Corbertt                     219
14
15       Exhibit 29      Police Department City of
16                       New York (D014380)                              250
17
18       Exhibit 30      Email dated 9/10/12 from B. Cooke
19                       to A. Raganella (D05389)                        255
20
21       Exhibit 31      Police Department City of
22                       New York (D013848–13850)                        259
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24       Exhibit 32      Police Department City of New
25                       York dated 10/1/11 (D013902-13904)              260

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24       None
25                                 *     *   *   *   *

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1                         INSTRUCTIONS TO WITNESS
2
3              Please read your deposition over carefully
4       and make any necessary corrections. You should state
5       the reason in the appropriate space on the errata
6       sheet for any corrections that are made.
7              After doing so, please sign the errata sheet
8       and date it.
9              You are signing same subject to the changes
10      you have noted on the errata sheet, which will be
11      attached to your deposition.
12             It is imperative that you return the original
13      errata sheet to the deposing attorney within thirty
14      (30) days of receipt of the deposition transcript by
15      you. If you fail to do so, the deposition transcript
16      may be deemed to be accurate and may be used in court.
17
18
19
20
21
22
23
24
25

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1                                      E R R A T A
2
3
4
5                      I wish to make the following changes,
6               for the following reasons:
7
8               PAGE LINE
9               ___     ___ CHANGE:__________________________
10              REASON:___________________________________
11              ___     ___ CHANGE:__________________________
12              REASON:___________________________________
13              ___ ___ CHANGE:___________________________
14              REASON:___________________________________
15              ___ ___ CHANGE: __________________________
16              REASON:___________________________________
17              ___ ___ CHANGE: __________________________
18              REASON:___________________________________
19
20            _________________________                   _____________
                    ANTHONY J. RAGANELLA                        DATE
21
22          SUBSCRIBED AND SWORN TO BEFORE
23          ME THIS ___DAY OF_______, 201 .
24
            __________________                    __________________
25          NOTARY PUBLIC                         COMMISSION EXPIRES

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                   Federal Rules of Civil Procedure

                                   Rule 30



      (e) Review By the Witness; Changes.

      (1) Review; Statement of Changes. On request by the

      deponent or a party before the deposition is

      completed, the deponent must be allowed 30 days

      after being notified by the officer that the

      transcript or recording is available in which:

      (A) to review the transcript or recording; and

      (B) if there are changes in form or substance, to

      sign a statement listing the changes and the

      reasons for making them.

      (2) Changes Indicated in the Officer's Certificate.

      The officer must note in the certificate prescribed

      by Rule 30(f)(1) whether a review was requested

      and, if so, must attach any changes the deponent

      makes during the 30-day period.




      DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

      ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

      THE ABOVE RULES ARE CURRENT AS OF SEPTEMBER 1,

      2016.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

      OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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